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                                                                                Description
   At the Palace Inn after PA Reynolds left the room Contractor, Ms. Hurt, was sitting at a table by the door facing the bed. CW Walton and Protégé Wright were at the
   other table on the computer writing the Shift report.         walked over to CW Walton while I was writing the report and started touching the screen of my laptop. I
 asked him to stop but he continued. I closed my laptop and asked him to stop touching my device.                then walked over to Ms. Hurt that was looking at her phone
and leaned over her shoulder putting his face close to hers to see what she was looking at. Ms. Hurt leaned away from               and told him to back off that he was in her
  personal space.         did not comply and began touching her shoulder, arm and hand. He tried to pull her arm towards him to get to her phone. She repeatedly told
him to stop- told him no and he laid his head on her shoulder. Caseworker Walton redirected               telling him that Ms. Hurt said no and to back away from her that he
  was in her personal space. CW Walton and Protégé Wright observed              with his left hand in his short pocket fondling himself several times while he was touching
   Ms. Hurt. Caseworker Walton and Protégé Wright both took pictures which are included. Caseworker Walton redirected                   more sternly to back away from Ms.
 Hurt as she continued to tell him no and to quit touching her and to get out of her personal space. When CW Walton redirected again, he told me to shut up and who
  was I. CW Walton began texting Supervisor Elias the event and provided the pictures at 10:34 PM; Supervisor Elias was relaying information immediately to program
    director walker.        backed away from Ms. Hurt when CW Walton started texting on my phone and stood up from my chair. Supervisor Elias called at 10:44 pm
 spoke to Ms. Hurt where she disclosed that during the event, she felt uncomfortable, unsafe, and threatened by                 behavior¬¬; Ms. Elias gave the directive from
 herself and PD walker to call the police and report the event. 911 was called at 10:48pm and was stopped in process due to PA Reynolds coming back up to the room
 informing staff that we had to leave again and go to another hotel. CW Walton informed the 911 dispatcher that we were leaving the hotel and relocating and would
call them back to report and request a unit. CW Walton and other workers began gathering                 belongings again and loading them into CW Walton’s truck. After all
of his belongings were loaded into CW Walton’s truck it was witnessed by staff that PA Reynolds was struggling to get               out of his room; it was confirmed with CW
   Walton that         had pushed PA Reynolds and got in his face when PA Reynolds was directing him to leave the room to go to another hotel. We received the new
 address to the next hotel around 11:10pm to go to 11175 Katy Fwy Houston TX 77079. Workers for the 11p – 4a shift had arrived. Hector and another female worker,
    that requested to be switched out due to           previous behavior, were at the Palace Inn.          rode with Hector to the next hotel. We arrived at the next hotel
  around 11:20 PM and waited for PA Reynolds to check in. CW Walton spoke to Supervisor Elias and PD Walker at 11:44pm after we unloaded                       belongings and
 put them in his room (#106) and confirmed directive to call police and make the report of the incident by Supervisor Elias. Caseworker Walton called law enforcement
   at 11:46 PM and reported the incident. I informed Supervisor and PD that law enforcement had been dispatched. I spoke with PD Walker at 11:55pm and debriefed
     her; I also informed her of when I would complete the shift report. Officer Romanelli with Houston Police Department arrived on scene at 1:02 AM and spoke to
 Caseworker Walton outside the hotel (both male workers Charles and Hector were inside with                 ) – Officer Romanelli took Caseworker Walton’s statement of the
  incident and personal information; He went to speak with Ms. Hunt at 1:08AM and came back to CW Walton to gain further information and contact information for
   the Department. CW Walton provided               Date of birth and primary caseworker information. Officer went back to his patrol car and called DA to see if charges
would be accepted. Officer Romanelli came back to CW Walton’s vehicle and informed me that the DA accepted charges and he would detain                      . At 1:38am Officer
Romanelli went back inside the hotel and arrested            for public lewdness not in a public place (Class A misdemeanor) The officer stated that the justification for the
charge is due to         touching his privates or fondling himself as observed by Caseworker Walton and protégé Wright during the incident. Incident number is 374440-




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                                                                                Description
Staff: Caryss Hoegenauer and Muriel Knighten.                       had a cell phone that she got on a visit with her grandparents on 3/13/2023. She returned to CWOP
     with it on 3/15/2023. Staff have been making efforts to get her to turn over the phone since it is a policy violation, and she struggles with boundaries on it. On
 3/16/2023 the Youth went to the office and stated that she was turning in her backpack with her phone. On the evening of 3/16/2023, it was discovered she had lied
and in fact had the phone. On 3/17/2023, staff were contacted by Traphena Lipscomb about a plan to recover the cell phone. Ms. Lipscomb the Ellis County Supervisor
arranged with the Ellis County Courthouse to turn over the phone during the normal security checkpoint. They would not take the phone but it would allow the staff to
 take the phone. At the Court House around 4pm, the intervention took place. The phone was secured from the youth and taken out of the bucket at the Court House.
              was raging upset and went after Caryss Hoegenauer to get the phone. She did strike her in an attempt to get the phone back (she was not injured but was
   shaken up by the incident). Security at the courthouse took her down, it took 5 security officers to secure her. She was processed at the Courthouse by Juvenile for
 assault, but immediately released back to CPS at the courthouse. CASA of Ellis assisted by sending a staff member for                 to visit with. CASA took
 to dinner and Target to decompress. Staff change occurred early so the to staff present would not be working with                  tonight. It was a difficult situation, but
                had several days to give the phone up. We made the decision to do it at the courthouse because she has several serious incidents of property damage
  totaling over $7000 worth of damage in the last few weeks. It seemed the Court House was a safer place for the intervention. RD Follow Up: Program Administrator
  and I are currently addressing with the supervisor and Program Director the reason why they took the youth to the courthouse to take the cell phone. I understand
                     that they were worried about the youth having the phone as she has trafficked herself however, this was an extreme measure.




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                                                                                   Description
Team Lead Supervisor Melvin was contacted by shift staff who stated that                was physically and verbally aggressive with CW Ashley Ross. At 6:56pm, CW Ross called
   Sup Melvin to report that the girls had left the home and did not return within a few minutes. CW Ross reported that she and CW Villegas drove around and located
 the girls; they were observed to be with another unknown female peer (not a CWOP youth). Sup Melvin directed CW Ross to continue to attempt to get the girls back
 to the CWOP house. At 7:18pm, CW Ross called Sup Melvin to report that                 had become extremely agitated and was physically threatening CW Ross. CW Ross put
   the phone on speaker and Sup Melvin heard             requesting to be moved to another CWOP location because she could not be with CW Ross. Sup Melvin explained
    that this was not possible tonight and that CW Ross would be leaving in about 40 minutes if              could just keep to herself for a little while.       refused and said
someone would get hurt tonight. Sup Melvin spoke privately with CW Villegas and Sup Melvin offered to see if anyone can get there sooner for the next shift. While on
   the phone, Sup Melvin heard an altercation occurring and it sounded like              was physically restrained by LE officer. CW Villegas reported to Sup Melvin that
 had thrown a bucket of mop water on CW Ross and CW Ross’s laptop. CW Villegas reported that CW Ross was okay and that                         had stepped outside and continued
to be physically aggressive. Sup Melvin contacted the next shift and asked them to arrive as soon as possible. At 7:33pm, CW Ross called Sup Melvin to report that
 had broken CW Ross’s personal cell phone and the police had been called. CW Ross also reported that her DFPS laptop was broken. At 7:50pm, CW Villegas called Sup
     Melvin and         spoke to Sup Melvin.        reported that the other CWOP youth there are “too immature” and she doesn’t want to be a role model. Sup Melvin
 agreed to email           chain of command stating           request for a move. In exchange,           agreed to sit tight for tonight and keep to herself since CW Ross will be
                                  leaving soon.       agreed to this and said, “unless I go to jail.”      admitted to breaking CW Ross’s phone.
 On 3/24/2023                        took the property of                     such as his ROTC pants, belt, wallet, Military metal a solider gave him, school ID, and ROTC hat
and hid them and admitted taking all the items, but refused to give the property back.                has been asking him since 3/24/2023 to give his items back as well as CPS
  staff has asked him begged him to give the items back.                  continued to not give him the items back.                    understood           has a school activity for
 his ROTC on Ft. Hood and still refused to return the items. On 3/25/2023 Ms. Nelson arrived at the home to pick                    up for his ROTC event and CPS staff went in to
  asked                several times to return the items due to          needing the items to get on Ft. Hood for the event and he refused.                     told staff to get the
     fuck out of his room. Belton PD was called at 6:09AM to report the issue and then Supervisor Garcia called not realizing the leads had switched due to the issues.
   During the call at 6:15AM Officer Pratt arrive at the home. He spoke to                    and              admitted to taking              belongings.              refused to
   cooperate with the police office and another officer arrived Officer Irwin to assist Officer Pratt.                  continued to refuse to get the items and at this point at
      6:32AM he was placed in handcuffs and taken outside and placed in the police car. When                      was searched by the officers, he had               wallet in his
    pockets. The pants were returned, and ID was found. LPS IV Stinnett when to the closet and in his bag and the belt was. In the dresser was found the gift from the
 solider to         , an Army patch was his fathers, and a necklace of            . All items were returned to           . At this point        spoke to the officers and stated he
 would like to press charges. A statement was taken from              . Case number is 23000857. The case number is the same as the case number for the theft of
 At 5:45pm             walked into her room and started yelling and cursing at the workers saying that if we try to go to her room she will hit us. INV Quitano ask                 o
 talk to us politely and we won’t bother her, she raised her voice and said “I’m talking to all of you caseworkers the same because you N--- want to come into my room
  and touch my stuff.” Then she yelled more profanity and threw an aerosol can to the floor so I explained to her that her actions are very aggressive and I will call the
police if she doesn’t stop. She started yelling and screaming and crying that I said I was going to call the police because she said police assault all black people, then she
   walked up to our table yelling and screaming that I was wrong. Both workers tried to tell her to just go and do her business and we’ll leave her alone multiple times,
        but she wanted to scream and yell at INV Quitano. Shift Supervisor, Anna Smith, was contacted and permission was given to contact Law Enforcement. Law
    enforcement was called and Officer Welty #417 and Officer Carpenter #503 responded and was able to diffuse                        and provide the workers with an Incident#
                                                                                    P23021731.


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                                                                              Description




  On the 3/26/23 shift,        came out from taking a shower and showed the other staff member and I that she had scratched herself under her eye and on her thigh.
The scratch on her face is about a quarter of an inch long. The scratch on her thigh is about 2 inches long in a zip zag pattern on her upper left thigh. She had been very
 agitated from the time that I arrived and the room smelled like marijuana. She got upset because we asked if she was using weed. She does not like to be accused of
things. She said that she is a drug addict and will be going to rehab tomorrow. She said that she uses meth and that caseworkers let her use cigarettes so that she does
 not use weed. About 15 minutes later, she and the other youth,                    went to stand by the door of the hotel and then rushed out. They ran down the hall.
 We went down to the front desk and the receptionist had not seen them. We went outside and looked around. The was a man, white, short and skinny who                   has
apparently gotten cigarettes from. He did not see them. There was another man also outside who did not speak English and could not answer us. Another man was in a
pickup and had not seen them. We called LE and reported them missing. About an hour later, the girls showed up to the room.              was clearly high or drunk. She had
a Seagram’s ‘escape’ can and said that she drank 3 of them. She was acting very silly. Laughing loudly. She said that she only drank alcohol and that they were hiding in
                                 the parking lot the whole time. They said that       was having lots of anxiety and they needed a break.




            and another peer were given permission from previous shift to go on a walk.          and the other peer returned at the time given by staff.            and
peer asked to go for a walk around the block of the neighborhood, they were given a time to return by worker. When              and peer did not return back to CWOP,
 runaway protocol was conducted. A case number was not provided by law enforcement and they did not arrive to the CWOP location to take a report during workers
  shift.           and peer arrived to the CWOP location after 10pm and was notified that the runaway protocol was conducted.              became upset and stated
that staff knew they’d return. CW Seymore asked             if she smoked Marijuana as her eyes were blood shot red and she stated she was just tired.            fixed
   a bowl of cereal and went to bed shortly after.           has stated to other staff members that during her walk she had intercourse with a 19 year old male. RD
   Follow Up: Youth was moved to another location immediately. A police report was made, we contacted her doctor, made an appointment for her to be seen. She
                                                                            refused an exam.


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                                                                              Description




   On April 26, 2023 law enforcement arrived in the home, Deputy Chief Larry Burg, a detective, and another uniformed patrol officer from Belton Police Department.
  Officers questioned staff asking if three children had just returned from a walk around the neighborhood. Staff informed them that          ,       , and       had just
 returned. Officers requested the children to come into the living area of the home. Officers advised the children that they were caught on high quality cameras where
 they were observed breaking into a vehicle and requested the cigarettes back from the children. At first all children denied the break in but eventually      told
to get the cigarettes and give them to the officer.         handed back a pack of cigarettes to the officers. Due to the children’s age BPD stated they would not be taking
    them into custody, but         may be getting a charge due to him being 17 years old. Officers left the residence at that time with no arrests. About an hour later,
    another youth went into            and        room and located a pink iphone with a portable charger. Staff could not determine who’s phone it was, and BPD was
contacted to come and obtain the items. Officer Pratt from Belton Police Department arrived and took items from the children’s room such as a knife, iphone, portable
  charger, and several different Wi-Fi boxes with them back to the police department. Due to staff not being able to identify the children’s belongings versus property
                                                             that was possibly stolen officers took the property.




            was assessed by the MCOT crisis unit. She stated she attempted to harm herself with a string this morning. She stated she has been having a hard time
 sleeping and it’s hard to cope with things. She stated she felt as though she needs to go to a hospital because she feels as though she will kill herself in the room. She
stated her medication has not been helping her and she has been hearing voices all day. She tried to harm herself twice with the drawstring of her pants. She also tried
 to harm herself by cutting herself with a crayon. The ambulance was called and they were in route towards the end of my shift. While waiting on the ambulance, she
                                                         tried to inhale water and cut herself with a broken fork




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                                                                                 Description
           walked out of her room. She was in the hallway and began to knock on the door of someone else in the hotel room.                     became upset with the way the
 maid was looking at her.             confronted the maid and let her know she didn’t appreciate her looking at her as if she were going to steal something off of the cart.
   Prior to that         had taken some towels from the cart.             told the maid she didn’t look at           the same way.            then stated she didn’t like these
  white racist bitches.            had moved away from the maid before she stated that and was near the window. The maid then stated to                     she must watch her
  cart. This made            even more upset.            then said, what are you going to do, call the police? The maid then said yes.             asked for what, because I’m
    yelling at you? The maid then replied, because you are cursing at me.              told her to call the police, she didn’t care. One of the assigned staff asked the maid
  multiple times if she could just go back to what she was doing, but she continued to engage                 in a verbal argument. After she stated she would be calling the
    police she left.          then walked back into her room, and           came into the room. Ms. Loretta asked him to leave because we were expecting someone to
 come. He wanted to know what happened, and workers wouldn’t disclose that information to him. He told her no, because he couldn’t watch videos in his room. CW
   Green then said to          , come on she asked you nicely to leave. He put his hand up and said, Bitch, referring to CW Green. CW Green said really? CW Green then
 stated that’s ok, when they arrive, they will get him leave.          then left the room. As of 5:07 no police have come. It’s unknown if the police were called. After the
    incident occurred, she wanted to go downstairs. She didn’t give a reason why she wanted to go downstairs. Once downstairs                     explained to the front desk
                     worker what happened. She then stated they may not know who she is and how she gets down, but CPS knows how she gets down.
  On 04/23/23, at approximately 9:20pm,                was on facetime call talking to her sister. During the call, she became upset and emotional due to the conversation
 with her sister (her sister was heard speaking about not needing family). Shortly after the call,             left her room and went to med room to talk with the shift lead.
           demanded to go to the hospital. The shift lead attempted to talk with              about what was going on however                refused to talk and insisted she be
   taken to the hospital. The shift lead encouraged             to return to her room so they could talk about what was wrong and determine how to help her.
began yelling and threatened to “fuck shit up”. She went to her room and staff followed her. At this time, she was screaming and banging on the furniture in her room.
Shift Lead called 911 for police assistance. During this time,           stormed out of her room and grabbed a glass jar of cheese dip. She proceeded to walk down to the
      lobby with the glass jar of cheese dip. She walked outside of the hotel and threw the glass jar on the ground and returned inside the hotel. Contractor Gomez
  attempted to talk with              however, her anger intensified, and she began punching walls in the hallway of the lobby as she was yelling and screaming.
 returned to her hotel room and staff, including the shift lead, followed. While in the room,               made statements of wanting to kill herself. She stated out loud, “ I
    want to kill myself” and “I don’t want to be here anymore”. At approximately 10:35pm, law enforcement arrived and staff provided an overview of incident. Staff
  informed law enforcement                is making statements of wanting to kill herself and stated she wanted to die. She was sitting in a corner of her room and initially
  would not speak with police. Police stated they would take her to the hospital.              eventually followed police and they transported her to the Dallas Behavioral
                                  Hospital an assessment. Law enforcement stated a police report number would be provided at the hospital.




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                                                                               Description




 Prior to the girls running away, KDW observed a dark Blue Chevy mid-size SUV or van parked by the sidewalk on the left side of the house. KDW Mesa noticed the car
 was running. KDW took a photo of the car and license plate from afar, but it was blurry. After a couple of minutes of observing the running vehicle, KDW went to the
  passenger side, keeping a good distance away from the car. Inside the vehicle was a black male. He rolled down the window and KDW asked him what he was doing
 here? The man looked at his phone and KDW told him the Police were called and he needed to leave. He then drove off. When KDW came inside the house, the girls
were observed whispering in the back hallway and AR Herzenberg heard one of them ask if they were going to run. Less than five minutes later,               came out to tell
workers that the girls had left through the window. At 1:10am,        came out and told workers that the girls (      ,     , and          ) went out the window. KDW got
 up immediately and went outside to look for the girls. KDW saw the girls in front of the house to the left and called out to the girls to stop and come back. KDW Mesa
observed the girls run faster round the corner. KDW attempted to follow the girls while calling 911 to report the girls as a runaway. KDW provided the information and
 was called back minutes later by Officer Townsend Badge#332. Officer Townsend stated that they could not take a police report over the phone and someone would
   have to come into the station. Officer Townsend stated that one of the girls is 17 years old and left on her own free will, so she is not considered a runaway. KDW
  attempted to contact the on-call SUP but was not successful. KDW also texted on call SUP, Nicole Travis of the situation. AR K. Herzenberg reported all three girls to
   statewide intake. SWI report ID: 77528899 KDW filed a report with KPD in person: Case #23-004329 KDW Made a report to NCMEC, CN#1478954 All reports were
                                               cancelled after   ,         , and       returned home during the next shift.




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                                                                                 Description




Previous shift lead stated that          and         left the house around 11p and stated that they will be back at 1130. CW Banks stated that after 1130p she contacted
         and she said that he told her that they were on their back from McDonalds. PAL Morgan stated that they will be given until 1230am to return prior to the cops
being called. 1211a-PAL Morgan contacted              on his phone but there was no answer, then PAL Morgan sent a text message stating that they have until 1230am to
   return to the house before the cops are called.           responded yes ma’am and ok. 1230am – PAL Morgan contacted team lead Morgan Milloway explaining that
         and          was gone for an Hour prior to shift beginning and that a text message was sent to               phone. Team lead Morgan stated that as along as
is responding then give him more time to get to the home prior to starting the runaway process. 1233am–                  calls PAL and states that he and           were stopped
   by the police. PAL heard the cops say that they were stopped because they were out past curfew.                 asked if PAL can come and pick them up and PAL Morgan
   stated no.          could not be picked up due to other youth being present at the home. PAL Morgan told                to feel free to give the cops PAL’s phone number.
  105am–          returns alone and states that he has a $200 citation.           believes that someone from CWOP called the cops on him.                said that the cops told
 them that someone in the neighborhood called the cops on them.                is upset and said that he feels like punching holes in the walls.          says that his adoptive
  parents probably won’t come and pick him up now because of the citation. 105am – PAL Morgan contacted team lead Morgan Milloway stating that                          returned
   to the home, but           didn’t. Team lead instructed PAL to start the runaway protocol. 108am-              returns home.           tries to get       to go to the living
area to talk about what happened while they were out, but              said that he is not going to to the living area and that they can talk in his room.          can be heard
 saying that he still has something that was given to him while they were out and that it can be returned to                friend tomorrow.           remains in           room
      talking. PAL did not complete the runaway protocol due to             returning to the home 3 minutes after team lead instructed to start the runaway protocol.




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                                                                              Description
On 04/21/2023 at approximately 6:00PM an incident escalated where the two girls at CWOP location were calling each other inappropriate names. At one point, youth
  threw a pillow in         direction and hit the table and      grabbed the pillow and hit the other youth with it.       kept antagonizing youth calling her names. The
  other youth kept running outside every time          was verbally attacking her to deescalate but every time the other youth came in,        would start again.     had
 taken the batteries out of the remote control to the TV when it was the other youth’s turn to watch TV and flushed them down the toilet. The other youth ran outside
  and started running. Every other time she ran she would stop and then we would talk it over and then she would calm down. We were able to reenter the home, but
   the last time the other youth would not return to the home. She started running towards the main road. I followed her alongside Grace Place worker Tyler. I asked
   Tyler to call the Bryan Police Department when the youth would not answer to me anymore. She was screaming for us to leave her alone and she was trying to get
   away from the situation. I talked to the 911 dispatcher and said that there was a youth at a CPS home in Bryan who left the residence and refusing to return. Bryan
Police were dispatched to the location. The other youth was terrified she was going to jail. The police officers interviewed the youth separately.        became defensive
     and defiant with the officers and insisted they take her to jail, she didn’t care.    was arrested on Class A Family Violence charge and taken to Bryan Juvenile
  Detention in Bryan, Texas. I provided the officer with        medication and a change of clothes. The case number is 230400824 and the officers that took the report
                and transported               were Officer Lawrence Badge #450 and Officer Lopez Badge #442.           will remain in detention until May 8th.




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                                                                                  Description




   Police Report Number P23032673                 and        are recovering from meth and said they needed "Black and Milds," and energy drinks to assist with their meth
 cravings. Staff declined to take them back to the store, so             and          smoked a piece of a black and mild that they already had, lighting it on the kitchen stove.
   It is unknown where the small piece of black and mild they were smoking came from, although staff heard them talking about picking up "butts" off the ground, and
   they declined to follow redirection about throwing it away or listen to staff regarding the dangers of smoking.                 and        were pacing around the house and
going in and outside, while periodically trying to convince staff to take them to the store. After this, about 7:25) the girls went out to the driveway and were just sitting
    around talking when a neighbor a few houses down (opposite direction of the house with the signs in the yard) screamed loudly out of nowhere. The girls found it
funny and screamed back at the woman. The woman began yelling obscenities such as calling the girls “retarded” and saying, “no one wants you here” and “that's why
  your own moms don’t even want you”. The girls aggressively approached the woman in the street, yelling, threatening, and cursing back at the woman, who was also
       yelling obscenities, threats, and cruel remarks at the girls. Very quickly all parties were yelling in the street. The situation escalated and           and       were
       observed trying to physically go after the woman as staff and the other two youth tried to hold them back and deescalate everyone. Staff tried hard to verbally
 deescalate the situation, but the woman,              , and         were completely escalated to the point of being out of control. Due to all the screaming, other neighbors
  started coming outside. Luckily two teen boys came from across the street and were trying to physically hold the woman back as the conflict was fully physical at this
 time. All girls ignored redirection to go back inside. Law enforcement had been called and was on the way, while staff,                and          tried to keep everyone apart.
     This is when         yelled “get the Glock” and          told the woman, “I’ve got something for your ass”             and           ran back towards the house with staff
    Presley following and staff Katie trying to coax the other two girls away from the woman as               was now becoming escalated and approaching the woman while
  arguing in a manner that appeared as though she was also going to get physical with the woman. Staff Presley caught up to                     and         coming back out of the
house and saw that               had a knife in her hand. Presley grabbed the knife from            , cutting her hand in the process. Presley then secured the knife, along with
 any other sharp knives that were in the kitchen, inside of her personal vehicle. As              and          headed back towards the woman, law enforcement pulled up and
   all the girls came back to the driveway to speak with the officer. A butter knife was also later found behind a vehicle in the Stratford House driveway that it appears
            also had in her possession as she started to approach the woman again, before noticing that law enforcement had arrived. Another officer arrived shortly after
 this and began speaking to the woman. At this point all the girls were calmly talking to LE in the driveway, although                 and        ignored redirection at one point
and started pacing up and down the street towards the woman's house. LE was still present, taking information and the situation did not escalate again. At this point it
 was after 8pm and staff had arrived for the next shift, so Caseworkers Presley and Katie left. Caseworker Presley took the box of knives and will bring them to Summit
  office to place in Elise Brady’s office that were in the garage where             pried the garage door open to access them.                only involvement in this altercation
   was in trying to help deescalate the other youth, and while she did not really listen to staff’s redirection to step away and go back inside, she was genuinely trying to
help staff and her peers. Caseworker Presley stated that she did not want medical assistance for her hand at this time as she was, understandably, shaken, and ready to
leave. There was no law enforcement or support staff during this shift, so it was only Caseworker Presley Dareing & Katie Angell present for the shift with the four girls.




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                                                                              Description




    6:30          was seen with an alcohol bottle. Contractor Weekes told him he shouldn’t be drinking and requested the bottle. He said it was Kool aid and started
 laughing. Contractor Weekes requested the bottle again and asked him to dump it down the sink. then drank some more and then poured the rest down the drain.
    He then took the empty bottle upstairs but stated he was going throw it in the trash. then started spray painting the walls upstairs. He was asked to stop from
 contractor Weekes. He then stopped. CVS Tanesha Goss requested the spray can but he refused. came down stairs with his back pack. went outside and grabbed
two more bottles out of his backpack. Contractor Deirdre was able to pour bottle down the sink and drank the other bottle. The bottle was drinking Boones Farm.
                                                              CW Goss unable to take a picture of the alcohol
   On 04/19/2023, at or around 9:30PM,                     was given her medication for the evening: Lurasidone (Latuda) 40mg, and Oxcarbazepine (Trileptal) 300 mg.
         ate hot wings prepared by Autumn Freeman around 9:00 PM.              declined water and took her medications without water.           took a walk outside and
 was played with the other girls in the home immediately after. At or around 10:20 PM,           complained that she was felt dizzy, and she needed assist to walk to the
  couch from support staff Miriam Rangel.          began leaning over as though she would pass out, and she stated that she felt nausea and she complained of pain in
her stomach.            pulse was checked by Ms. Rangel, and there were no changes in the rate of her pulse. A trash can was placed near          and she began leaning
   over to vomit, but nothing came out. EMS was contacted to check             vital and ensure that her discomfort was not life threatening. EMS arrived and checked
            vitals, and determined that they were normal. EMS provided recommendations of saltine crackers and ginger ale. EMS was informed that investigator Jai
   Malano-Ayers believed          would be fine and monitored closely in the home. However,            continued to complain of stomach pain, and she requested to be
 transported to the hospital. EMS left the home at or around 10:50 PM in route to Baylor Scott & White McLane Children's Medical Center, 1901 SW H K Dodgen Loop,
 Temple, TX 76502. Ms. Rangel accompanied            . At or around 11:41 PM,         and Ms. Rangel arrived back at the home due to there being no beds available. No
  discharge orders were issued because          declined to stay when she was informed there were no beds.            did not complain of pain upon arrival, and she sat
               down to watch a movie with the other girls in the home. No follow-up instructions were provided, and no additional vitals were completed.




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                                                                                 Description
4/20/2023–              got upset several times this evening and went outside during the storm with worker following her. She was upset with other youth in the home after
other youth talked about               mom being dead, made fun of her hair, made fun of her dark skin, played Baby Shark & Cocomelon songs really loud on the TV & told
          that’s all she can watch since she is a baby. Workers kept correcting other youth & asking her to not talk to            & to leave her alone. At 10:45pm,        went
   outside (in the storm) and was crying & yelling at both workers about how nobody ever listens to her. She said she wanted to kill the other youth & the baby in her
    stomach. At 11pm, she came back inside and went to her bedroom. At 11:20pm, worker Galls observed                     using the metal hook end of a bracelet making took
  rubbing it across her wrist. Galls asked her to quit, but she refused. Galls asked worker Herbrich to assist. Herbrich entered the bedroom and asked               to give her
     the metal hook.            refused to give it to workers & kept rubbing it across her wrist. Workers asked why she was doing that, and she said she was trying to kill
 herself. Workers tried talking her into quitting what she was doing, then she started poking her hand and other side of her arm with the metal hook. Workers insisted
   that she quit, but she said she wanted to die and wasn’t worth anything. Herbrich called the MHMR Crisis Line and                  threw the metal hook onto the bed. Galls
picked up the hook and gave it to Herbrich (who later locked it in sharp items locked box).              then stared biting herself on the inside of her arm. Workers asked her
 to stop biting herself. Herbrich spoke to hotline worker who gathered information & then they spoke to                . It didn’t appear as though she had drawn any blood or
  broken the skin with metal hook or by biting herself. Since she was trying to harm herself & told MHMR she wanted to die, they sent a worker from the Mobile Crisis
 Team to evaluate her. She stopped trying to hurt herself before the mobile crisis team arrived. They are evaluating her now to determine if she should be hospitalized
   or if they can come up with a safety plan for her. Herbrich called and spoke to Team Lead Erin Smith and advised of the situation. Next shift lead, Francisca Jaramillo
 At 10:02am.                 got mad at CWOP staff and started slamming the refrigerator door open and shut. He was upset because he did not want any of the food being
  offered for breakfast/lunch. He broke the door shelf bars and food went flying all over the floor. He then went and sat in the hallway. Worker Lovell opened the door
   and left it open, and attempted calm down                 . He leaned into Worker Lovell and stated that she was in his space and needed to leave. Worker Lovell related
that she is supposed to keep her eyes on                 and keep him safe. He then stated that he was running away and left on foot (barefoot). 911 was called and Worker
Lovell asked for immediate assistance. Worker Lovell also provided info regarding                     basic information and where he was headed. Worker Lovell continued to
run after                to keep her eyes on him continually asking him to please stop and talk to Worker Lovell. He told Worker Lovell ‘yall are fucking mean” and “fucking
       bitches.” He stated “just cause I’m 12 don’t mean nothing.” He then said “yall are stupid mother fuckers.” He had made it about 1.5 blocks getting close to the
      interstate (near 7-11 store) before he eventually began to turn around. Waco PD arrived at that time.                   grabbed a construction metal stake and started
 swinging it. He tried to flee again from the officers. They handcuffed him at that time. He began to stomp on the officers feet and get away. He was put in the back of
the police cruiser to calm down. Once he began to calm down, he stated that he had to use the bathroom. He was taken inside the room to use the bathroom. Officers
Sharpless, Gonzalez and Taschler responded. Worker Lovell administered his meds. Shortly after, Diana from Mental Health Authority responded. Officers Gonzales and
 Sharpless remained on scene. During the assessment, he slammed the cereal box and said “im not gonna do this bitch.” He lunged at Diana several times and officers
  had to restrain him again. It took two officers to restrain him. Sergeant arrived on scene and said he didn’t meet criteria for an emergency detention.                  again
    got upset and escalated. He walked out of the room and the officers followed him at 12:07pm. At 12:55pm Worker Cagle, Team lead and Diana met with Waco PD
outside of the room to discuss the process for                 . Waco PD took             to Providence ER. Worker Cagle came back into the room with police officers as they
   told               that he would be going to the ER and             was kicking officers and yelling and saying “No I am not going you stupid bitches”. He was kicking the
officers and trying to escape from the room. Officers tried to calm                 down and after a few minutes got him to calm down. He got his shoes out of his room and
 put them on He also got snacks and took them with him                     is currently at Providence Hospital in Room 30 and waiting on a psychiatric evaluation to be done




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                                                                           Description




      got in a fight with who seemed to be instigating him and had been making weird comments all night and talking to himself. was acting strange in behavior,
making comments, and weird gestures. Killeen Police Department (KPD) was called, and they made contact at the home. KDW Robledo spoke to the officer (did not get
 his name) and explained the fight and the situation regarding  strange behavior, comments, and weird gestures. Officer informed KDW Robledo to contact KPD if
  the boys got in another fight. Officer recommended a MHMR assessment for based on what worker told him. Officer did not contact the boys and stated there
       would be no police report number and the LEO said there would not be one. was transported to the hospital for evaluation psych and physical injuries.




3:14am: came downstairs and asked KDW to use the CWOP phone. KDW informed that the on-call SUP stated he is not allowed to use the phone. He said, “okay,
 I’ll be back” and walked out the front door. He was wearing a blue basketball jersey and black jeans. 3:25am: KDW Mesa contacted SUP Travis and informed her that
      the runaway protocol will be activated. 3:35am: Worker Hemenway contacted the non-emergency number to KPD and was told that a runaway report must be
 completed in person. 3:50am: KDW Mesa contacted NCMEC (1-800-252-5400). KDW Mesa was informed that they could not take the report because a Police Report
had not been made. KDW will make the Police report in person once relief arrives. 4am KDW Mesa arrived at KPD precinct at 3304 Community BLVD Killeen, TX. KDW
filled out a missing person’s report for . The Case # is U23003374 and ATL #231. Officer T.Baker 318 stated that now that they have a hard copy of     Information,
 workers can call in the runaway report and no longer have to go to the precinct in person to file it for . KDW was about to call NCMEC to make the report, but CVS
      Claridge contacted KDW at 4:36am informing KDW that was back home. KDW asked CVS Claridge to please call KPD and SWI to cancel the runaway reports.




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                                                                                 Description
       got off the school bus around 4pm. She got to the room and wanted to go swimming. She was advised she could not, however, she went anyway. Her roommate
  Kamari also went. While in the pool she was not keeping boundaries with Kamari. She was jumping on her, hanging on her and Kamari was getting upset.                        was
  told several times that if she did not listen she would not be able to get the WIFI to watch TV. Kamari wanted to go back in so caseworker Hernandez went with her.
When           came back in the caseworker Hernandez asked she would take a shower and pick up her sleeping area since it had a lot of old food on her bed and around
 and         said no. Caseworker Hernandez stated she would compromise with her and once she was done with those two things we would talk about getting the WIFI.
        at that time was defiant and stated No she wanted it now. At that time, she grabbed caseworker Hernandez by the right wrist and told her “Fuck Off Bitch”. The
  officer on duty was very proactive and was able to remove             from the caseworker.           was saying other derogatory slurs, but could not be understood.
then attempted to run from the hotel room in which the officer would not let her go. At that time                 stated she wanted to go to Laurel Ridge because we can’t help
  her. CPS does not do anything for her.           started saying she sees ghosts that tell her to kill herself. That the ghosts tell her to find something to kill herself. SAPD
  was called but once they got there the officer stated that SAPD can not transport since she was willing to go.              would have to be combative in order for them to
      transport. Once the officer left,        started getting in the trash and got an old energy drink and drank it. At that time the PD on call was sending out on call
 caseworkers to transport her.          wanted to wait outside for them, so everyone went to wait outside. At 8pm the on-call caseworkers arrived, and                  went with
   Caseworkers Rachel Barron and Margarita Burciaga were on shift.               became very upset but it was unknown why and he would not say. He started tearing up
  papers posted on the bulletin board and became verbally aggressive. Law Enforcement was contacted and they responded. LE transported                        to the psychiatric
 hospital. While Local Permanency Specialist, Monica Inostroza was filling out paperwork for assessment,                  got out of the hospital from the lobby and proceeded
to get rocks from the parking lot. He used the rocks to scratch up Monica’s car to include the word “fuck” on the hood. He then proceeded to break both the front and
                   back windshield. He then went to sit in front of the psychiatric hospital.          was admitted to El Paso Behavioral Psychiatric Hospital.
           cut her arm when she was showering. She did not disclose where she got the rocks/crystals she used to cut herself. However, workers identified the rocks as
 the same ones from the firepit at the hotel. When            came out of the shower, she showed workers her cuts. Workers wrapped up her arm and took her to urgent
  care, where they tended to her wounds but instructed workers to transport her to the hospital.              was transported to the hospital where she was assessed and
              stayed until a psychiatric bed was identified. On 4/10/23,         was transported by ambulance to Haven Behavioral Hospital in Frisco, Texas.
  At 9:30PM            noticed the room phone was missing.             stated to staff that we waited until she was in the shower to take the phone or else, she wouldn’t
  have let that happened.            put her purse on and grabbed her computer and left out the room. At 9:33PM I called lead to let her know that              was on the
    way down.           was talking to front desk. I walked over and           walked away. I stated to front desk that she is not to use the phone. At 9:36PM Ms. Olga
   stated          walked down the hall and turned towards the pool. I walked down the hall and went out the door.               was not there. I checked both restrooms
   and the gym.           was not there. I came back and went out the other side door. Officer Hershel helped me look around. Pearland PD was called. Officer Hershel
 called officer Moore who stated he was on the phone with              and she is somewhere around the hotel. Pearland PD arrived and took information. Officer Hershel
      stated he spoke with Officer Moore again and             was in the gym. The officers went in the hall to speak with          .        became angry and started
screaming.           started banging her head on the door. The officers tried restraining her.          was put in the back of the police car. The officers calmed her down
                               minutes later. EMS arrived to examine           .          was taken to HCA Pearland. Case ID was given to PD




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      was at the table with staff, she wanted to know how to watch DVD’s on                  laptop. She went to the room and brought it back to the table. She said            said
she didn’t care if they used it. We couldn’t get it to work,          woke up and told         not to be touching her stuff. She was a little agitated about it and then asked to
talk to me outside. I went out to the front porch with           , she told me she didn’t want         touching her stuff that it was hers. I told her we could together sit down
 and talk about it with        . She became upset and began raising her voice, she said she didn’t want to talk about it at all. I told her the situation wouldn’t change until
    she spoke up about it in a calm manner.           then stated said she wanted to change CWOP locations. I told her it was Sunday and it wouldn’t happen today, she
  would have to talk to CW tomorrow. She said fine, then I’m going to sit here on the porch until I get moved. I told her to get a warm coat because it was going to be
 cold. I went back into the house with           following after me. I walked in and told         she needed to respect            property,         began screaming and yelling,
 saying she told me not to talk about it and why did I say anything. She said she wanted to call the police, caseworkers asked her why, she needed to let us know what
 was happening.            asked me again to go outside to talk, she wanted to tell me something. We went out on the back patio.                 said      is in love and obsessed
 with her. She told         she doesn’t want to be in a relationship.         said she felt uncomfortable and again demanded to change CWOP locations. I told her she will
 have to change rooms, as she was sharing it with          and         . She began screaming she wasn’t going to change rooms.               went back into the house yelling she
   wanted the phone to call 911, we told her why, to talk to us, and that we would call if it was needed and we had to document the situation. She grabbed the house
phone, went into the other room and called 911, which we didn’t think she was going to do that. We heard a knock on the door, two KPD officers were there asking to
talk to         . I walked out to the front porch with one of the officers while         talked to the other one. Shortly after, an ambulance arrived. The officer, after talking
  to        , told her she needed to go to the hospital to get checked out. I prepared my stuff to leave with her, then she said she didn’t want to go to the hospital. The
      officer who talked to           came up to me and asked me what she told me. I told him what we knew, he said                 told him she was straight but wanted to
    experience what it would be like with a female. She said they began fondling each other, he said              told me they began “fingering” each other, but when
   began she told         she didn’t want to, that she was “raped.”          then told the EMT’s she didn’t want to go, I told          she needed to make a decision because
 there may be other emergencys around the city and EMT’s needed to know what she was going to do.                     began cursing at me telling the officers she was going to
go to jail because she was going to kick my ass. The officers talked her down. One of the officers wanted to talk to             , but     didn’t want to talk about it even after
 the officers explained she could be labeled a sexual predator.           said that wasn’t what happened and she didn’t want to talk about it. Not even with me. It seemed
like she was embarrassed. The police took down the information and called it into the state intake line. At the end of the evening the girls were getting along.                has
           been moved to a new location. An investigation was called in, and the final disposition has not been made, preliminary disposition will be ruled out.




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                                                                                  Description
    At about 1:15AM            was on the couch watching TV in the living room and staff was sitting at table monitoring. Staff was quietly talking among themselves and
             said “Shut the fuck up” multiple times to staff. Staff said no ma’am, we are not being loud and are not going to stop talking.              then turned TV up even
    louder. Staff told her to turn it down and she kept telling staff to “shut the fuck up” and continued to turn it up. Staff told her if she did not turn it down, they were
    going to turn the TV off; she told them they could not do that, it was not their TV and “If you don’t shut the fuck up, I’m gonna beat the shit out of you.” Staff then
       went to get remote from couch arm and took batteries out.              got up, walked towards staff, attempted to grab remote so staff laid it on the table.
 grabbed the remote and requested the batteries to which staff said no.               then immediately swiped her hand across the table to knock everything off. She picked
  up and threw staffs (Dana Dessesaure) state laptop, personal drinking glass and eyeglasses across the room. She threatened all the staff saying she was going to beat
  the shit out of them, and she continued to look for things to throw of staff. Staff immediately called law enforcement as there was not security present.                  stood
next to the couch continuing to cuss at staff telling them to shut up, threatening them and stating she did not care if LE came because they would not do anything, and
   she would not get in trouble. LE talked with          and staff and determined that she had broken staff’s state property (laptop) and threatened staff therefore they
were arresting her and taking her to juvenile.            resisted arrest and said she was not going. Officer’s explained to her that if she did not get up and cooperate then
   they would add resisting arrest as well as destruction of property. At about 2:00AM LE called staff to ask follow up questions regarding                   history, medication,
  and Medicaid information. Staff provided all located information. LE returned               to the CWOP location at 3:10am. RD:              was arrested and returned to child
      On April 4, 2023          woke up at 5am and was trying to close the door t             om. I discussed with           about co         g to close his bedroom door and
   requested to leave it partly open.           proceeded to get up and close the door. We got up to open the door and                  was informed he need to leave the door
   open for us to be able to see him. At approximately 6am,               was attempting to lock himself in the bathroom and Contract Worker Gary Burger went to prevent
               from locking the door. (Based on            bio he requires to be in line of sight at all times due to his suicidal/homicidal ideations except while using the
   restroom. While in the restroom, Staff need to do checks every few minutes by asking                  to respond to them. If no response, please let on call supervisor know
   and LE know. This includes during shower times. Showers should be limited to 15 minutes) At approximately 06:20am,                      attempted to leave the room through
 the front door. I stood in front of the door to prevent            from leaving.         told me to get the “fuck out of the way” and pushed me out of the way. Mr. Burger
  held the door closed with his hand while            continued to attempt to leave the room.                was attempting again to lock himself in the bathroom and Contract
 Worker Gary Burger went to prevent               from shutting the door. Mr. Burger put his foot in a way that             could not close the door.           continued to try to
    slam the door on Mr. Burgers foot.           pushed the door, and the door broke on the bottom and around the doorknob. The door would not close correctly after
     this. Supervisor Ramos instructed me to call 911 and request law enforcement assistance. I contacted 911 and requested law enforcement assistance. Supervisor
      Ramos stated she would contact Glenn to have an officer come to the room.                 continued to state he was sick and wanted to be able to close his bedroom
   door.           agreed he would leave the door open enough for caseworker to see him in his room. During this incident                  held the bathroom door handle in his
   hand. Several times            was asked to give the bathroom door handle to me. Supervisor Ramos instructed                   to give me the door handle and           finally
    gave the door handle to me. After speaking with             , Supervisor Ramos stated to contact law enforcement due to them not being needed due to an officer for
  CWOP arriving to the room and              calming down. I contacted law enforcement and stated assistance was no longer needed as the child was calm; however, law
 enforcement had already arrived at the hotel. Law enforcement spoke with                  and observed the damage to the bathroom door. Supervisor Ramos contacted me
 while law enforcement was present and stated to have officers complete a case report on damage to the door. Officer J. Sanders and Officer E. Martinez were present
in the room, and I requested Officer Martinez complete a report due to the damage to the bathroom door. Officer Martinez spoke to me and to Mr. Burger about what
                had occurred Officer Martinez provided case number 2304040012 At around 8am                      was transported to school with no further incident



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                                                                                 Description
 At 8:50PM an incident occurred between another youth and                   The youth and            got into an argument, and it escalated into a physical altercation. Police
  officer Michael Hamilton was present. When the argument became physical, Officer Hamilton got in between another youth and                        as the incident occurred.
   Officer Hamilton was struggling to keep youth and             separated and asked the workers to call Temple PD. Caseworker Rollie called Temple PD at 8:58PM snd
requested a police officer come to the residence. Caseworker Rollie was attempting to deescalate                   as youth and         were throwing punches at each other.
 Youth threw an end table at                      attempted to throw an end table and chair at youth, then pushed the TV on the floor. Temple police arrived at 9:10PM,
                  to speak to youth and            no charges were filed. The other youth was removed from the location the same night of the incident.
  At 1:00am Caseworker noticed that            arm was red when he got out of the restroom. Caseworker asked him what was on his arm?                   stated that they were
old wounds. Caseworker asked if she could see them. Once the caseworker observed his arm, the caseworker was able to tell that they were new wounds. Caseworker
asked him when he did that to his arm.           stated that he did it earlier in the day. Caseworker asked if anybody else has seen his wounds.            said, no but that he
is wanting to self-harm. Caseworker then notified PD and called the crisis unit.            spoke with Amy.          stated that he was having homicidal thoughts. Amy asked
  him who he is directing these too.         would not say.         also stated that he was going to continue to self-harm, and he needed help. He also told Amy that he
  was seeing people. Caseworker called 911 and EMS and two police officers arrived. EMS checked him and that is when we found out that                   had a blood sugar of
  325.         told EMS that he did not have his diabetes medication. EMS took him to the university hospital and on call caseworker Alliana Paman and Robert Torres
                                                   arrived at the hospital to watch over           while he is in the hospital
 LE responded and the situation had deescalated. There was risk of serious harm from              outh to another youth that initiated the call. Then the youth were going to
  run away. Law enforcement was able to deter any injury or runaway events.                  was threatening to fight and hit another youth because she didn’t go to school
  therefore making it where           couldn’t go to the park.           would not calm down or leave the room and Isabel stated she would not go to school so
  could go to the park. Worker called 911 because it was thought that               was going to start a physical altercation with the other youth. Once 911 was called and
          realized 911 had been called she went into the hallway with P3 worker. When exiting the room, she slammed the door up against the wall very hard making a
loud noise. The door remained open to the room where other youth and P4 were.                    stated she was going to run away and went downstairs. Worker P3 followed
  her, and Hewitt PD met worker and             outside of hotel.           spoke with LE and argued with what they said. LE stated they would not play the what if game
 with her.           was calm and LE left to the gas station across the grass. Worker P4 then text and said the other youth was running away and was on the left side of
  the building. Worker ran across grass and asked LE to come back. Once                and the other youth saw LE in the parking lot they sat down on the parking lot curb.
 After about 15 minutes they went back in the hotel room rushing to get there before the workers. Once the workers were upstairs, they saw that the other youth and
          had locked the workers out of the room and refused to tilt them in. Hotel staff were unable to open the door. Worker called LE back and other youth opened
                                    the door. LE stayed-on scene until workers could verify their belongings were not missing. LE left.




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                                                                                Description
  Upon arrival to Candlewood Suites (CWOP location) at 3:57am, Amanda Lopez, Caseworker Nicholas Reglein, and the Contractor Brandy, were walking towards the
 hotel entrance. Caseworker Michelle Saldana went into the hotel and met up with Contractor Frenchie (coming onto 4am shift). Contractor Frenchie told Caseworker
 Michelle Saldana that             was running. The CWOP Security officer, Caseworker Nicholas Reglein, Contractor Frenchie, and Caseworker Michelle started following
                around the Holiday Inn hotel that is located next door to Candlewood Suites.                would run away when the caseworkers would get closer.
  stopped in front of the Holiday Inn entrance and started pretending to punch Caseworker Nicholas Reglein in the face. Nicholas then put his hands up and
  started punching Nicholas’ hands.              then walked closer to the Holiday Inn doors and picked up a rock.             pretended to throw the rock at Nicholas. The
 officer asked           to put the rock down and she did.              then grabbed the back of Nicholas’ shirt and acted out like her hands were a gun and put her fingers
   to Nicholas’ head.            was acting as if she was holding Nicholas hostage.            walked Nicholas inside of Candlewood, holding the back of his shirt and her
  hands to his head, and went to her room. The officer, Contractor Frenchie, Caseworker Michelle Saldana all followed                  and Nicholas to the room. At 4:11am,
           walked into her room and then ran out of her room and ran into the security room, slamming the door.                  put the silver hook on the door, so we could
   not enter. The officer had the key to the room and opened the door. The officer was unable to open the door all of the way due to the silver hook being engaged.
          grabbed a chair and put it close to the refrigerator and climbed onto the chair.            opened the cabinet door above the refrigerator and grabbed a kitchen
knife.          showed the officer the knife. The officer then kicked open the door and asked Amanda for the knife.                 went to the corner of the room and sat of
  the floor. At 4:13am, SAPD was called. At 4:17am, PD Vicki Hinson was called and informed of the incident.                 held the knife to her abdomen. The officer and
    Caseworker Nicholas Reglein attempted to talk her down and asked for the knife repeatedly.                  would show that she was putting the knife deeper into her
  abdomen. The officer, contractors, and caseworkers attempted to talk with                 and ask her to talk with us, please put the knife down, asked if she wanted her
 phone to call or text someone and that we cared for her.                would not put the knife down or give it to anyone. SAPD arrived at 4:27am. When              saw the
  officers,          put the knife more into her abdomen and SAPD and the Crystal City officer ran to               and put her down on the ground. SAPD officer took the
knife away and gave it to Caseworker Michelle Saldana. Candlewood Suites staff arrived on the scene and was given the knife to remove from the rooms. The knife was
  part of the hotel silverware provided to the rooms, as a courtesy.             was placed in the middle of the floor and was responsive.             had a small cut on the
 right side of her abdomen. The cut is approximately 1/4 inch long. SAPD officer called for Emergency Detention. San Antonio EMS arrived at 4:30am. The paramedics
 with SAFD checked                vital signs and placed her inside the EMS. Due to             history in an ambulance, SAPD traveled inside the ambulance with
 W           was taken
            eworker      to Christus
                      Mariah  DouglasSanta   Ros Westover
                                         arrived   was in theHills Emergency
                                                              living          Room at
                                                                     room throwing  up5:05am
                                                                                       gang sig          is curre ywas
                                                                                                         ughing.     being  seen Rhonda
                                                                                                                         vaping, by the Emergency   Room
                                                                                                                                         Stinnett told him physicians
                                                                                                                                                           he needed SAPD
                                                                                                                                                                       to stop
 and give it to her and would not. began talking to himself. walked upstairs and started fighting with 2 other youth in the home, and police were called. Once LE
   arrived, and they determined he needed to go to a hospital for eval due to physical injuries from the fight and called EMS. was transported to Seton in Harker
  Heights. At the hospital, was assessed for injuries, CT scan for possible head injury, and gave him an ice pack for swelling to his face. denied any homicidal or
    suicidal feelings. remained in the hospital pending the CT scan, and was sitting on the bed mumbling to himself, unable to be understood. After this SIR was
                                                   submitted     was discharged from the hospital back to CWOP




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                                                                               Description




  This incident occurred during the 2:00 pm-8:00 pm shift. At 6:15pm, staff and               were hanging out in the lobby then around 6:30pm,           and          were
    walking down the halls together. Staff went up the elevator with               and          and then          followed         into          room. Workers notified
              assigned staff in the CWOP group chat that             was in            room. At 6:40pm, staff then came to the door to retrieve          However,
   tried to prevent             staff from entering the room. Once staff were in the room,           tried to get         to go into the bathroom to hide with her. When
            staff tried to stop          and          from doing this,         got angry and shoved CWOP temp worker, Trina Gulley. The girls then locked themselves into
the restroom and would not open the door for staff. Alvin PD was contacted at 6:43pm by worker Brittany and worker Brittany remained on the line with dispatch until
the officers arrived. The police officers arrived at 6:50pm and            became upset when she saw the police. When the police officers approached              to speak to
her, she became completely distraught and would not cooperate with officers. She was screaming and crying at the top of her lungs and resisting when officers tried to
 place handcuffs on her. Officers had to detain her so that they could speak to her. Officers were able to speak to            and calm her down. CWOP temp Trina Gulley
  made the decision to not press charges against              for assaulting her. Officers then removed the handcuffs off          and escorted her into the lobby. Officers
   then spoke to workers Brittany and Sai about what happened. Officer S. Utsey left a card with workers that has the case/event number with stuff. The case/event
                                                                              number is 2023256683




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                                                                                 Description




               was attempting to provoke                several times he pushed             while he was seated on the couch; another time he was observed “twerking” by
                called him “fatass” earlier in the shift according to          and this was confirmed by security officer as well. At 9pm,                   was seated on the
  couch in the hotel room.                walked up and told             to get off of the couch.          and both caseworkers told       that he couldn’t monopolize the
  couch.        said that the couch was his.        said that he was going to sit on            bed then.      sat on           bed.          told him to get off of his bed
twice, yet he did not.           stood up and walked slowly toward                 called          a “fatass”.        then grabbed       by the collar of his shirt and hit him.
       fell backwards and            continued to hit him a couple more times than he backed away. During the scuffle                somehow hit himself in the mouth and
   was bleeding.         was crying and said that his head hurt. He sat on the couch and worker grabbed him a water bottle out of the refrigerator to put on his head.
  Security went and got a bucket of ice for the boys.              apologized and stated that he lost control due to being harassed all day and the days leading up to the
    incident. The officer and the other workers have observed both boys’ behavior both during the shift and shifts leading up to today and agree that              has been
                          provoking             the past several days. Both youths were given ice as treatment but did not need medical treatment.




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                                                                               Description
            was good until it was time to take a shower. She refused to take a shower and take meds.             became upset and slammed closet door. She yelled and
   screamed that the hotel soap gives her a rash and that her skin is delicate. Staff brought her dove soap and she still refused. Staff advised       that she needed to
   take a shower because it has been days since she showered. Staff advised her if she didn’t take a shower the TV would be turned off, and she stated “how I got the
 remote”, the contracted officer on duty unplugged the TV and              had a few choice words for him.         ask how you can make me do something I don’t want to;
 we explained that daily hygiene is important especially for a young girl. She fussed for a bit but finally got in the shower. Once out the shower         wanted to watch
   TV, she asked in a rude and disrespectful way. I asked her to pick up the mess she made, and she started throwing more things. She then tried to plug in the TV but
couldn’t figure it out, so she threw the remote. The remote broke so she sat on the for floor trying to fix it. After about ten minutes she gave up and then demanded to
  talk to the lead. I told her I would call the lead but      tried to leave the room. I was standing in front of the door and she told me to move and kicked me and the
door several times. The officer told her to stop and that’s when she turned on him, she picked up a gallon water and threw it at Officer Villareal and hit him in the chest
and shoulder area.           then went towards officer Villareal in an aggressive way. The officer put       in a bear hug and took her down to floor. I push my Safe Signal
 and then tried to talk to         to calm her down, but she became more aggressive by kicking, screaming, attempting to head bud the officer and banging her head on
  the wall. While trying to move items out of the way for safety           kicked me again. The other contracted officer on duty arrived to help. When local Conroe police




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  12:50am: Earlier         and            were arguing about who was going to watch TV.           got mad because               wouldn’t give her the remote for the TV.
 then went to             room and told her             wouldn’t give her the remote.          then came out from her room and stood over                 telling her she needs
  to give her the remote. KDW told the girls to calm down.            then started to disconnect the TV. KDW told           not to take it and she stated that she didn’t care.
     She stated that nothing was going to happen if she took the TV. She stated that we could write it in the notes and nothing was going to happen.                    went
 upstairs to her bed in the loft and          and      followed her. KDW and Admin followed them upstairs and KDW observed                  standing over              who was
laying in her bed.          was trying to intimidate her and yelling at her to give her the remote for the TV. KDW then asked for the remote and was given the remote by
                KDW put the remote in her pocket and made her way downstairs.                was directly behind KDW Mesa when walking down the stairs and stated that
worker needed to give her the remote. KDW did not engage as she did not want the situation to escalate.                 started to get louder as KDW approached the table in
 the living room.          then yelled that she would break "KDW’s computer and she didn’t give a fuck.”             then stood right by KDW trying to intimidate her yelling
   and telling her to “call the Police because she didn’t give a fuck.” KDW Mesa felt threatened as           stood over her extremely close that            leg was touching
  KDW’s leg. KDW then dialed 911 and gave the phone to the other DFPS staff and told her to call 911.               became irate and started yelling at workers to go ahead
 and call the Police because she didn’t care. She continued to yell while standing right near KDW. KDW then got up and walked behind                  to the front door.
     then took KDW’s metal thermos and threw it on the floor while stating that she hopes KDW dies and hopes her kids die and hopes her old ass mom gets into an
accident and dies. KDW did not engage and stood by the front door.               then went into her room with         Local Killeen PD arrived around 1:15am. KDW explained
    what had happened. Officer Montalvo went into               room, followed by KDW Mesa. The light in              room was off and          and       were pretending to
   sleep. Both girls were heard laughing right before the officer and KDW entered the room. The officer spoke to               and       and asked them what was going on.
        initially did not want to get up and finally she sat up and was cussing at the officer. The officer was trying to speak rationally with         about the incident that
  occurred earlier. The officer than asked          for the CWOP cell phone.          started cussing and yelling stated that she did not take the CWOP phone.             then
  stated that she threw the phone out the window. She became argumentative with the officer when he asked her which window she threw it out of. The officer then
      explained to          that the phone was state property and charges can be filed on her. KDW asked permission to search through the room and both girls gave
    permission with LEO present. KDW opened the drawers, checked the closet and the bathroom and did not find the phone. As we all exited the room,                      went
 upstairs.          came down stairs smiling and asked the officer if she gave him the phone, will she go to jail? The officer stated if she gives it up right now she will not
be arrested.           then started laughing and pulled the phone out of her pocket and gave it to KDW.            then went to her room laughing with           and the officers
                                                                     left the house without taking a report.




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            was upset with worker because she was told that she could not go to the store because she needed to stay at the hotel as she came home early from school.
          stated that she was not sick and she had an asthma attack because a girl sprayed perfume in her face. She got mad and walked out of the room. Security had
  already walked out. I followed her out. She went downstairs. When I got downstairs she was outside and security was watching her. She was sitting on the curb. She
 sat there for 15 minutes and then walked to the back of the hotel. We followed her and she sat in the back for 15 more minutes.                walked away from the hotel. I
walked one way and security went around the other way. She walked towards the highway. I told her if she left, I would have to call the police and she would be listed
  as a runaway. She continued to walk. I called 911. Security continued to follow          to the Dairy Queen parking lot. I told 911 what was happening and they stated
  that they would have an officer there. Local LE came to the Laquinta parking lot. Local police handcuffed her and placed her in the back of his patrol car. She was in
handcuffs. She told the other worker that she was not going back to the room, she wanted her own room and close the door. LE stated that they were taking her back
to the room in handcuffs. We went back to the room and             kicked and hit the local police officers after they took her cuffs off. The police left and then were called
 back to the room because             started throwing food around the room as well as napkins, pouring salt and pepper and other objects. The police came back and left
   after she calmed down. Security was switching shifts and           attempted to leave. She was held by contracted officer Petree and contracted officer Jones.
   shoved contracted officer Petree and then contracted officer Jones handcuffed her and stated she was under arrest for assault on a peace officer. I called 911 and
   provided continued incident information and they dispatched an officer. The officer came and talked to              as she had calmed down when local LE came.
stated that she did shove the officer and she would continue to try and run all night. She was arrested by Paris PD. I provided him with her demographic information as
 5/21/2023, Time police were called 2:15am, time police showed up at CWOP location: 2:30am: Killeen Police Department, Brian Pruitt Badge ID 156, Sergeant. 2304
Community Blvd, Killeen, Texas, 254-501-8830. Incident Report: 2:15am:                  came back down and sat at the worker's table. She began to ask if she could have a
         pair of scissors to cut her hair for school tomorrow. Workers stated no since she had not taken her medications prior to this shift and she was becoming
   argumentative. She wanted to know why, and case worker stated that she was becoming upset and aggressive, and she could wait for tomorrow and speak to her
caseworker who was picking her up to sign her up for school.               continued to argue, and it escalated to the point she threatened to hit case worker in the face
and threw an almost full bottle of water at FBSS Gayoso and it hit her in the arm. At that time                became aggressive and threatened to assault FBSS Gayoso. At
     that time CVS Sanchez called 911. The police arrived (three police were present). FBSS Gayoso spoke to Sergeant Brian Pruitt #156. He stated that if caseworker
 wanted to press charges that she would have to come to the police department, and it would only be a citation/misdemeanor offence.                         began to apologize
for throwing the bottle of water at case worker and stated she didn’t mean to hit her. She didn’t want to go to jail. The other girls came out and stated that they didn’t
     see the case worker getting hit. They were arguing with the police and Sergeant Pruitt told them to go back into the house. There was no arrest or report taken




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                                                                               Description




          returned back to the CWOP location at approximately 545pm in a frantic state from being on runaway. PAL Morgan was upstairs sweeping the bathroom and
    could hear       tell everyone downstairs that they have to come with her to "get the girl” (        because she is on the side of the road and is turning white. PAL
Morgan came downstairs and             begin to tell PAL Morgan that we have to leave now to get to the “other girl” (       because she may get hit by a car. The security
 officer on duty along with Maria and Pam attempted to calm            down to find out where the other youth is.         said that she can’t tell us where the other youth
 is and that she only knows how to get to her. PAL Morgan called 911 and reported that a youth who ran away returned and appeared under the influence stating that
the other youth who ran away with her is on the side of the road and need medical assistance. 911 dispatched Fire Rescue, EMT, and KPD to the CWOP location.
 went upstairs and changed into a net cropped top that showed her bra and some short shorts.              came downstairs when emergency services arrived in which she
     was told that she needed to be checked out.          refused. EMS attempted to talk with         to see where the other youth was.           first said that she can’t
verbally tell where she is.        continued to have erratic behavior out in the driveway and walking up and down the sidewalk.          was not telling the truth about the
   other youth and being in distress on the side of the road- this youth (      was not in distress and was fine. Emergency services continued to attempt to get
 evaluated but she refused.           behavior escalated in which KPD placed          in handcuffs and escorted her to the police vehicle. The police officer stated that he
    can’t transport        to the hospital but EMS can.        had calmed down and agreed to be transported to the hospital by the EMS.            was transported to the
                                hospital. KPD event #K23067251.        returned to the home and was not in distress or under the influence.




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                                                                                    Description
1:25pm:            went into the restroom with her laptop and a lamp and closed the door. Workers heard noises coming from the bathroom and asked                          what was
 she doing.          yelled at staff to go away. Shift lead was called into the room.            is heard breaking the lamp. Shift lead was able to get inside of the restroom by
   using a key off of her key ring.          is yelling for everyone to get back and leave her alone.          was observed standing on the counter trying to unscrew a light
 fixture from above the mirror. The light fixture fell and broke when it landed on the bathroom sink/floor.                 slammed the door shut. 1:40pm: Worker Soto called
   the Mobile Crisis line. The Mobile Crisis Line stated she would check to see if there was a team available to dispatch to the hotel. Shift lead checked on                 again
 and           put her body up against the door so that nobody can get in. 1:48pm: Glass can be heard breaking. Contractor called                     name and she replied back by
    saying, “What?” Contractor asked              if she was okay and she said, “Yes, go away.” 1:56pm: Police arrived and was able to get              to open the door. Officer
  asked          what the problem is and what was wrong.                 wouldn’t answer. Police officer asked         if she would like to tell her what happened with workers
  today and          replied, “No.” 1:59pm: The mobile crisis team arrived to the hotel room. At this point, the police determined that                  cut herself on her left arm
   and would need to be transported to the hospital. The mobile crisis team informed staff that the hospital will take over once                  is transported. Police informed
    staff that         will be transported to Charlton Methodist hospital. The police officers encouraged              to make herself something to eat while waiting for the
    paramedics to arrive.           exited the restroom and made herself a bowl of noodles before laying in her bed. 2:15pm: Paramedics/EMS arrived and attempted to
engage with                     refused to answer any of their questions or move from the bed. Worker Soto provided the paramedic with                       full name, date of birth,
     and primary caseworker information.               grabbed her noodles and walked out the hotel room with the paramedics and police.                  was transported in the
             ambulance to the hospital. 2:30pm:               and staff arrived at the hospital and was admitted to the emergency department pending assessment




   At 11:35AM, staff and youth were outside in the backyard.             got on a lawn mower and started pulling the gear shift. Staff told her to stop because she could
break it. Staff put the gear back in park and         yelled to stop touching her and pushed Staff (Veronica Tate). Staff told         to stop or LE would be called.
swing at staff and was told to stop.         then pushed and hit staff in the face.            (youth at CWOP) tried to stop her from hitting staff and       started hitting
            Staff attempted to stop         from hitting           but fell with         to the ground.       grabbed a can laying nearby and hit worker with it, she then
spit on the worker, and grabbed the worker hair. LE was called as security was not on duty.              began walking away from the house when LE arrived. Reports were
  taken and           was handcuffed and arrested for assault on a public servant and assault of a minor child. LE later informed staff that          would be released at
4PM and could not come within 1000 feet of the CWOP location.                 was placed at another CWOP location. Both the caseworker and              are pressing charges
                                                                                 against




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             was outside eating yogurt and was then started having what appeared to be a seizure. Staff and contracted security went out to help and she had about 5-6
      seizures within a very short period. EMS was called and she was transported to McLane’s Hospital. She was discharged from McLane’s and back to CWOP after
                                                evaluation. Hospital informed her bloodwork was normal and she was dehydrated.
When workers arrived at 4pm shift,             tried to stop workers from entering.         had large (1” wide and approximately 36” long pipe from the basketball goal) in her
  hands.         continued to demand to use the phone and then told prior shift shut “fuck up don’t tell I can’t call..you don’t know what you fucking talking about.”
    began hitting the light outside by the driveway with the pipe and then came into the house started hitting the walls with pipe; she caused damage to the wall next
    front closet and column at the end of the staircase. Another youth asked to see the pipe and then gave pipe to the worker.             then returned outside and started
  tearing the basketball set apart to get another pipe but was not able to do so as the staff already removed the pipes.            came back into the home and sat next the
 worker trying to get control of the pipes again and threatening staff. She then grabbed the picture off the living room. She started punching holes in it. Local PD Officer
    Kim #477 called the worker back stating that they are not going to respond to the home for property damage because she lives at the home and LE did not find the
  threats to be valid based on prior interactions with                  then continue to proceed grab at the pipes again. Instead being to reach the pipes, she jerked the USB
      cord out of the workers computer, break it and then threw into the dining area. She continued to try to intimidate the workers by clinging the springs from the
 basketball goal together.         then continue to make threats that she was going to have house blow the house up. She stated stated that she was going to give Jackie
                                                      (fictive kin) the hou     dress via internet/tik tok on the living room tv.
   Staff and youths walked to the creek for a couple of minutes and             decided he wanted to go back to the hotel. Everyone began walking back to the hotel. At the
 foot of the stairs the boys started running fast up the stairs. Caseworker Lindsey followed them up the stairs and told them to stop running. When we reached the 3rd
floor,         collapsed on the floor and began gasping for air. Caseworker immediately called 911, as it appeared that            was having a significant asthma attack. Staff
   went to the room to get             inhaler. Mason stayed with           and caseworker. When staff returned with the inhaler,         took two puffs. Caseworker Lindsey
      informed dispatcher,          said it helped. Dispatcher asked to have          meet the ambulance at the front of the hotel. EMS arrived and examined            The
paramedic reported that            had wheezing in his lung and needed additional care. Staff and Mason followed the ambulance to the hospital.               was given oxygen,
        a second breathing treatment, steroids, and fluids. Doctor stated that it was not a severe asthma attack, but it was moderate and recommended a follow up
                                                             appointment with a primary care provider within two weeks
             left the room for a walk to get away from roommates altercation. During the walk SAPD arrived regarding an unrelated call and found                   with a sharp
  object that she was using to cut herself to the point of bleeding. Local SA officers responded by restraining the youth’s wrist to remove the object; when she refused,
 they cuffed her so she wouldn’t hurt herself and placed her in the car. In speaking with the youth, youth stated she wanted to kill herself; officers emergency detained
                             her and took her to laurel ridge psychiatric hospital for evaluation. SAPD 23114175 officer Rosa (1037) responding.
  Around 3:50a.m.             wanted to leave the room with roommate. Shortly after,                   mood changed very quickly, immediately going quiet with a blank stare.
   She began walking around, hitting the walls, windows, and destroying property.                 had ripped off a heavy sunflower off a fake plant, when she walked past me
  she forcefully threw it at the left side of caseworker Rebekah’s face causing her face to become red and vision in left eye go blurry. Contracted officer Nash witnessed
   this incident and detained her for damage to property and assaulting CPS caseworker. Non-Emergency line was called for police assistance and SAPD arrived around
     5:20-30a.m. Officers stated she would be taken to youth services to gather more information from her and she would then be taken to juvenile detention for the
                                                                            assault and property damage




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       was attempting to jump off the stairs and staff stopped him. He hit his head on the wall several times. 911 was called as he continued to lay on the floor. Lead
 CW contacted mental health crisis team as          was in his room attempting to leave through the window and banging his head on the wall. Belinda Salinas from
 CHCS arrived at 12:00pm and did the assessment. He was taken to Clarity hospital and was not recommended to be admitted and therefore released back to staff.




      and           started a verbal altercation, but then turned physical with throwing things and putting hands on each other. Staff were able to intervene to get the
girls to separate by taking           out for a walk. During this cool down time          requested speaking to her ad litem and filing an assault charge against     for
     throwing things & hitting her with her hands. The ad litem encouraged the youth to file the charges so SAPD was called to take the report. Officer Rosa (1037)
                                                       responded and took the youth’s statement. SAPD # 23114169.




     walked out of the hotel lobby and began to walk in the middle of the street to cross the street. Staff followed and called the crisis hotline so      can speak to
  someone.        walked back again crossing the road. Staff attempted to get         to speak to the crisis hotline, but he refused and began to walk on the road to
  move away from me, where there were cars passing. Crisis hotline advised staff to call 911. 911 was contacted and            was brought back to the hotel by 2 local
  SAPD officers.      refused to speak to the crisis hotline. He stated he was angry and was not trying to hurt himself. SAPD officers left the scene without further
         was in the hotel lobby watching a basketball game and became upset intervention
                                                                                when workers told him he needed to go to his room to take his meds and he could
 continue watching the game in the room. We went to the room and was cursing at staff. He then went into the bedroom and slammed the door shut. A hotel guest
    informed workers that          was hanging out the window. When worker saw him, he yelled “don’t fucking come near me or I’ll jump”. Contracted security and
worker talked to him, he eventually went back in the room but then left the room and want outside. While outside, he started threatening the staff that he was going
to smash their vehicles and he started throwing rocks at other vehicles. Contracted security grabbed items from           hand and he started to fight the contracted
 security. He went back into the hotel, grabbed a butter knife from the breakfast area. He was observed cutting his legs and arms. Law Enforcement was called, both
  local law enforcement and the ambulance responded. Initially, he was handcuffed and placed inside the police car by local police, however once the mental health
          officer assessed him it was determined he needed to go the psychiatric hospital. He was transported to the psychiatric hospital by law enforcement.




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                        was asking where her phone was and wanted to see it. Leslie Copeland and I (casework) had explained we were still waiting for approval to give
 her the phone. Leslie went to open binder to show the child her phone when the phone slid out of the pocket onto the bed. The child began to yell and jumped on the
bed to get the phone from Leslie. Child threw the binder at Leslie, hitting Leslie on the top of her head. She then jumped off the bed and leaped toward Leslie trying to
reach for the phone, which now the phone was in Leslie’s hand. She began to pull on Leslie’s arm and hitting her open handed, on the face. Child was pulling on Leslie’s
  hair and punching her in the face, head, arm, back, and right side. The child pulled off Leslie’s hair and punched her in the face all the while yelling profanities. During
the time of the altercation I was on the phone with law enforcement explaining to them what was going on. Leslie made her way to the bathroom and closed the door,
 tried to lock it but could not cause the child had the handle down and trying to push her way in. Law enforcement arrived. The police officer went out to talk with her.
     The child started to fight with the police officer, and the office placed her in the back of the car with the help of another officer and was transported to juvenile.
            went into his room and put something in his pants and took off running out of the room. The on-duty contracted officer stopped him and asked what he had
   in his pants.           began moving away from the officer threatening the officer. The officer began to search               as he was holding something in his pants.
       While trying to search            he began to shove the officer and kick him. The contracted officer then detained him and asked the workers to contact law
enforcement. Law enforcement arrived and took a report however due to no criminal offense occurring they did not take him into custody. It was found that
                            did not have anything in his pants and was just acting as though he did and was not able to explain why he did this.
     The contractor and I helped          put away her laundry and make her bed. She appeared in good spirits. Around 10:30              advised me that she was having
stomach issues and went to use the restroom; she said that she thought it was too many probiotic gummies. I was sitting outside the restroom talking to her the entire
 time. I asked her multiple times if she was ok, asked if she wanted us to get her some medicine for her stomach and looked through the hole in the door regularly and
        saw her sitting on the toilet and there was no movement that would indicate concern and she was speaking clearly to me the whole time having a regular
 conversation.          came out of the restroom, shut the bedroom door (with me inside the room with her, contractor Linda and contracted Officer Skero in the living
  area) and asked me to stay quiet and showed me her arm. She begged me to just ignore it because she said it was fine and I told her that we have to get her treated
and she asked that at least I take her and that she didn’t want to go in an ambulance and didn’t want contractor Linda to see her arm because she didn’t want her to be
   scared or upset. I asked where she found what she was using and              says she found some glass on a walk earlier in the week and concealed it in her shoe until
 now. We couldn’t find the glass when searched the room.              told me that she cut herself because she was hearing voices that told her to do it and that the same
   voices helped her find the glass and told her how to use it; she said that Jessica, her prior worker, knew about the voices but that she doesn’t tell many people. She
said that doesn’t hear the voices when on her meds (she said it makes them quiet) so I asked why she keeps refusing them and she said she didn’t know. We discussed
  the importance of a regular schedule for meds so they can work and that she needs to commit to that so that she doesn’t go through this. She also said that she has
    been pulling pieces of her bra out too (which were found when cleaning the bathroom). She said she was just feeling a little sad but that she was planning to stick
something in her arm too before she decided to come tell me what she did instead. I took her to the ER with contracted Officer Skero following behind and we checked




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          called his caseworker and she called staff to report he was agitated and to watch for escalation. Within a few minutes        came in living room and went
to front door and said he was leaving. He was asked to wait a minute and talk to us but he was impatient and agitated. He was advised he was not supposed to leave
the house and he replied we can’t stop him. Samantha Clay told him that was true, he would not be stopped or hands put on him but the police would be called. He
shrugged and didn’t care. She started to lecture him on what boys were supposed to and when keep doing what not suppose to then staff were going to get tired of
that. He replied to her that was 1st time he has had attitude and she shouldn’t be giving him attitude back. She replied something and he went out front door and
slammed it hard. Staff followed him and saw him throw trash can in the street, say something to an elderly man walking down the street and then             kept
walking down the street. Contracted security present at house reported he was just walking back and forth on sidewalk and calming down. Grace Place staff member
(Samantha Clay) went outside to smoke. In a few minutes              came back in the house very upset and saying to himself “we can’t smoke and but she smokes in
front of us” He went in his room and punched the walls with his right fist and then went back outside. Things happened pretty quickly but someone (probably one of
the other youths) came in and said that he had damaged Ms. Clay’s car. She ran outside and most of the youth followed.            was outside and he and Ms. Clay
were yelling at each other. McDonald followed outside and was advised by LE to call 911. A report was made and officer came to the house. He talked to Ms. Clay, Ms.
McDonald and              Report was that           took chair that was in the trash and smashed the windshield on her Mercedes SUV. Officer advised Ms. McDonald
that he was calling EMS due to            hand being swollen and injured. EMS responded and informed us his hand was not broken and to treat with ice and ibuprofen.
Decision made by EMS that he did not need to be transported to hospital. After about an hour he was released from local police vehicle. Belton PD advised they were
unable to get in touch with Bell County juvenile detention to get permission to transport him. He will be issued a summons and the matter will have to be dealt with
through the court. CWOP support team spoke with the contracted security on duty, he informed staff, Ms. Clay was very antagonistic towards               He further




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Around 4:45            and          appeared they were horse playing. CVS Rubin went upstairs to investigate what was going on. CVS Rubin observed                 hitting
        who was on the floor blocking the blows. CVS Rubin separated the two.              proceeded to her room and CVS Rubin and              followed. CVS Rubin stood
at the entrance of           room while          stood near CVS Rubin.            yelled out profanity and called          a bitch. Contractor Weekes and Rod (security)
  came upstairs. While trying to de-escalate,          and          began fighting again. Rod (security) observed CVS Rubin in between the two and security placed
         in a choke hold and placed her on the ground.           went into her room and around 5:05pm               left the premises and returned several minutes later.
Minutes later Rod (security) released         after informing Rod (security) that she is ok and will not be an issue. After standing,          berated Rod (security) and
             pushed security with her body. Rod (security) took          to the ground and requested 911 be called. He tried to restrain her on the ground for a few
  minutes. He let her get up and he went downstairs.            then followed Rod (security) downstairs started berating him and left out the front door. She walked
 around the neighborhood for about 30 minutes. She returned and asked to call her girlfriend on her list (                       went into her room and around 5:05pm
          left the premises and returned several minutes later. Around 5:43 KPD Officer Higgs Case #23006093 arrived.                was cooperative with the officer and
 provided a statement. Officer Higgs spoke to           who was uncooperative and didn’t want to talk or leave any statements. She sat on the couch. After speaking
  with the team lead, Jessica Cooper, CVS Rubin advised the girls that they should keep their distance and if another altercation was to break out, they are at risk of
                        arrest by KPD.        filed a report but didn’t press any charges. The security officer is no longer working CWOP shifts.




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                                                                                  Description
    At 7:15pm           was outside on the sidewalk crying saying she sprained her ankle.              was holding her kitten and also trying to do a trick on her scooter which
    resulted in her falling off the scooter and landing sideways on her right foot. Both CW helped              get to the porch steps where she sat and put ice on her ankle.
               ankle started to swell immediately and took on a blueish, purplish coloring. CW Jett called the shift lead Chaluandra Lewis who directed to call for EMS to
 transport           to ensure nothing further happens to her ankle. At 7:35pm Bryan EMS arrived, assessed                  explained that a transport may not be necessary, but
  they are able to transport           to St. Joseph’s hospital for further assessment. At 7:50pm The next shift staff members arrived early and were briefed on the events
      of the shift. CW Jett went to St. Jospeh’s to relieve CW Kappler. CW Jett relieved CW Marchelle Kappler from St. Joseph’s hospital.                took her Divalproex at
    8:15pm but did not want her melatonin.               was taken back for x-rays and CW Jett accompanied her.              was then taken to talk to the nurses for her formal
intake before being moved to a secondary waiting room with CW Jett. The doctor met                      assessed her ankle and foot, and determined that a small fracture was in
 her ankle. The doctor sent            home with a boot and crutches instructing that a follow-up visit will be needed in the next few days to ensure               is healing. The
 doctor stated that no pain medication would be prescribed, and Tylenol/Ibuprofen can be taken as needed. The doctor informed                      that she needs to refrain from
   physical activity over the next two to three days which is how long she needs to use the boot and crutches. The doctor stated that as                  heals over the next few
  days, she can still wear the boot and start to put more weight back on her foot. The nurse provided CW Jett with discharge paperwork including instructions for after-
    care for           ankle. CW Jett did text Ms. Bolfing about              injury since        was on and off the phone with her mother throughout the emergency room
   visit.         was discharged               t arrived back at the home at 10:30pm. 10:30pm-              returned from St. Joseph hospital with worker Hannah Jett.
    At a        mately 10:21PM,                called CW Gutierrez into her room. She reported t             was experiencing chest pain and had a headache. CW asked
 needed me to call an ambulance or if she was just notifying worker that she didn’t feel well. She advised that she was just notifying worker. CW Gutierrez felt her head
and she did not feel warm to the touch, she advised                    to lay down to try to get some rest.              reported that she was not tired as she drank 3 monsters
    today. CW advised that this is likely why she is feeling like this. CW advised               to let her know if it got worse. Around 10: 30PM,               yelled from her
   room that she really didn’t feel well and advised she was feeling worse. CW asked her what her chest pain felt like and she stated it felt like her chest was on fire. CW
    asked her if she took anything else today and she reported that she hadn’t. CW attempted to call Supervisor Perry for assistance at 10:32PM as                       reported
 her chest pain was getting worse and the call went straight to voicemail. CW left voicemail asking for a return phone call. At approximately 10:35PM,                       threw
  up. CW Gutierrez got her some water and asked that she sit down in the common area so we could monitor her. She advised workers that she feels like we should call
the ambulance in order to have her checked out. CW contacted PD Ware at 10:37PM and did not get a response. CW left a voicemail asking for a return phone call. CW
     Gutierrez decided to go ahead and call 911 for assistance. CW reported to the 911 operator what was happening with                                     advised that she felt
  clammy and had cold sweats. The operator advised that we open the door for EMS and that we stay with                          to observe her responsiveness until EMS arrives.
 During this time PD Ware texted CW Gutierrez asking what was going on. CW attempted to update her via text message and EMS arrived 6 minutes after CW Gutierrez
 made the 911 call.                reported to EMS that she drank 3 monsters today and took her medications. She reported that her chest was hurting and that she had a
 headache and threw up twice. She advised to EMS that she did not wish to go to the ER. Her vitals were taken and were normal. Her heart rate was 88, blood pressure
     106/74, and pulse 97. EMS got CW information and then left the hotel. CW provided PD Ware with the vitals from EMS and was instructed to complete a serious
incident report.                reported to staff after EMS left that she has bad anxiety regarding her health and she worries that something is very wrong with her when it
   actually isn’t. She stated she feels better now that EMS checked her out and she is fine. EMS advised her to get some rest and drink water. After EMS left,
  continued to drink water and she laid down in her bed for a bit before going to sleep at approximately 11:30PM. Before going to sleep, CW asked                         how she
     was feeling and she reported that she felt a lot better and was going to get some rest Present Staff: Erin Gutierrez Program Specialist III Elizabeth Cespedes CPI



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                                                                             Description




On 6/10/2023 at 10:30am        was sitting on the couch in the living room when          put on        shoes.       asked        to get out of her shoes and         did
not.     asked several more times than           kicked off one shoe and got in      face this is when      got upset.     then pushed           and she hit the base of
her neck hairline on the handle of the entertainment center before landing on the mattress.           started crying and workers checked to make sure           was ok.
                                     Workers gave          ice to put on her neck. She ran out the house and did not apply the ice.




 At 8:45am         had been complaining that her chest hurt and fainted. Staff called EMS. When they arrived, they stated that her vitals were normal but she was
unresponsiveness. After a short while she did become responsive again. On call staff took her to Children’s Hospital of San Antonio and she refused to let the medical
                                                                         staff treat her




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                                                                                 Description




On 06/11/2023, I, Tommie Rivers worked 8A-12P at the Paris Comfort Inn location, with Angeles Yanez.                 and his peer        were taken to the pool. During the
swim time.          was grabbing his peer’s legs under the water. The peer asked him to, “Please stop” several times, as well as staff.              did not listen he laughed
and continued to bully the peer. The peer is 14 years of age. The peer swam to the other side of the pool.             then moved to the other side of the pool with the
peer.         dunked the peer under the water. The peer choked on water and was coughing when he came back up. Staff told                      to leave his peer alone and move
to the other side of the pool.          did not listen. The peer told        once again to leave him alone.         began punching his peer with his fist in the forearm. The
peer told him to stop, as well as staff.          did not stop. Peer was not able leave because         had one arm around his peer’s neck and was punching with his
other arm/fist. Staff counted six punches before the peer was able to get away. The entire time staff is telling           to stop and he does not. Once peer was able to
get away, he asked to call the police. He wanted to press charges. His arm was very red and he stated it hurt.            told his peer, “If I go to jail, I’m going to beat the
fuck out of you, when I get out!” CW Rivers asked the peer did he want to speak to the on-call supervisor and he said, “No, I want you to call the police.” CW Rivers
stepped out to call on-call supervisor Leeann Walston. Supervisor was advised what had happen and advised CW to call the police. The police arrived and talked with
both boys, as well as staff. Officer Flores advised he could arrest         but his supervisor advised it would be under the, “Family Violence Act” and the child would be
released in a few hours. The Officer stated he would speak with             and let him know the severity to his actions and if he hit the peer again, he would go to jail. CW
Rivers called and staffed with Supervisor Waltson. CW Rivers was advised if anymore issues occurred to call the police again.




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After arguing back and forth for a while and staff/contracted security not being able to calm the girls down using de-escalation,                 and                   got
 into a physical altercation. Security and other staff attempted to separate the girls, but they were physically fighting each other. LE was called and they arrived after
 the fight was over. Security took         to the sensory room, and          waited outside. LE arrived and everyone provided their statements.           then requested
   EMS, stating that she had knots on her head from the fight, and she could go into a seizure if she did not get checked out. LE stated that no one would be getting
arrested, and no charges would be pressed on either girl.          then got checked out by EMS, as well, and she stated that she was kicked on her stomach.            was
  taken to the ER by EMS.           was also transported to the ER by staff to ensure she had no injuries and for further mental health evaluation. Update:          was
                          evaluated for mental health services. A referral was completed, and she was admitted to a psych hospital on 6/10/23.




        left the placement and walked down the road towards the highway. Visual sight was maintained. Local law enforcement was called at 9:40pm as she curb &
refused to return to the church. She began cutting her left arm with a stick. Local PD Officer Keith stated that he was transporting her to the Henderson ER for a mental
   health evaluation. She refused to get into the patrol car and began kicking at Officer Keith and yelling. Officer Keith and security officer Marks handcuffed    and
   placed her in the patrol car.    was refused treatment by ER staff due to her combative behavior. While at the ER she kicked Officer Keith, Officer Cawthorn (both
 local Police) and the hospital security guard.     was taken to Henderson Police station for processing and charged with assault on police officers and resisting arrest.
                                                                    was returned to the location prior to 12a
4p to 8p shift-     was complaining of pain and swelling in her wrist. EMS were called and transported         to UT Health in Henderson. X-rays were completed.      was
   diagnosed with a sprained wrist. She was given a brace to wear until she can use it normally again without discomfort. OTC ibuprofen as needed recommended for
                                  pain.     stated the injury originally occurred during her arrest and being handcuffed the previous day.
     verbalized being upset with her CASA worker because she stated she was going to contact the local LE about a warrant.     then walked away from the building.
 Staff followed while calling LE. Le returned  to the church at 5pm.     stated that her wrists hurt from the handcuffs the day prior, and that the handcuffs today
        made it worse. EMS were called and upon arrival, recommended hot and cold compresses to decrease pain, and to call them back if conditions worsen.




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 8pm-       broke a plastic drinking cup and took the sharp pieces and hid them in various places outside. When staff observed this, they requested the pieces of plastic.
       stuck the plastic pieces in her pants and took off running. She then took a piece of plastic from her pants and slid it across her wrist and stated, “I’m going to cut
  myself”. Staff contacted crisis management line but was informed that            would need to be medically cleared before they could complete an assessment. LE were
   contacted. Upon arrival, they were informed that          has sharp plastic pieces on her person and refused to give them to staff. Law enforcement attempted to de-
   escalate the situation-      denied having objects on her. Things escalated and        was handcuffed and taken to the hospital to be assessed. She was searched by a
 female officer and a piece of plastic was confiscated from her pants. While changing clothes, another piece of plastic was confiscated. A mental health evaluation was
  requested by DFPS staff to medical staff for        while at the ER due to the verbalization and collection of objects to self-harm. Medical staff discharged       for her
 aggressive behavior. No mental health evaluation was recommended.               was returned to the child watch location during the 12a to 4a shift. No injuries were noted.
  Around 6pm             became upset about his medication. He asked about his new prescriptions that were dropped off. I informed and showed him the prescriptions
        states to give him 1 tablet every morning. I advised it was the evening and too late for him to have the medication today. He became upset arguing that his
   prescription was incorrect because he has always taken 2 tablets of each medication in the evening. I showed him the new prescription instruction and read aloud,
informing him it is 1 tablet every morning. He states he will not take any meds if he is not given the same amount as he was taking before which is the 2 tablets each in
       the evening. I advised him to speak with his caseworker regarding his new prescriptions.            then went into his room and continued to speak loudly that
 caseworkers are negligent and will lose our jobs. He states he was going to report myself and K. Wildridge to Cassie Boyd for medical neglect and refusing to give him
 his correct medication. He watched TV for about 10 minutes and then went into the restroom. While in the restroom he would speak loudly about satan, living in hell,
 the existence of heaven, and repeatedly saying he was not              in what appeared to be animated “demonic” voice. He then went back into his bedroom and stood
   at the door laughing and stating random things about not being               anymore and “bye bye caseworkers you are all going to be fired,” in an animated demonic
  voice. The then slammed the bedroom door closed. K. Wildridge (worker) tried opening the door and we both asked him repeatedly to keep the door open. He then
     started beating on the door and the wall and Contracted officer Willis told him to calm down and open the door.               yelled random things for about 2 more
  minutes behind the door. He then opened the door, shouted, “               is gone b*tches,” and ran out of the door. K. Wildridge and Contracted Officer Willis followed
 him outdoors.            ran to Tinseltown parking lot. Beaumont PD was called and spoke to Sgt. Morgan Down to report                 as a runaway.         returned to the
   hotel hallway at 7:34pm but refused to come into the room the remainder of the shift. Beaumont PD arrived at the hotel at 8:00pm.                   arrived back on hotel
property at 9:00pm. Beaumont PD asked                to identify himself.         reported his name was Billy.        was arrest for failure to identify.        approached a
guest at the hotel like he was going to hit him. The guest at the hotel stated he would hurt him. Theresa Cormier (manager of hotel) reported she doesn’t want
  on the hotel property. No Case# from PD was given and they did not respond in person to the hotel since                returned. Update–Staff were advised by PD Cassie
 Boyd to have crisis management come and evaluate him. During the chaos, BPD arrested                  and staff saw the phone calls and text from the PD after he had been
                                                              transported to jail He was evaluated upon release
  At approximately 5p, staff observed         to have something in her hand. Staff asked what she had in her hand, and Lexi replied – something.           was wearing tights
      and staff did not observe any blood or tares to the tights. Due to concerns, staff called on call DFPS Supervisor and local LE. Staff were advised to call the crisis
   management line. Staff called crisis team but was informed that          would need to be medically cleared prior to them evaluating her. When asked what medically
   cleared meant, staff were informed that a medical referral for an assessment would be needed. Upon arrival, local LE stated that they could not search             if staff
   could not report what they saw and left. At around 6:30p,         gave the onsite contracted security officer 2 pieces of metal can tops folded up. Contracted security
           officer took a picture of the items and confiscated them. Staff attempted to get       to go to the hospital for a mental health evaluation. She refused.


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                                                                              Description
  Shift change was at 4:45pm, as soon as worker arrived,                    , was stating that she did not feel good. She appeared congested in her nasal area and stated
 that she could not breathe. She laid her head on the table and said she could not breathe. I went to the med room to get her inhaler and went back to the room. The
   other worker called me and stated that had fell down. Upon arrival at the room, was laying on the floor in her bedroom and was not responding to workers.
  Worker, Laura Doty, was calling 911 to have EMS respond. was breathing, but it sounded heavy as her nose was congested. She responded to me when I spoke to
her, but would not open her eyes and said her head hurt. She would not sit up. Worker had her roll on her side and sat with her until EMS arrived. Worker checked her
pulse and it was steady. Upon EMS arrival, they checked her vitals. Her blood pressure was slightly elevated at 158/90, she had normal oxygen levels and blood sugar. I
 asked her if she had taken anything she was not supposed to today and she said no. She was still acting like she was disoriented and would not get up off the ground,
 so EMS transported her to Children’s Plano hospital. At Children’s           was evaluated by medical physician and he advised he wanted to give her benedryl, perform
an EKG, a UA, Blood, fluids through IV and a nasal swab.           refused all services over the next hour. I had her primary worker, Megan Perez, call and speak to
     to see if she could convince her to accept medical treatment. That did not work.            still refused.      wanted to call her grandmother. Worker called her
 grandmother to see if she could convince            to take the treatment. Her grandmother told her that she should, but           refused. The nurse wanted me to email
  them a copy of the medical consent form, but I could not because of internet connection. I advised             we would have to hang up with her grandmother so that I
   could email the forms.           became upset that we had to let her grandmother go. She then ran out of the hospital room to the outside of the hospital. Hospital
      security called local LE and local LE stopped her and brought her back to the room. The doctor advised he wanted a UA before she left as she was refusing all
 treatment. She went to the restroom to do the UA, but came out with an empty cup and stated that she could not do it. The physician released us with a prescription




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                                                                                Description
         was laying on the stairs outside at the pool. Worker went to get her to move from laying on the stairs, calling her name, no response. Worker tapped
 legs and called her name again, no response. Worker noticed she was starting to fall back, worker got in pool to hold           head up. Hotel called EMS. EMS arrived
and helped her out of the pool, and she began answering their questions. EMS took her blood sugar and vitals and stated everything looked good. EMS transported her
 to CHOSA.          was examined at the hospital and no issues were reported. She was discharged from the hospital within an hour and transported back to the hotel.
        was showering and had been unresponsive to worker.After shaking her, she responded and asked where she was and told caseworker that she wasn’t feeling
good. EMS was called and while waiting for their arrival,      was going in and out of consciousness. EMS arrived and transported her to the hospital. Doctors didn't
  see anything abnormal about any of her tests or her blood test or her urine test. The doctor did give     a bag of fluids because she was very dehydrated. After
                                    about 20-30 minutes            seemed to be much better and she was returned to the hotel.
                  began harming herself after reporting that she was bored. She found a thumbtack and began to poke her scab with it. The CWOP Security Officer had
   to restrain her in handcuffs when she began to bang her head. When she was in handcuffs she tried to assault the police officer. CWOP Security Officer called Law
                Enforcement and they picked her up at 8:54pm and took her to San Antonio Behavioral Hospital. Police Report Number SAPD 23-123693
 At 8:15am, on site security Officer, Chineo smelled a Fruity smell coming from the bathroom in which                   just exited. Officer Chineo walked into the bathroom
and located two Vapes.         denied the vapes being his even with being confronted that he just walked out of the bathroom. It should be noted that at this time other
 youth in the room was on the phone talking to his caseworker. Second on site security Officer Kyle Wilson placed                    under arrest for Minor in Possession.
          has transported to Angelina County Jail for Minor in Possession of vapes. Officer Chineo conducted a room search and located two more vapes and 4 razor
 blades. The 4 razor blades were hidden in the bathroom and the two additional vapes were located in the dirty clothes basket. Lead Caseworker staffed with Program
                                    Administrator and CWOP Supervisor                  was transported to Angelina County Jail at 8:35am
  6:15pm         started hitting and kicking at Mrs. Randle. He refused to return to the room as long as she was there. I Angelia Edwards took            downstairs to calm
  down. After getting 2 bags of chips and a soda, from the lobby store;                   ran out the hotel lobby into the street twice, while cars were coming. He ran into
the neighboring hotel parking lot then returned back to his hotel parking lot. He began hitting the cars and trucks with his hands before calming down and returning to
the hotel lobby with me. MCOT was called at 6:53pm. Allison Alexander (MCOT) called to evaluate                at 7:23pm and at 7:39 Allison Alexander asked that I take him
to West Oaks Hospital for Inpatient treatment.          told her he was sad, and he wanted to hurt himself and he knew he was walking in front of the cars.             arrived
                            to West Oaks Hospital at 8:25pm. 11pm           was still in the intake room waiting to complete paperwork process.




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                                                                                     Description
12:00PM-When staff arrived                  was asking for ketchup for his chicken nuggets. Staff found him some ketchup.                  sat down and ate.           later sat down on
  the floor and play UNO with staff. While staff was cleaning up the cards                  ran out the room. Staff follow behind him and let him walk up and down 3rd and 4th
 floor.           came back to the room with staff. 1:00PM-              was in the room pacing back and forth and asked to leave again. Caseworker took him to entry way of
  the hallway and blocked all entrances to let him pace back and forth in the hall.                  did this for 30 minutes. Once worker return back to the room                became
  angry. Around               started throwing things, hit himself and other object in his path.             stood up on the counter top and throw glass at the workers and other
  objects near him in the room.               found light bull and throw it all on the floor. Around 1:50 staff called 911 due to              hitting his head and throwing objects at
      staff.          kept running from room to room and trying to lock himself into the room.                   throw all of his clothing off and kept hitting himself on the head.
 2:00PM Around 2:05 the paramedics arrived too the room saying they are not able to transport                         if he is not in immediate danger. Caseworker explained to him
           his hit his head on objects will throwing things and we are concern he might have an head injury. The paramedics called their boss and agreed to transport him
    to Children’s. During this whole-time staff is speaking first responders,              is naked and refusing to put on any clothing and is still hitting himself in the head. As
     workers were about to take               downstairs the police arrived and gave an incident report number CFS2023-117080. Once                       made it downstairs with the
 paramedics and staff               saw hot chips and asked for them when the paramedics told him no, he threw the chips he currently eat in the air and took off running in
     the lobby.            was running for the front door and they caught him. Around 2:17                  and caseworker left in the ambulance to be transported to Children’s
   Hospital. Around 2:45              was admitted in Chi       n’s emergency room. Caseworker spoke with the nursing staff and asked that he evaluated for head injury and
   On 06/25/2023, after             g back from the pool          requested to take her anxiety medication, which is taken on an as need basis and stated she was feeling sad.
  CPS staff and Pat Padron (Contract worker) talked to                    stated she wanted to talk to her girlfriend.            did lay down on her bed and watch tv, then she ate
food.          talked to her girlfriend and then sat on the floor with another child on CWOP and staff to watch a movie and eat snacks.                    appeared to be feeling better.
      Around 7pm,            requested to take her inhaler (6 pumps), it was recommended to take 4-6 pumps.                   was sitting on the floor watching a movie and began
   shaking. Contracted Law enforcement and Pat Padron helped her lay down in a comfortable position with her arms above her head while I called 911.                            couldn’t
 catch her breath and began wheezing.                 skin became flushed and she was in and out of consciousness. Pat put a cool towel on her head and was talking to her to
 keep her attention. Paramedics arrived within 15 minutes and took her vitals. Paramedics transported Kayri to Driscoll Children’s Hospital. Caseworker Jordan Dohgne
    went with           as she was arriving to CWOP at the time of transport.            was treated with steroids and discharged from the emergency room late last night and
                                                                            returned to h       . End of report.
     5:20PM–           called for CW. CW Thompson went to her room and observed                  lying on the floor of the bathroom crying. CW Thompson asked                what was
  wrong.          stated she was in pain. CW Thompson asked her pain level on a scale of one to ten.                 cried but did not respond. CW asked           again and she stated
    her pain level was at a 10.          stated she was hurting all over. Officer Moody went to be with              while CW Thompson called the nurse advice line. 5:30PM–CW
Thompson spoke with the Nurse Advice line and reported                   symptoms. The nurse advice line advised CW Thompson to call 911 for                   CW Thompson contacted
 911 who advised CWs not to give               anything to eat or drink until their arrival, and if she were to vomit, keep her on her side. 5:55pm–Stephanie Calhoun arrived to
speak to           While waiting on EMS, CW Hill contacted Team Lead Sheila Young about CWs contacting EMS. CW Hill explained to Mrs. Young that                          was continuing
  to complain of head and back pain, and had continued to decline eating or drinking. CW Hill also informed 6:05pm–EMS arrived to assess                          EMS took          vital
  signs, checked her blood pressure, and her blood sugar while in her bedroom. EMS then loaded                      onto the stretcher and advised that they were going to take her
        into the ambulance to further evaluate her. EMS checked               out in the ambulance and advised that she would need to be taken to the hospital for further
 treatment/assessment. 6:20pm–EMS departed Verbena with                      EMS reported that           would be going to Advent for further treatment.            gave birth to a baby
   boy, four days prior. He was removed from her care prior to leaving the hospital.                 was assessed at the hospital and discharged back to CWOP on 6/26 with two


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                                                                               Description
     pushed Worker when trying to obtain his own meds from the med lock box while staff was getting meds for other youth. Contracted security officer intervened.
      then became physically aggressive to other youth and refused to get out of his room and Security officer intervened again.     continued to physically assault
other youth while throwing things at youth and now wanting to deescalate following Security officer intervention, so law enforcement was called after he continue to
                       kick and try and lunge after the other child. Round Rock PD came and spoke with         but nothing further was done.




  Things were quiet when we arrived. At about 8:30PM,               asked            to get her a glass of milk.          did so but put ranch dressing in the milk. When
         drank it, she said it made her feel sick and tasted horrible and she became angry. Then                put bar-b-que sauce all over          and her shirt,
retaliated with mustard on             and the fight ensure with much screaming, threating, foul language and running around. At one point                 removed her shirt
 and went outside in the front yard in her bra and shorts. At CW insistence she came back in but they continued to fight and throw condiments at each other. As they
  continued to escalate,          hit the wall in the common area in anger, stating that she was hitting the wall instead of              There is a hole in the sheetrock.
       About 30 minutes later            hand was red, swollen and tender. She complained about the pain. The team leader was notified, and EMS was called at
  approximately 9:50PM. Temple police officer responded first then EMS arrived. The hand was tender and with difficulty moving so EMS took                     to McLane’s
                                                             children’s Hospital for evaluation and treatment.




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                                                                              Description
    Caseworkers Kailah “Serenity” Hubert and Athena Mattson arrived for the 12:30 PM-5PM Daywatch shift. Officer Orrella was also present for the shift until around
4:10 and was relieved by Officer Estrada. Around 2:45PM               laid on the ground between the hall and the door and cursed at Caseworker Hubert and Mattson, the
      contracted security/police officer, and the lead caseworker, Jessica Walker.           asked to go back inside the room and caseworker Hubert unlocked it. Lead
 Caseworker Walker left to continue her lead duties.            laid on the ground with the door open for a few minutes then went to go inside. She noticed her ipod was
     missing because caseworker Mattson took it, per Supervisor Hames. She went downstairs to find the lead before she left all the way to find out if she had it. Lead
  caseworker Walker told her she did not have it so            went back upstairs. When we got back to the room, she swung the door hard and it slammed into the wall
  and broke a rectangle into the drywall.           then walked inside and made a fist and hit it against the window. She then walked into her room and closed the door,
 sitting behind the doors making them unable to open. She then ran to the bathroom and locked the door. Caseworker Hubert knocked and                    told caseworker to
  “get the fuck away” Caseworker assured her she was just trying to make sure she is safe. Officer Orrella went and asked              how she was doing and she told her
  she was “taking a shit”.          came out about 10 minutes later and hid under her desk in her room. She then walked out to the living room area and started to kick
the dresser multiple times. She was warned that if there was more damage done intentionally, she would be arrested.                told the caseworkers multiple times that
     they should kill themselves. She eventually ended up back downstairs after going down the stairs and she decided to come back up the stairs. She stopped in the
    stairwell and repeatedly told the workers she would hit them, and they should kill themselves. The officer stated she would be turning on her body cam so she can
 have proof of any injuries that might occur.           went back to the room and then left shortly after back downstairs walking straight out of the hotel. She walked all
 the way past the hotel parking lot into the next parking lot and the officer followed her trying to calm her down.           then found a glass bottle and she threatened
  to break it and hurt herself. The officer warned her not to do this or she would have to detain her. Supervisor Amber Hames asked caseworkers to call the police and
     the crisis line. Caseworker Mattson called and Shenandoah PD sent CIT to complete a mental health assessment and stated they would not be sending an officer.
           threw the bottle on the ground and it shattered. She immediately tried to gather the broken pieces. The officer tried to get them all from her. We later found
   out she hid one of the glass pieces.         walked back to the hotel and went straight to the computer. Caseworker Mattson stood behind her to see what she was
   doing on the computer.            was about to message someone, and caseworker Mattson took a picture of the chat.                then quickly reached back and hit the
  phone out of caseworker Mattson’s hand. Caseworker Hubert alerted officer Estrada and he quickly came to help. He told her she needed to go to her room, and she
   started yelling and cussing at him. She started to threaten to hurt herself and he let her know that if she did, he would have to detain her. She continued to yell and
   cuss, so the officer unplugged the computer.           then pulled out the piece of glass she reserved and cut her wrist. The officer immediately grabbed her arm and
    put it behind her back, causing her to drop the glass. The officer took her to the elevator, and we attempted to go to the 3rd flood.          started kicking and she
kicked Caseworker Mattson twice and then kicked caseworker Hubert in the right ribs, which caused the caseworker to struggle to breath in and caused a lot of pain, as
everyone was exiting the elevator. The officer handcuffed her and brought her to her room. Officer stayed in the room until the next shift came. Workers were relieved




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                                                                               Description




         was sleeping when FBSS worker Deekota Hernandez came to room at 6:00a.m. stating                  was being placed at SCAN in Laredo.         woke up and started
   getting her things together. At this time, Caseworker Deekota went to other room to let worker know to have brother (              ready for placement as well.
  attempted to wake up her older sister,              to tell her to get ready, at this time, Deekota had come back to the room and told          that it would only be her
   and her brother going to placement.               continued to ask why she was she not going and started cursing. Workers on shift attempted to calm the child and
 explain the placement process.           and workers went downstairs to have breakfast. About 10-20 minutes later there was knock on the door and it was               and
        and the other worker who was with Deekota, standing at the door and                and       walked into room. I was under the impression they were coming to tell
  their sister bye, but they were refusing to leave. Deekota came up stairs and all workers were in the room trying to deescalate situation as the younger brother and
            became very aggressive in their tone stating that the workers were a bunch of “bitches” that we are “stupid” that we don’t know what were are doing, they
 didn’t ask to be there.            stated more than once that she would “kill herself” and she wanted to “die.”               continued screaming profanities and stated
   they were not leaving and that she wanted her cell phone. During this time, Caseworker Deekota called law enforcement for assistance. When officers arrived, the
children were calm and stated they could not do anything and stepped outside into the hallway. While officers were in the hallway                  stated that she was going
    to harm herself again, I asked officers to come back in the room. When the officers were in the room,                 tone would change on how she spoke to staff.
Officers stated they can’t force the children to go and that “they are fine and she was just upset because we are trying to separate them.” Officers proceeded to leave.
   Caseworkers Villa along with caseworkers in the room were able to de-escalate the children and convinced them to go to their placement.                   was taken to
                                Driscoll Children’s Hospital by on call staff for an assessment where she was admitted for suicidal ideation.




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                                                                                Description




6/29/23        and CW Dolores Hermosillo were in the hotel lobby when the phone call was made to shift lead, Gady.              requested to visit Liz. Dolores called Hady for
 authorization.       became upset about lead Gady calling Liz’s shift workers to inform them of her visit with Liz.        misunderstood and thought Hady was calling her
     primary caseworker.        started to curse at CW Dolores and stated she will runaway if her primary CW is called. She stated her primary CW is a “bitch” and her
   caseworker doesn’t tell her what to do.        began to run around the hotel. Dolores called Gady for support. Gady and Dolores searched for             on the third floor
    where we briefly saw her.        ran around the perimeters of the hotel. Gady followed her while Dolores was in the lobby.          opened her hotel room (132) and
locked caseworkers out. (unsure how she obtained a room key) CW Dolores’s belonging were in the room. Many attempts were made for                      to open the door before
  Police were called. Hotel staff refused open the door, as the manager stated she has access to a lock door, but the kids are our responsibility. She added that she has
 been through this before and she is tired of it. She stated the police will need to be present for them to help open the door. CW informed hotel staff that we all should
 try to get her out before she is able to hurt herself, but we decided to wait for police. Gady continued to ask        to open the door.       yelled and cursed. When she
   finally opened the door, she ran out the hotel cursing at caseworkers. Police arrived and stated they will help if there is a need, but they will not chase her for their
    protection also for her protection. CW thanked them for arriving. Dolores checked her personal belongings for missing items, nothing was missing.              remained
   running around the hotel and talking to hotel staff. Gady continued to observe          as she was talking to staff while Dolores wrote the incident report. Dolores has




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                                                                                    Description
 At approximately 6:00pm,             asked staff to look up videos of his favorite YouTuber. Caseworker denied his request.             ran into the bathroom, slammed the door
 and locked it. Caseworker attempted to unlock the door, but                sat in front of it and held the lock. A minute later, Caseworker Francese observed             walk out of
the bathroom and walk into the bedroom. Caseworker Francese walked into the bedroom after hearing a cracking noise and observed                          pulling the banister on the
 steps of the bunk bed. Caseworker Francese interrupted and stated that she was not going to allow him to break the bed and held the banister from pulling away from
  the steps.         stated, “fine, I will just run away then” and put his shoes on. Caseworkers tried redirecting him verbally by telling him that we would have to contact
    law enforcement and that it is his birthday and to just have a good rest of the evening, but              ran out of the front door. He jogged down the street. Caseworker
    Francese and Caseworker Morris got into Caseworker Francese’s vehicle to follow behind                          stopped and threw a bottle of Gatorade across the street at
  Caseworker Francese’s vehicle, missing it. Caseworker Morris was in contact with Law Enforcement and kept them up-to-date with our location.                        kept stopping
   and throwing rocks at Caseworker Francese’s vehicle, hitting it once in the front bumper area.                 had crossed over a street toward the car wash and Caseworker
 Francese was approximately 3-4 car lengths away from                 when he threw a large rock. That rock struck the top of the windshield of Caseworker Francese’s vehicle,
     causing shattering and spidering of the glass. Caseworker Francese continued following at a safe distance behind                 to keep him in light-of-shift until local Law
  Enforcement arrived.           had crossed over McDonald/Highway 5. They arrived at the scene where                   was and began speaking to him. Caseworkers remained in
      their vehicle and observed 2 Law Enforcement Officers carrying him by the arms and legs to their vehicle. The officers asked Caseworker Francese to complete a
     “Voluntary Statement”. They stated that they are transporting him to Juvenile Detention and that arraignments have already been done for the day, so he will be
             pulled the table from her motel room 221, dragged to first floor and then dragged to place in front of the motel to sell papers and cardboards. She reported
 she was having a garage sale.                was cussing and screaming and threatening workers on her shift stating she was going to fuck them up and was going punch the
         shit out of them if they didn’t shut the fuck up. Law enforcement was called.                began cussing and screaming at law enforcement. She threatens Law
     enforcement to shut the fuck up or she was going to fuck them up.                  then began bringing rocks to hold her papers that were flying away. Law enforcement
   attempted to talk to her, but she got upset began screaming louder and then attempted to run to street were oncoming traffic was coming. One of the officers held
       her back from going into cars and             got upset and spit all over the officer’s arm. There was talks of biting, but I was not witness to that.            was then
    handcuffed but she fought, and it took two police officers to put her down. Upon placing                   on the floor, she scraped her forehead and hit her nose. She was
   bleeding so emergency was called, and ambulance came cleaned                      up and assess her.           said her heart was racing and that she might be having a heart
    attack. EMS reported that they checked her vitals and that she was fine, and she had a small scrape from the incident.                    was arrested for assualt on a police
 officer. Incident Number: 2023-01623 Officer Guthrie.                  was then detained and sent to Juvenile Detention Center in Brazoria County. I attempted to administer
             meds as she was with law enforcement, but law enforcement stated they could not allow it because it was not in its prescribed medical bottle as I brought to
  her. They refused to allow us to administer to               her afternoon meds. Juvenile Brazoria County was then contacted to confirm                 had arrived at the facility
       and they confirmed she was there. I then requested to send her meds and they agreed to accept                       medication in the bottles. CW Donna Butera agreed
transport the medication to                at Juvenile Center. Officer in Brazoria County reported that once the prescribed medication arrived that they would be given to the




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                                                                                 Description
    Stanique Alexander-Caseworker; Alvina Starks-Caseworker; Kena Blair-Protégé; Chumbley-Contractor; Conner-Contractor; Jones-Contractor. On 06/23/2023, Lead
Caseworker Sitnique Alexander went to the room to administer medication to                            around 11:20a.          was observed being irritate over a googly play gift
  card. He was observed in the face of Contractor Chumbley. She was observed asking him nicely to move from her personal space. She was observed telling him that
  she didn’t know how to help him. Caseworker Alexander stepped in after he took his morning medication. Caseworker Alexander told him to call the number on the
  back of the gift card. He did, but a recording stated to call back during business hours.           then called and confirmed that the balance on the card was $0. He was
   upset stating that he had just purchased the card from a gas station on yesterday. Caseworker Alexander told him if he still had the receipt to call the gas station to
   advise them.          stated that the workers could take him. Caseworker Alexander stated that he could not leave without permission.                 replied that he would
  walk on his own like he did the day before. Caseworker Alexander told him that he must follow rules and                replied, "People are always saying follow the fucking
 rules.” Caseworker Alexander advised him to either contact the gas station via phone to advise them, call the number back during normal business hours or go to the
  web address that was on the back of the card. Caseworker Alexander observed the youth to have calmed down so caseworker Alexander returned to the medication
    room. About 20 minutes’ later, there was a knock on the medication room. The floater, Talitha Conner(Contractor) answered the door. Lead Alexander joined her.
          was observed angry, and he stated that staff is leaving stuff in his room and to please tell staff to quit leaving things in his room. Staff apologized and told him
that they will notify staff to no longer leave items in his room. Caseworker Alexander received a call from Caseworker Alvina Starks about 15 minutes after. Caseworker
   Starks called and asked if caseworker could step in the hallway because a situation had occurred, and she did not feel like going back into the room. Lead Alexander
  stepped in the hallway and went down to room #442 to assess the situation. Lead Alexander asked Caseworker Starks and Contractor Chumbley what was going on.
Caseworker Starks stated that the youth,                      had been in her personal space, and she believed that he had went through her belongings and possibly took
the room key. Caseworker Starks searched through her bags and found the room key and handed it to Caseworker Alexander.                                 then walked to the door
      and aggressively told Caseworker Stark, “Bitch quit talking about me behind my back.” He was observed trying to get in her face. Caseworker Alexander stood in
    between to deescalate the situation           then stated, “I don’t want to go back to jail, but if she puts her hands on me I will.” Caseworker Starks told Caseworker
  Alexander, that          had been verbally aggressive with them since he had first awakened. Caseworker Alexander tried multiple attempts to calm him.                  made
  attempts to close the door on Caseworker Alexander and Caseworker Alexander advised him to please calm down and not to close the door. During the commotion,
   Contractor Gregory Jones arrived round 11:53AM. He too tried calming the youth down. Contractor Jones nicely advised the youth to not call the ladies out of their
 names. It was evident that           was irritated and was looking for any reason to have an altercation with someone.              told Caseworker Alexander, “Why are you
  here? You’re not the lead or a caseworker.” Contractor Jones tried talking to the youth and telling him that I was a caseworker, and I couldn’t leave him in the room
with him alone.           started pacing back and forth, then he went to the door and placed the deadbolt on the door.              then started rambling stating no one else is
 leaving the room and if someone needed to use the restroom and they leave, they are not getting back in. Caseworker Alexander left the kitchen area and went to sit
 on the couch by the window. Contractor Jones tried talking to the youth and telling him that he cannot hold Caseworker Alexander in the room against her will.
  continued to pace back and forth and was heard using profanity. Contractor Jones tried redirecting the youth by telling him the description of the other male worker
     that was coming to work with him. Contractor Jones asked             did he remember him, and             told him yes. There was a knock on the door and Caseworker
        Alexander went to the door and tried to open it           stood in front of the door he placed his foot against the door and placed the dead bolt on the door




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          kept getting frustrated for different reasons. He was upset because worker did not know the rules of the card game he wanted to play and worker started
reading the rules. He then became upset because worker did not call his aunt quickly enough. He left the hotel room and went downstairs, when worker asked him to
  go back upstairs because there were other youth in child watch he got upset. He then ran up and locked himself in the room. Security tried to open the door and
        would pretend to open the door but would block it, security saw that        was grabbing knives from the kitchen. Law Enforcement was called as well as the
   crisis unit. He was transported to the hospital to be assessed. He was admitted to the psychiatric hospital on 6/30 and released back to child watch on 7/3/23.




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                                                                                 Description




           was in the bathroom when workers arrived. She remained in the bathroom for two hours after workers repeatedly asked her to come out of the bathroom.
           became frustrated because she has been asking to get her switch back. She asked               again politely and        stated that she did not have it and had
 already been searched.           threw water on           bed.         came out of the bathroom and threw water at the workers and                         got up and she and
          got into a physical altercation. Workers are unsure who through the first punch. Workers seperated the girls and placed them in separate rooms. Worker felt
 switch in           pants when the girls were fighting.          blanket and ha ended up in             room. She demanded it to be given back and workers told them to
     hand the switch over and we could trade.            became extremely escalated and threatened to burn the hotel down and get us all kicked out.                 started
throwing things around the hotel room, including a lamp which was broken.                hit the metal water bottle on the closet wall and tried to break the window. Police
were called as         was swinging the metal water bottle around and continuing to scream at the worker. Police arrived. Situation was explained to the police.
     continued denying that she had the switch. Police let her know that they would either search the room with her willingly and she could be honest, or she could
 continue to deny to help them find it and they would search it anyway.             started to get angry at the officers and they began to search her stuff. Officers located
   the switch in           pants. They were not able to locate the charger, but do assume that it is there.           continued to tell the officers that it was hers and she
 found it in a box that was all her stuff.       eventually calmed down. The switch was returned to              who has an extra charger.            asked that        log her
  out of things she had signed in to. Officers asked if        had given anything to           and she stated that        had her markers and coloring book.            stated
  that         had given her the coloring book, markers and nail glue that she said           had stolen. Officers came and looked at            things.        gave them the
coloring book, but brought it back because           did state that it was given to her. Officers spoke to Comfort Inn front desk who confirmed that they would not press
                charges, but would hold CPS responsible for the damages and if it continued that we would be asked to leave. Case number: 2023-059274.




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                                                                             Description
  9:29 One of the CWOP youth came into the kitchen to give CWs the razors that were in the room, and she said to take them as one of the girls "did something.” CW
 Bennett asked for more information, but she did not want “snitch.” She gave hints that it was shortly after then told us to check her wrists. During this time was
sitting on her bed and the other youth was able to be a mediator between CWs and             would only show the youth the cuts and allowed her to clean the cuts. When
  the cops arrived, the youth pleaded with to show them her wrists and to go with them. The youth went outside with CW Bennett and the cops, and Olyvya. Cops
and EMS looked at Olyvya’s arms. Cops and EMS decided that Olyvya can go with police instead of EMS. Temple PD stated they would take Olyvya to Mclanes Childrens
  Hospital. Staff Belinda Torrey met Olyvya at the hospital.Olyvya was taken to Mclane Children’s hospital in Temple, Texas, to get evaluated by medical professionals,
                                                pending
           asked me to use my hotspot. I refused,  and hepsychiatric eval
                                                          told me that    Olyvyaletwas
                                                                       I better     himadmitted on 7/2 toI refused
                                                                                        use my hotspot.     a psych again,
                                                                                                                    hospital
                                                                                                                           and       walked towards me. I stood up and
        got in my face and said “what are you gonna do pussy ass nigga I’ll kill you”. I called Officer Maldonado (on site officer) and let him know threatened
me and ran off the property. Officer Maldonado located         and they returned to the hotel. A report was made, SAPD 23144701, for mental health officers- upon
                                                              arrival              was taken to Clarity




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                                                                                 Description




8p shift–                spilled her water on the TV and the remote.          told her to hurry and clean it up.         and               were going back and forth about her
   cleaning it up.           said that            had threatened to kill her earlier in the day. She threatened to stab her in the neck.               said yes, I did say that.
                then said, “your momma” and              got up and came over to her and said say it again.              did say it again and then turned and pushed
          then punched                 and they started hitting each other. The on-site officer tried to separate them as well as staff. LE was called.              grabbed the
lamp from beside the bed and hit              with it. She dropped the lamp and they continued to hit each other.                 again grabbed the lamp and this time ripped
 it from the wall and threw it at            Eventually we were able to separate them and              walked to the lobby with me so they could cool off.            denied any
      injuries and denied needing medical services. The Local officers arrived. One officer stayed in the lobby with            and the other went to the room to talk to
                Staff requested that              be evaluated for a mental health assessment due to being violent and threatening to kill              EMS was contacted and
evaluated                 on arrival.             was then transported to the local ER by ambulance.                 completed a mental health evaluation. It was determined
                    that she did not require admission, nor did she receive any injuries because of the fight. She was returned to the child watch location.




            was heard crying and banging loudly through his restroom door. On site contracted police officer checked on                   proceeded to bang on the
restroom door (it is unknown if it was his hand or head). Contracted officer informed         he would be opening the door to ensure he wasn’t hurting himself.
  yelled ‘Go away.’ Contracted officer began to open restroom door and            pushed his body against the door, not allowing access. Contracted police officer and
          continued to push the door when it broke off the hinges and officer was able to get inside the restroom to make eye contact with           Contracted police
        officer informed         he could not be left alone to ensure he was not hurting himself and damaging property.          agreed to stop hitting the wall.




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                                                                                Description
  Caseworker Gibson knocked on the door to check on                  She did not respond. She knocked again and asked her if she was alright and again and told her that if
 she didn’t respond she would have to come in. When she did not respond, Caseworker Gibson entered the restroom.                       was on the floor attempting to cut her
        arm using her own fingernails. Caseworker Gibson tried to convince her to stop but she continued to aggressively dig into her arm until she started bleeding.
        Caseworker Villalobos called 911 for crisis and EMS and was told, if possible to meet the medics in the lobby. When               was told that she needed to go
downstairs she attempted to lock herself in the restroom. Caseworker Gibson held the door until she finally let go and agreed to go downstairs. Paramedics arrived and
 asked questions and wrapped her wound. The injury was superficial and did not require medical attention. They dispatched the Crisis Team to further assist. The Crisis
Team arrived, interviewed              and then started calling around seeking placement for her.              kept asking if she could be taken to Texas Children’s Hospital.
 She was told repeatedly that she would be taken to whichever location had availability. West Oaks said that they had a bed available, and the Crisis Team transported
her and Caseworker Gibson to West Oaks. Caseworker Villalobos followed in her own car. Caseworker Gibson was informed that the hospital mistakenly told the Crisis
  Team that there was an available bed and that they did not have any room for                  Once she was dressed, the Caseworker accompanied                back outside.
  Caseworker Gibson told              to sit down in front of the building with her to wait on Ms. Villalobos. She refused and took off walking down the street in the rain.
    Caseworker Gibson followed her for awhile but she kept speeding up. Caseworker Gibson returned to the hospital and asked the receptionist is she could use their
  phone to call the police. Before she could call,           returned.           found a pen on the ground and started using it to break her skin so that she would bleed.
    The PD told the Caseworker to call 911 again. When t          rived,           was handcuffed by local police, for her safety, to be taken to Texas Children’s Hospital.
  The worker, Alexis Blunt, was sitting on the couch with          watch          ly Feud. He indicated to worker he wanted to wash his clothes. The worker told him okay
 and to gather his clothes so we could all go wash his clothes. He said no at first but worker continued to encourage him to get his belongings together if he wanted to
wash his clothes. He went into the room and got laundry basket. He told worker again about washing clothes. Worker explained to let me gather my stuff so we can go
  down there. He then started touching the workers belongings and worker asked for him to not touch person belongings. He then yanked my iphone cord out for the
 computer and began hitting me with it. Worker told him to stop and walked across the room where he followed me to hit me with the cord again and then threw the
cord. He then grabbed workers water that was sitting on the desk then threw it across the room at worker. He then continued to come for worker and began punching
   the worker with closed fist in arms and then in my back as I was trying to move away from him. Worker Paula Lewis began reading him a book in which calmed him
down. While she was reading a book, worker began to prepare his medication.                then began getting upset again reporting he was not going to take his medication.
     He then threw the book and started back at worker Alexis Blunt direction to hit her. Worker was on the phone with police in which he then hit and punched both
 workers. He then went into the restroom briefly. He came out the restroom after washing his hands. He continued to attack both workers. Workers gave him a pillow
 and told him to hit the pillow to prevent from being further hit and punch. He then began using his feet to kick both workers. Workers continued to be attacked while
waiting on the police. He briefly calmed down and laid on the couch. Worker Paula Lewis sat in front the door to prevent him from going outside the door. The local PD
    officer knocked on the door. The officer tried to speak with workers at the door. While officer was present, he hit both workers and he pushed Worker Paula Lewis
while in the chair to the counter in the kitchen. Officer took         out the room to speak with him.         told officer he was frustrated because he wanted to go to the
  movies. Worker Blunt spoke with officer. Worker Blunt came into the room and another officer came to the room with workers. While present, he pointed at worker
   and told officer he wanted to push worker out the window and then he was going to hurt himself. At 8:31pm, Officers Supervisor came to speak with the youth and
   determined that he needs to be further assessed. Workers contacted multiple hospitals and located one in which was willing to access. However after notifying the
      officer, she reported that she would have Texana (LMHA) to come to evaluate him and if they determined he met criteria then they would locate a hospital and
    transport him Ultimately it as determined the          did not meet criteria for hospitalization and that he was not a danger to himself or others and rather this was



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 Police officer Cook called us at 10:50 letting us know that he had located the girls from runaway. He stated they were at the 1600 block of S. 1st St. and we needed to
  come pick them up. Caseworker Vanzile went to the address and the children got in the car. Upon arriving at the house                              from another CWOP house
   was there. During this time something was passed to               When staff tried to figure out what              was holding         came up to her and took it from her
   hands, and then put it in her mouth and ate it. At this point,           became very upset and kept telling us that she had nothing in her hands. We figured out that
              was from the hotel in Temple and we contacted the caseworkers at the hotel. Staff went into                  room to look around and noticed a small bud of
marijuana on the dresser. At this time the other cell phone had also went missing. When staff mentioned how many people were in and out of the room, they could’ve
 taken the phone              became upset. Staff was at the table in the dining room, documenting the incident.                started getting irate with staff and calling them,
bitches and saying she was gonna throw shit at their head if they did not stop talking to her. She said they needed to just stop talking or she would hit us. At this point,
           also came out of her room and started yelling at staff. She was telling staff that if staff did not leave           alone she would slap their faces. She stated that
  we were a bunch of bitches, and we should be scared of her because she’ll come up and hit us and she doesn’t care.                    then tried to come up to the table and
    take one of the phones. Caseworker Vanzile took the phones off the table and told her that she did not need to call anyone. She said bitch give me the phone and
 when the phone was not given to her, she grabbed caseworker Vanzile‘s computer. Caseworker Vanzile asked for the computer back, and                          said bitch get away
    from me or I’ll break it. At this point police were called because both children were threatening staff. The off-duty contracted police officer was trying to help de-
     escalate things, but           would not listen to him.          then walked out the front door and he followed, and                followed him so caseworker Vanzile
  followed            The police officer stated that if she went off the property with the computer then it would be considered theft of the computer. I stated that loud
   enough so that            could hear and she stayed on the property. She then came back inside as well as the police officer,                and caseworker Vanzile. At this
point caseworker Vanzile again asked for her computer and                said no bitch give me the phone. The local police arrived with the front door open.                quickly
went to the front door, shut it and locked it and then barricaded it with her body. The off-duty contracted police officer inside stated that he was going to move her so
 that the door could be opened and if she laid hands on him he she would be arrested for assault of a police officer. At this point he started trying to move her and she
   threw the computer on the floor. Caseworker Belinda went to assist the police office in opening the door, and                   kicked her in the knee. Caseworker Belinda
 went down on the ground on her bottom, and was saying that she was in pain. At this point the local police officer on the outside was able to get in and took
down to the ground with the assistance of two other local police officers. She was screaming and crying the whole time, telling them to get the fuck off of her. She was
put in handcuffs, and they tried to assist her in standing up. She refused to stand up and told him to get their fucking hands off of her. They left her lying on the ground
  and asked her after a few minutes if they could put her in a chair. She stated yes and they sat her down in the chair and were talking to her. Caseworker Vanzile and
caseworker Belinda were asked if they wanted to press charges. At this point                and          started yelling at each other. They were both saying they were gonna
fight each other once the police were gone.             was very upset that          was acting the way she was in treating staff how she was. At this point, the police took




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                                                                    to the police car and arrested her for assault.




           became agitated because he could not find the tv remote in one of the hotel rooms. He got a hold of a piece of metal and scraped the inside of his wrist. EMS
    was called, he was transported to the hospital.           refused to receive any type of care and assessment at the hospital or talk to anyone at the hospital and was
                                               discharged by the hospital. He was transported back to child watch by the worker.
              was transported to the emergency room at CHI Memorial in Lufkin on this date due to stomach pain and vomiting during the 4PM-8PM shift.                   was
 transported to the hospital by on-call staff, D. Goodwin. While at the hospital,           was administered a CT scan and bloodwork was completed. During the CT scan, a
 spot was observed on              right lung that caused the physician concern and a request for           to be seen by his primary care physician to have the area checked
   thoroughly.           was not provided any medication during the ER visit but was prescribed Zofran for nausea; this prescription will need to be obtained from a local
  pharmacy on the following day (07/23/2023).              returned from the emergency room on the same date during the 8PM-12AM shift, at 9:30PM.                  reports to
                             having n                or approximately 4-5 hours Update: The medication has been picked up from the pharmacy
 At around 6:45PM, July,27, 2023,                    , PID# 81354956 was in the room with the assigned staff, worker Lydiah Ngugi and support staff Belinda Smith.
           was sitting on the couch eating noodles.                  finished her noodles and then attempted to leave the room, but the door latch was on, which made it
   difficult for her to open the door. She signaled to the staff she is wanting to go walking. The staff let her know we will get out and walk, the staff responded by using
   hand gestures about walking. At 6:50PM,                     started to get close to worker Ngugi.                 then spit in worker Ngugi’s face, and lips. Worker Ngugi
  shook her head and let            know that is not okay. Worker Ngugi called the team lead and explained what was going on with               stating the staff may need an
extra worker in the room for everyone’s safety. After worker Ngugi dropped the call with the team lead,                        got close to worker Ngugi quick, grabbed her by
the top and started punching her. I worker Ngugi attempted to leave but                was holding on to my top.         continues to grab and hit worker Ngugi, breaking her
nails, tearing up her top and punching her upper body. Worker Belinda Smith then attempted to help worker Ngugi get off from                   by pulling worker Ngugi out the
 corner, as the child had worker in the corner.           turned on worker Smith grabbed her wrist, scratching her and pulling her hair leaving worker Smith with bleeding
 marks on her wrists. Worker Ngugi got away and pulled worker Smith and made out the living area. Both worker Ngugi and Smith stood by the entrance door with the
                     door wide open and called the team lead. The team lead and R3E director came downstairs and were able to help calm                 down.
            became upset after being asked to wait 30 minutes before calling her mom for the fourth time. She ran to the elevator and was              to return to the room.
     She ran downstairs to the lobby and was yelling at me to leave her alone. I told her that she could not be left unsupervised.            ran into the parking lot while
continuing to yell at me to go away. She was asked several times to return to the room. She threatened to punch me and got in my face. She walked away then started
  walking towards me with a fast past but not running. She shoulder butted me on my right shoulder then took off. She then ran around to the side of the building and
     attempted to crawl under a fence. She returned to the hotel after hearing me ask worker Nidey to contact the probation officer. I began to experience a burning
                                          sensation in my right neck and shoulder area about 30 minutes to an hour after the incident




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   At the start of shift,              was speaking rudely to staff. She had written a note to staff on previous shift saying, “Die Bitch Fuck Hoe go to hell!”. Anytime that
                 would speak to staff she would continue to use profanity and make statements about how she could destroy property and do anything she wants to do.
   She also made a comment about killing the contracted onsite security officer and his wife.                    continued being disrespectful and swearing stating how staff
  was taking too long to sign in and she needed to call her mother.                  started making comments how she would stab and kill all the workers or how she could
 destroy everything in the room.                 attempted to take the TV off the wall and staff stated no.                stated that she would break everything in the room.
 She stated that she was looking for something in the room to stab staff with.                    said she was going to break the air conditioning unit. She started kicking at it
  and staff stood in front of the air conditioner.             got in staffs face, stated she is not her mother and could not tell her what to do.                then went and
  stood with her back to the wall and started to kick backwards hard and ending up putting her foot through the sheetrock and made a big hole in the wall. Hotel staff
  came to talk to her and had her on speaker phone with the hotel manager. Caseworker called the crisis center and spoke to Allison Paulson. Mental Health provider
Allison Paulson asked if the child had Medicaid and that the child would need to get a medical evaluation to be cleared for any other tests to be completed. LE and EMS
 were called. Both arrived and EMS transported                   to Titus Regional hospital. She was referred for mental health admission.                  was transported via a
                                     detention warrant by the constable to Perimeter Behavioral Health Hospital in Arlington on 7/26/23.
 10:00pm-         arrived at the hotel and got out of my vehicle.     went running into the hotel and caseworkers followed as best they could.           was then spotted in the
 pool area speaking to two women smoking cigarettes.            came to me once he saw me and the ladies informed me, he had asked them for cigarettes.               denied this
and proceeded inside near the elevators.          told CW Renaud that he was going outside to smoke a cigarette and I told him not to, but he exited through the side door.
     was smoking a cigarette and walked to the pool area from the back side. The hotel staff asked what was going on and I informed her that               was outside. She went
to the back door and observed him smoking a cigarette. The hotel staff started shouting at him that he cannot smoke cigarettes because he is too young and added the
phrase that “they should not let you go to your mother’s if you come back with cigarettes”. This really angered             and he stood up. I pulled hotel staff aside and asked
 her to not speak about his mother and that I would handle the situation from here. She went back inside but              was very upset, and he stated he was going to smoke
      inside. I told     not to do that, but he did not care. He walked around the building and entered the building smoking a cigarette. The hotel security guard (not
     contracted with DFPS for security) got involved and the situation escalated. The security guard and           went head-to-head provoking each other back and forth.
Eventually the hotel paid security guard said, “let’s go outside”, to which         followed as the hotel paid security guard started disarming himself, taking off his vest and
  all accessories to be ready for a fight. The hotel paid security guard and        walked outside to the patch of gras and raised their fists, both telling each other to swing
   first. Police were called at 10:36pm. The situation died down and the hotel paid security guard went back inside.            remained outside to cool down.        eventually
 went towards the elevators, and he then got some air in the back door and was crying.              was hurt by the hotel staff’s words about his mother and expressed that to
caseworker.         went up to his room, dropping his snacks, cigarettes and lighter.       arrived in the room, took a minute and then proceeded back down to the lobby to
  get the stuff he dropped.        then went outside to smoke the rest of his cigarette and was advised not to.         finished his cigarette and came back inside and began




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           had a gel toy gun that he bought with earlier in the day with a gift card he had. He started shooting staff, other youth in child watch and the security guards,
 hitting one of the guards in the face. He was asked to stop shooting and he started cursing at one of the workers and told her to kill herself. He became upset because
he wanted to go outside, however it was 109 degrees and staff told him it was too hot be outside. When he went back inside the hotel, he grabbed a spoon and started
to try to sharpen it to make a ‘shank’. Another youth in child watch,           told him to stop disrespecting staff because         was calling workers “bitches”,         did
  not stop and Bobby hit him with his wrist/arm in the mouth.           then said he wanted to press charges. Law Enforcement was called, they responded but a report
    was not generated. LE disposed of           gun and they also obtained information on             firing the gun at others. He was cuffed and seated in the patrol car.
  Contracted Security did not want to press charged. LE talked to          about his behaviors and let him know he needed to take ownership of his actions.             then
 went back to the room escorted by LE and he apologized.            then said he wanted medical assistance. Paramedics were called and he was asked if he wanted to go
 to the hospital,         refused and he was given instructions on what we could do to treat the injury. Later,           said he was in pain but he refused Tylenol and said
he needed to go to the hospital. Paramedics were called again, they responded and advised him that he could rinse his mouth with warm saltwater and ice his mouth if
needed but did not transport him to the hospital.           continued to say he wanted to go to the hospital. He was transported by on call staff, but then refused to wait
                                                   to see a doctor and he went back to child watch stating he was okay.




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         was laying in bed and kept yelling out, ”Call my mom” ”Call my caseworker” Caseworker called lead to get number for              mom. Lead did not have it. CW
 stated, Lead could not find it.        got up out of bed and started to use CW computer. Caseworker took her computer away and put it in her backpack after
   had found his mother’s number. He snatched caseworkers phone out of her hand and called his mother. There was no answer. Caseworker said give me my phone
back.         kept hiding phone while he laid back in bed to where caseworker could not obtain her phone back.            showed caseworker her phone and case worker
was able to get her fingers around the phone.           grabbed caseworkers right wrist squeezing it tightly.       kept holding on to caseworkers wrist trying to get the
phone back. Caseworker pulled her wrist away after having her phone gripped in her fingers.            then got up from the bed and got in the caseworkers face less then
 an inch away taunting caseworker. Caseworker turned her face away in fear of getting hit.          kept backing caseworker into a corner three times before he backed
    down and went and sat on the couch. While this was occurring caseworker asked contractor to call lead. Lead said she was looking after a kid. Caseworker asked
contractor to call the police. While contractor was on phone with dispatch         said to case worker "I am going to be the one who kicks your fucking ass”          was
   grabbing anything he could, caseworkers phone charger which was plugged into a lamp and threw it at her. He threw caseworkers jacket across the room. He then
  grabbed the contractors charger which was also plugged into the lamp and started rocking the lamp back and forth. This is when the police arrived. When the police
   arrived and asked CW what she wanted them to do. Caseworker said, ”Take him away, he threatened me 4 times.” Lead was now in the room once she was aware
caseworker called police. Lead asked          his version while caseworker was talking to police. Police escorted caseworker into the room to collect her belongings and
 lead remained in the room with            Caseworker has a red mark on her right wrist and pain in the wrist after being restrained by        and having to pry her arm
                   away by pulling it away from          with her phone. The workers response to the youth was addressed with the staff and manager.




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When we arrived for our shift at 4pm            had been wanting to fight another youth in CWOP, Rose. Shortly after the 4pm shift began,             and           said they
were going for a walk and we told them we needed to go with them, which they replied no we didn’t, and they would check in. We informed them that we did have to
follow them. They went back into their room for a few minutes and then went for the stairwell. The contracted caregiver followed them but by the time she made it to
  the stairwell couldn’t tell which way they went. She went to the lobby and checked around the hotel and the parking lot. She stayed downstairs and the hotel staff
 notified her that she needed to return to the room, and we needed to leave the hallway as something big was going to go down.                  and         came from the
stairwell and            looked upset. When we tried talking to her about it she didn’t want to talk. They then left their room again and I followed them to the stairwell. I
    couldn’t tell if they went up or down so I waited and listened to see if I could tell, that is when I was met with a US Marshall coming from the 3rd floor following
           Our contracted caregiver, stated the Sherriff deputy that was on shift went to the 3rd floor and found out the Marshalls had been watching the room on the
3rd floor and completed a drug raid and the girls were in the room during that period of time we couldn’t find them. The Marshalls were not taking action with the girls
and released them to come back to their rooms. I informed shift lead of what happened, and was then instructed a few minutes later that we had to pack up and leave
                     the Super 8 and return to Verbena House as the A/C was repaired. The girls were returned to the Verbena house after this incident.




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       and         were downstairs at the pool.      was in the pool playing music on her speaker.         changed the song on the speaker and          told her to put
  the song back on.        then threw         backpack in the pool and          got mad and started cursing at her.      then threw her wallet at          hitting her.
      then threw her speaker at        and then she hit her, and they started fighting. The policeman tried to break them up and got between them.           was pulling
        hair while she was on the ground and        was pulling on her.        put her fingers in      mouth and        bit her causing it to bleed. 911 was called and
             they came out to take a report. No charges were pressed. Medical services not required.        was moved to a different child watch location.




         got upset because CW Archie wanted to see text from primary CW for verification and she wanted to go do an application for Kroger Grocery Store and she
   walked away from the lobby cursing, that were taking too long and at time CW Archie got her equipment together looked down the hallway, she is nowhere to be
found. Had to go to front desk to get the card rekeyed. CW Archie and Admin Ana Morales found out that she locked herself in the room. She indicated that when she
 came to the room it was open that is how she got in. CW Archie was trying to get          to open the door. After attempting several times CW Archie called police.
   did cracked the door open and stated while on the phone at the time with ON Call Supp Teleisha Terry that she said that she told Leslie Johnson during 6pm-12am
  yesterday that she was going to sleep before she killed herself. Admin Morales got to talk to         she open the door       said that when she came to the room the
door was open and she came in and locked herself in.           said that CW was taking too long and she was not going to deal with that “BS”.        again, tried to shut the
door when CW Archie was back to the room with the police. CW Archie had hotel staff to open door and               was preventing for staff/ police to get in. However,
was blocking the door preventing hotel staff to come. The police was able to talk to her and push the door to get in. Shawn from Crisis Help Center was talking to
    and the phone call hug up. After the cops left       started saying that she was going to stab herself in the neck with whatever she could find. She is ramping up is
 saying they are taking too long and she is fixing to take something and hurt herself. CW Archie was talking to Supv on call and        was cursing, walking out the door,
   and making it difficult for CW Archie. They walked out the door as CW was receiving a call from Crisis Hot line. CW Archie was talking to the person that we needed
  someone to come to the Hotel because the youth was threatening to harm herself.             took the forks that CW Archie took from the box for her not to hurt herself.
She took it to the bathroom and locked herself in the bathroom. We asked to please open the door. At the same time she open the door, the police office came in and
 started throwing the plastic forks out the opening of the door while the police officer helped with pushing the bathroom door open. CW Archie called Mental Health




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           had a lighter (unknown where she got this) and was outside spraying hairspray and making a torch outside on the brick in the doorway. As contracted security
was walking outside to help staff address this,              asked the security if she could catch his car on fire.           said she was going outside to catch the grass on fire.
     But instead, she set the bush in front of the house on fire. The fire looked as if it was going to spread to the house because of the sparks. Water was got from the
kitchen and put the fire out. Worker Wright called 911 at 10:46PM. The Fire Department came at 10:47PM, and checked out the bush. So, fire fighters said a pitcher of
                          water. While all of this is going on         ran upstairs and went out on the roof which the workers had to coax her down.
  6:44pm           came and asked Support Nancy if she can help them cut up some mango.                    stated that he is bleeding.        stated that his toe is bleeding from
opening the fridge.            asked if staff could go get him a bag of ice, and staff stated that we cannot go and buy him a bag of ice when there is ice at the home.
stated that staff is starving him and we removed him from his parents to abuse and neglect him, too. He started getting annoyed and stated that he needs different ice
right now. He pulled a knife out of his pocket and started stabbing the table and walls. CVS Williams asked                 politely and he refused to give up the knife. He stated
 that nobody is getting the knife. He continued to stab the table with the knife. Staff attempted to redirect                several time to turn over the knife, but he continued
    to refuse.         unplugged the lamp from the table and started cutting at it. He said that it was because staff refused to get him ice. CVS staff, support, and Grace
  Place staff continued to try and get the knife from            and he continued to refuse.            got up and grabbed a stick from the corner behind the table. He started
to try to sharpen the stick with the knife. CVS Williams asked contracted security if he could assist get the knife from                He was not successful. CVS Cagle called the
  police Department and reported the incident to Belton PD.                walked outside and came back in the house. He stated that he does not have the knife any longer
  and that he hid it in someone else’s house. 7:11pm Belton police arrived at the residence. Another youth retrieved the knife and handed it over to the police officer.
           came outside and the police officers explained to him what he was doing wrong, and that he should have handed over the knife when he was directed to by
 staff. The officers maintained possession of the knife and             asked if he could get it back. He was told no, he should have given it up when asked.             stated to
    CW Cagle “You’re a bitch”. He said to her “shut the fuck up, shut the fuck up, shut fuck up talking to me” He said” you will see when your car windows break.” The
 officer told         that if he destroys property, he will be in trouble and go back to juvie. He stated he doesn’t care and turned around and placed his hands behind his
 back. He then walked back into the dining room and knocked over the chalk board intentionally. He then walked out of the room and came back with a hammer in his
     hand. He stated that CW Cagle took the knife from him and went onto someone else’s property. He stated that he is going to make the workers’ lives a living hell
 because they took away his knife. He continued to express that he was upset about staff taking away his knife. CW Cagle explained to                    that he will be able to get
  his knife back at a later time, but          stated that they told him he would not get his knife back.           stated that he wants to go to the hospital because he is not
   feeling well. Staff tried to ask         what is going on that makes him feel the need to go to the hospital. He stated that he does not feel comfortable answering the
  questions out loud. He said that, if he kills himself, that will be on staff. Staff asked         if he wants to kill himself, and he stated that he does not feel comfortable
 answering the question. He stated that he likes the ER because they treat him well.                asked if he could go to the ER. He stated that he wants to go to the ER. CW
     Benjamin called MCOT After assessment                was taken to the hospital and eventually admitted to a psychiatric hospital Law Enforcement Toliver #226 Case




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       left the home going to the store. At 8:11          came into the house asking for                went outside and staff, heard some yelling and when they went
 out          and        were fighting. Staff Eutimio and Gaytan ran outside to break them up.        and          were separated and             claimed that     was
sending nude inappropriate pictures to his girlfriend.        also claimed that        had a gun but claim that he took the gun away from him and gave it to his cousin
  in Austin.         claimed that that was why          was angry with him.         claimed that        ran upon him first starting the conflict. Law enforcement was
  called Officer Schwindt and Carter arrived and took a report. Incident #23002006. Law enforcement arrested           and placed him in their vehicle. The home was
                                                                 searched and there was no gun located.




At 10PM,                       was hyperventilating following a cough attack. She was in the fitness room at the hotel working out and started coughing. She asked staff to
retrieve her inhaler from the hotel room. Staff could not locate the inhaler in the medication box nor in                 belongings. Staff returned to the fitness room and
 asked                if she had brought the inhaler with her to the workout room.               stated that she had one but could not remember what she had done with
      it. Staff called 911 at 10:13PM and encouraged                 to concentrate on slowing her breathing. Paramedics arrived and started an albuterol treatment.
                   was transported to Titus regional medical hospital. She received a strep test, CT scan, and a respiratory panel. All results were normal findings. The
 physician admonished                 stating that they almost intubated her and did not need too after nursing staff observed                 holding her breathe during the
  respiratory panel to cause the numbers to decrease.                  was released at 4:15AM with a prescription for an inhaler. Update: Staff picked up the inhaler from
                                                  the pharmacy this morning 7/24/23.                had no further incidents.




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                                                                                Description
          asked Kimberly Anderson could he go outside for some fresh air. Ms. Anderson,           and I went downstairs of Best Western Hotel and sat in the front of the
   building.     pulled out 2 vapes; one pink and one green.       walked off a short distant and smoked his vape. Ms. Anderson told          he is not supposed to vape.
 walked around and talked with us. He laid down on the ground and talked a bit. Then Ms. Anderson told              lets go back upstairs.     didn’t move. Ms. Anderson told
      lets go. He didn’t move. Ms. Anderson tapped his face and shook him.         had drool roll from the right side of his mouth. Then he smiled and stood up.         hugged
  her and laughed. All three of us walked upstairs together and        walked around and talked to Ms. Anderson. He sat on the floor behind me and laid down. Both his
feet started to vibrate. Ms. Anderson walked over to        and kept repeating      wake up. Ms. Anderson shook him and moved his face with no response. Ms. Anderson
 went to his bathroom and poured some water in a water bottle, ran over to           and sprinkled some water on his face and poured some in his mouth while he was on
  his back.      a few seconds later coughed a few times and gasped for air.       stood up and went to the window gasping for air and crying. Worker Nelson dialed 911
     and spoke to the lead dispatcher Fabian in Desoto. I briefly explained to Fabian what occurred, and he told us not to ask        questions and not to give him water.
 Fabian dispatched EMS and law enforcement. Desoto officers arrived to the hotel room 4 minutes later; Officer D. Rogers, R. Byrd, and G. Banks. Officer Rogers asked
      questions regarding what was in the vape.       said he did not know.      handed both vapes to Officer Rogers and said he do not want them anymore while crying.
  Ten minutes later EMS arrived, asked        questions and took his oxygen levels.      was transported to Methodist Charlton Medical Center and was taken to ER room
 Thursday July 20, 2023 caseworker Erika Anderson was on child watch shift and during shift             after being told he could not call his mom at this time and left out of
  the room. CPS staff followed         outside and he walked near the street close to a busy street. CPS and on shift officer continued to encourage             to not go into
    the street.       would run into the field and then run back to the edge to the field that was close to service road and to a busy highway.           came back into the
 hotel. Caseworker Anderson saw            on the phone in the lobby and asked him to hang it up, he stated he wanted to call his mom. Caseworker Anderson told him to
     go back to the room and I would find his mom number and we could call and talk to her.             no longer wanted to talk to his mom. Other CPS staff on shift also
     worked on trying to get him to come back to the room. Officer on shift blocked the lobby door and             continued trying to get out.         ran to the back-door
   caseworker Anderson ran behind him and grabbed him by his shirt before he could exit. Officer on shift continued to work on keeping                 from leaving out of the
     hotel.       began to escalate. Caseworker during this time was trying to locate the mobile crisis number but could not.           attempted to climb on the vending
   machine and then started to bang on it. Caseworker Anderson by this time called law enforcement. Officer on shift and another CPS staff on shift continue trying to
  deescalate         but he continued. CPS staff on shift asked him to come back to the room with them and he stated no and that he would jump out the window if he
    went back in the room. CPS staff on shift and Officer finally got him into the room and he started wo calm down. But while in the room he attempted to open the
 window officer on shift prevented him from further destruction. Law enforcement arrived                was calm but stated he wanted to leave and go to the hospital.
      reported he wanted to go to the hospital be did not want to go jail.        voluntary left in EMS and was transported Plano Children’s for psychiatric evaluation.




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                                                                             Description




On 07/31/2023             was playing with other youth                          . She started to splash water at other youth. Caseworker Valdemar advised her to stop
and she stopped. A few minutes later,           started to run around not realizing that there was water on the floor, she slipped in the water and hurt the side of her
  right foot underneath the pinky toe. Worker Darian Norris made an ice pack for             to put on foot. Worker Valdemar contacted team lead Chalaundra Lewis,
             caseworker and supervisor to inform of incident. Team Lead advised to take youth to nearest urgent care. Workers attempted to take              to nearest
   emergency room located at 2411 Boonville Road, Bryan Tx 77808. That location did not accept                health insurance. Therefore,           was taken to St.
 Joseph Health Regional Hospital located at 2801 Franciscan Dr. Bryan Tx, 77802.            was diagnosed with a fractured right foot she is to wear a hard shoe which
                     was provided by the hospital. Follow up contact within 7 days. Information regarding follow up was emailed to her CW team.




        called        over to the patio area next to the pool wanting to fight. Case worker moved in front of            and told him to go inside.      did not want to
fight. Case worker asked CWOP Security Officer to come outside. As the officer was making his way to the side door and              stepped forward and swung at
  who in return started defending himself. Both         and         were punching each other and ended up rolling on the parking lot. The CWOP Security Officer told
   both        and        to stop, neither listened and the officer pulled out his taser, but did not use it on either youth. CWOP Security Officer handcuffed      to
                       separate him from the fight, then uncuffed him once he was calm without incident.               was moved to a different site.




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                                                                                    Description
Incident started at 9:23am when                   stated that he wanted the 3rd ramen soup and myself Vivian Garza (caseworker) and Christina Torres (caseworker
assistant) advised him that we couldn’t as he already had two soups and that could lead him to throwing up.                  then grabbed a container with blocks and toys and
started throwing them over the floor and was told not to do it. He then wanted to throw the DVD’s on the floor and was told not to. Conservatorship supervisor,
Alexandra Hernandez, was called and was advised of the situation that was going on and indicated to try to calm                   down as it’s a new environment for him and
indicated not to call law enforcement. Alexandra then advised                primary caseworker Mario Jasso would be meeting with              later in the morning as he had a
psychological evaluation appointment.            then continued to throw the items that were located on the TV stand and started throwing other items located in the
home. He then grabbed the soap and started throwing it over the floor.                then broke other items in the home that were in the entrance and in the kitchen area.
then broke the AC thermostat. Glass was all over the home as               broke frames, light bulbs, and kitchen items.        was told to stop throwing things and us staff tried
to calm him down and he then started to hit us both as he would start punching us. Law Enforcement was called due to fearing for child’s safety and our safety as he
was throwing things everywhere and there was glass all over the home. Law enforcement arrived and                      continued to trash the place. He then went to the restroom
grabbed lotion and started playing with the lotion and water in the restroom. Emergency Medical Services was also called by law enforcement and they checked his
vitals. Emergency Medical Se            did not take      to get evaluated at hospital as he was fine, and he was having his psychological evaluation at 11am. Caseworker
  Workers returned to hotel.             proceeded t alk towards the elevators. Workers followed him. Prince asked worker if she would take him to McDonalds. Worker
      stated she was unable to do so.           got upset, aggressively walked away, and went outside the hotel.              remained in line of sight. Workers sat in the lobby.
             roamed around for approximately 30 minutes. Without notice,                 demanded workers to get up, as he was ready to go to his room. As workers gathered
their belongings,            aggressively got in CW Moorning’s face. Worker asked               to please back away as CW felt threated. Contracted Security also asked             to
 back away.           aggressively got closer to CW Moorning and stepped on CW Moorning’s foot.                    was told multiple times by security and CW to please get off her
  foot and back away.            did not do either.         continued to demand the hotel room key. CW Moorning told                   if he was ready to go to the room, please get
   off CW foot, back away, allow CW’s to gather belongings, and we would willingly walk him up to his room.                    got off CW foot, CW’s gathered belongings as we all
  proceeded to the room. CW Moorning opened the room door. CW Moorning entered the room first. Then followed                              and the other workers. Once everyone was
  fully in the room,          then told the workers to get the fuck out. CW’s did not respond. CW’s tried to sit down.               blocked CW Moorning from being able to walk
 to the desk and chair. CW stood in the room by                bed for about 10 minutes.            moved out of the pathway for CW Moorning to get to the desk and chair. CW
    quickly attempted to move towards the desk and chair.               jumped up and physical tackled CW to prevent her from getting past him. Contracted Security did not
   intervene. CW was able to get            off her and get past to sit in the chair.        turned around and aggressively ran towards CW Moorning as she was sitting in the
       chair.        pulled the chair from under the CW Moorning.              continued to shout and make threats. CW Moorning moved further away from
     aggressive ran up to CW Moorning again while she was sitting in the chair.               raised his hand as if he wanted to hit or punch. CW Moorning told             to back
     away multiple times. Contracted Security was in very close proximity to intervene but did not.                then hit CW Moorning in the face. CW immediately called the
     police. CW reported above information.             began to pace around and decided to call the police also. He reported CW Moorning hit him. He then went into the
     restroom and begin hitting his self in the head and the face to collaborate his story. (           has self-inflicted bruising on knuckles but no bruises/bruising on face or
       head ) Police arrived Police spoke with Prince and spoke with staff He was arrested for assault and detained Police Report number: CH230830012; Responding




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                                                                              Description


      and          were trying to kick down the door to the upstairs area of Penelope House.             broke down the door.        and        went upstairs and were
   hiding from staff and the contracted security officer. The security officer smelt the odor of marijuana and called the Belton Police Department. No marijuana was
                                                                   located and no citations were given.




         physically attacked         in the driveway and was separated quickly by law enforcement, who had observed her do this.               punched             in the
face and head suddenly and the reason was unknown.             was put in an officer’s car to calm down.            denied that she was hurt and said that she was okay.
   EMS arrived briefly, but         declined being checked out. EMS evaluated               who was not observed to be physically struck.          allowed out of the
vehicle after some time had passed to ensure the situation had de-esclataed.           was ultimately given a citation for a class C misdemeanor for attacking
                                                         The youth were then separated to different locations




When workers arrived to our shift         was napping. She woke up close to 7 pm and grabbed a bag of Lays and sat with workers and talked while she ate her chips.
  She appeared to be in a good mood. She asked workers if we could go to the Dollar Store. The other youth was agreeable, so we went to Dollar General which is a
 couple of blocks away from the hotel. We headed back to the hotel and once we arrived             stated that her heart felt funny and her speech was slurred. Workers
 looked back at her in the backseat, and          head was moving side to side and she was complaining of a headache. We told her that we needed to get her inside
and helped her into the room. Once in the room she got her blood pressure cuff and took a reading, which was 84/48, along with a headache, shortness of breath and
   lightheadedness we made the decision to call 911 to have her evaluated. While waiting for 911, P1 called shift lead to notify her of what was occurring. The fire
     department arrived first, then paramedics, given that          is pregnant, the decision was made that she should be transported my EMS to Providence to be
                                      evaluated. Staff left the hospital the same evening after discharging        with antibiotics.




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                                                                               Description




      and            walked off and were walking around the hotel, when they returned to the room        was upset and threatening to punch and kill staff.     was
 taunting            and threw two remotes at her. One of them broke. She and            got into a physical altercation. Staff were able to separate them, however,
they fought again. Law enforcement was contacted and responded. When law enforcement arrived            was calm. The crisis hotline was contacted and due to
                    aggressiveness and her threats to harm others she was taken to be assessed and was admitted into Clarity psychiatric hospital.




At 12:05pm        was sitting at the table next to caseworker Kira Sewell.     reached under the table and rubbed his hand between caseworker legs touching her vagina.
        Caseworker immediately told security who was in the room. Caseworker called Duncanville Police Department. Sergeant D. Younts Police Report number:
    DU230816009. Law Enforcement reported they were seeking a warrant for his arrest and would be taking the statement Caseworker provided to the Judge for a
                                                                                  signature
   Shift lead Meredith Reeder received a call from Khadijah Chaney who was downstairs in the lobby and said to come down because                 was destroying stuff in the
  lobby and breaking things. There was a bench knocked over and several pieces of glass on the ground. The other worker stated               walked outside and she did not
know where he went. Hotel staff already called the police and their manager. CW Reeder walked outside, and               was walking back into the hotel and she was calling
 on call supervisor Jaquelyne Linares. Worker Linares told CW Reeder to let her know when the police arrived and if the hotel was going to press charges.             walked
back into the hotel lobby and walked towards the broken glass and picked up a big piece of glass and was walking around with it.             then started to throw the piece
 of glass very hard against the walls. During this time there were several hotel patrons waiting to get checked in.         was throwing glass across the hotel lobby. Once
        walked away towards to elevators, CW Reeder and Chaney walked to pick up the glass pieces.             saw this and grabbed glass from the trash can and continued
  to throw it around.        was also punching the walls in the hotel lobby        then attempted to grab a heavy lamp but was not able to pull it out. CW Reeder called
 the police again to see if they were close and they were just pulling into the parking lot. CW Reeder met with the police and explained the situation. The police asked
       to come outside to talk with them. At this time the hotel manager said          is not allowed back inside the hotel and stated if she was there when this happened,
    she would kick all of the CPS youth out, but        for sure Is not allowed back into this hotel. The police came back inside and said        told them he wanted to
                commit suicide and asked them to take him to the psychiatric hospital and they were going to take him to Dallas Behavioral health Center.




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                                                                              Description
           was verbally upset, yelling, cussing, and threatening staff and other CWOP children. The on-duty security officer, Mario Vargas, attempted to de-escalate
          as well as staff.        continued to escalate her behaviors and then punched the glass cabinet. As a result of this she obtained some cuts on her arm. Staff
and security de-escalated           and started applying First Aid to         with items from the first aid kit next to the safe. EMS was contacted and arrived. They added
 additional bandages to wound and took vitals. San Antonio Fire/EMS informed staff that she would not be transported to the hospital due to the amount of COVID in
                            ER and that she only needed 2-4 stitches in her arms. On call staff transported           and she receive stiches at ER.
         was agitated and making threats that she was going to hurt staff and hurt herself. She stated that she was going to lay in the middle of the street. Contracted
   Officer on shift for security called local PD for back up. Local LE responded and detained her. She was banging her head on the floor and was trying to break the
 window of the police car when she was placed in the back seat. She was taken to Mission Trails Hospital for low blood sugar and then was to be emergency detained
                                                                          for psychiatric assessment




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                                                                               Description

      and her roommate                   decided at       encouragement to go outside of the room. They decided they would go despite being told that they would not
 be allowed to leave the room since it was after midnight. I positioned my chair in front of the door as the security person was sitting at the desk by the window at the
  far end of the room.           began to push my chair along with       trying to get me to move and demanding that I move so they can go outside the room. I did not
 move and just tried to let them know that it wasn’t something we were going to do this late at night. I asked the officer to give me a hand at which time he came and
   requested that they get away from the door. They refused and continued to try to move my chair out of the way. One was on either side of me. The security, Dalin
   Sims, physically moved            away from the door. She complied and allowed him to move her back into the room.              followed. After that          put on her
shoes and began jumping on the bed then she got down and opened the blinds saying they would just go out of the window. She pulled up both blinds and that is when
  they were told to pick up their mess. They began to throw things at the officer. They had been throwing uno cards earlier at him in a playful manner even though he
had told them to stop. They began throwing more cards and then the whole deck of cards,                 also began throwing wads of paper, pretended to throw the stuffed
   animal, then         just began clearing the desk off onto the floor.     handed             things to throw intentionally hyping her up to continue to antagonize the
 officer.         refused to stop. bananas and other things that were on the counter all ended up on the floor. The officer requested that they clean up the mess. They
   continued to antagonize him verbally and refused to pick up the mess that they made.                walked toward the officer as they both continued to verbally taunt
 him. This all happened around 12:30 am. The officer put             in handcuffs.      became upset when                was placed in handcuffs. She refused to pick up any
  more of the mess they had made. She headed over to the door where I was still sitting in front of it and attempted to open it and push me aside. I did not move. She
 began to be more aggressive at trying to get me out of her way continuing to push against me and yelling at me to let her out. I quietly attempted to encourage her to
 stop and calm down. The officer moved her away from the door when she refused to stop pushing against me. She began to struggle against him and kick him. He put
    her in handcuffs where she continued to struggle. She came back to the door with the handcuffs on. At that time I was standing up in front of the door. She leaned
   against the mirror and beat her cuffs against the mirror in what seemed like an attempt to break it. She launched her self at me and pushed against me trying to get
  out of the door in her handcuffs. The space was small to move in by the door. The officer moved her away from me and she began to struggle against him again. She
 yelled and beat against the wall with her hands. He tried to put her on the bed but she continued to lash out at him with her feet and refused to cooperate at all with
 anything anyone said trying to calm her. She screamed at me to stop talking at her when I calmly said to her that it does not have to be this way tonight and asked her
  to please stop and think. She told me that when the cuffs come off of her she would kill me. The officer called law enforcement when           first began to struggle and
  kick even though she was cuffed. She stopped struggling when officers were let into the room. They questioned her outside the room and questioned myself outside
the room. Officers were also in the room.        answered their questions fairly truthfully leaving out her kicking, yelling and attempting to break the mirror. She also did
not tell them that she threatened to kill me. They stayed talking to her about what will happen when she runs off like she had done earlier in the evening. She was told
that after a few times of dealing with her runaway behavior that would send her to juvenile. she was able to return into the room calmly. When I returned to the room
 after speaking with officers, the mess that the girls had made was already cleaned up .        went to bed right after the officers left around 1:30 am. She was calm and
 did not give any attitude or have any behaviors of concern after that. She is asleep by 2:00am. The contracted officers and staff decided call them and let them be the
   ones to use handcuffs if they were needed. He stood in the room by the door until both girls were settled in bed then He sat outside the room the rest of the night.




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                                                                               Description
  On 9/6/2023,         made comments about wanting to die to caseworker and supervisor. She indicated that she was serious about that.       was also observed to
  have superficial scratches on her arm, to which she admitted doing with a screw she found at the hotel room where CWOP is taking place. Caseworker immediately
                                           took      to be assessed at the hospital. She was admitted approximately at 7pm.
            began yelling at workers and stormed off to her room. She blocked the door and was heard banging her head on the door. She was heard crying and yelling.
         Mental Health C        e was called. They responded and met with              after they met with her, they determined she was not at risk and was cleared.
    At 10pm staff asked          to take meds and she refused. Staff asked h          o to her room as she has school tomorrow and she said she didn t have to go to her
    room because she is 17. She stated she was mad and wanted to call the crisis center so that someone could come out here to talk to her because she was having a
“crisis”. She became upset and stated she was going to run and walked outside. Staff checked on her and she went outside to play basketball. Staff called Mystie Hayes
  with the (Investigator Crisis Response Team), and no one answered. After about 20 minutes she came back inside and had staff call the crisis hotline. Representative
 asked            what was going on and           told her “don’t worry about it I don’t have to give you details, you just need to know that I need someone to come talk
to me". Representative asked if she was having self-harming thoughts or thoughts of harming others and she said no. Representative stated she couldn’t send someone
   to just speak to her.         became angry and said “that’s fine I will just run”.         went outside and staff followed her. She started cutting her arms with rocks
 and said “where is my artery”. Staff asked her to not do that and she said she didn’t care, and no one cared about her anyways.                stated she would rather be at
   the psych hospital then to be at Child Watch. Staff had to call LE due to the self-harm. At 11:02pm 2 officers arrived to speak to Staff and                     stated to
 officers that she wanted to go to the hospital because she was tired of everything and all staff.            stated she just didn’t want to be in CWOP and that she wanted
  to go back to her mom. EMS arrived and asked              if she wanted help and            stated she tried to get help from the Crisis center but no one answered. EMS
 asked           if she wanted help,          said again yes and that she wanted to go to the hospital that was why she had packed her bags.               stated to EMS that
    she just wanted to go back to her moms, EMS asked if she would be emancipated soon,                  did not answer.          stated she went to Legacy but was always
  bullied and that was the reason she skipped so much. EMS asked                what she wanted to study after high school.            stated she wanted to do cosmetology
  and massage therapy. EMS stated to             that they would clean her up and get her treated. EMS asked MPD to transport                 to Oceans but MPD stated they
  could not transport and           stated she did not want to go to Oceans because she had a bad experience there. EMS cleaned her forearm and leg then stated they
 would transport her to the hospital. EMS did not address or speak to CW and just took               in the ambulance.           was admitted to Midland Memorial Hospital
                                                     and then transported to Rivercrest Psychiatric Hospital on 9/11/23




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                                                                                 Description
    At 7:52PM Ashly came over to CW, Quiller and asked for a razor to shave her legs. She was told no to receiving this tool. She was provided with the option of using
    NAIR and she turned that down.            proceeded to start throwing things around the room, pulling down the curtains, pulling the lamp out the wall, throwing her
  backpack, jumping on top of the air conditioner, took the lamp and it the window. I contacted the nonemergency line and waited for the police to arrive. I did inform
    PD Dilieto that I contacted the police and was waiting for them to arrive.            went to the kitchen and started taking items out of the cabinet and refrigerator and
  pouring on the floor. Staff continue to ask her to stop but she refused to listen. Pasadena Police arrived there were four officers, Officer B.F. Mitchell was the leading
  officer. Officer Mitchell and CW, Quiller spoke outside to explain the situation and both went back into the room.              was sitting on the bed making comments she
  don’t care about no police. Officer Mitchell tried talking to          to hear her side and she stated that bitch already told you and Officer Mitchell instructed her not to
    call CW. Quiller out of her name. Officer Mitchell continue try to talk to           and asked if she want to harm herself or anyone and she replied no. Officer Mitchell
    asked if she has any glass or anything on her.          shook her head no and stated no.           then began to reach into her pocket and was told don’t and when they
searched her, they found the glass in the pocket of her hoodie. The glass was broken from the window.                  ignored the officer when he was asking questions. Officer
  Mitchell stated he would be back and went to the front desk. The other three officers stayed in the room. Officer Mitchell returned with the front desk clerk who was
   on the phone with the general manager. The front desk clerk came in to take pictures of the room and assess the damage. Officer Mitchell asked CW, Quiller to step
 outside with him and the front desk clerk. PD Toney had called and Officer Mitchell spoke to her that since the hotel will not be pressing charges then there was really
no option he could take her to station but she will be right back or if PD Toney approved then she could go be evaluated at the hospital. Officer Mitchell went back into
 the room and explained to            that she has only two choices either be taking to jail or go to the hospital. You could hear         crying and saying that she didn’t want
    to go to a hospital, and she wanted to talk to her CASA.           contacted her CASA, and she told her CASA that she has destroyed the room because she was upset.
           told her CASA she was upset about something from the day before and it just spilled over. She began to cry saying that she didn’t want to go to the hospital.
Ashly CASA told her that she would suggest she go to the hospital to               sure her meds and everything is okay She was transported to the Hospital BayShore Medical
        On Sunday morning, 09/17/23 when I reported to shift at 2a,                 was still awake and hyper. At 2:20a he started changing the channel and landed on an
 inappropriate movie, Boogie Nights. I told him that was not an appropriate movie for him to watch and for him to change it and                    refused, cussed at me and said
that he could watch whatever he wanted to watch. He refused to change the channel. I told him that if he did not change the channel I would unplug the television. He
   then got up and started cussing at worker again and then said he would go to his room to watch it then, went to the bedroom and slammed the doors shut.
     again started cussing, made a fist and pulled it back like he wanted to strike. LE A. Lopez stepped in and told            to calm down. I sent a text message to on call
Supervisor, Mari Fernandez about                behaviors and she advised to call LE if needed. At around 2:30a             came out of his room and said he needed the phone
  to call his aunt. I told him it was 2:30a and he could not be calling anyone at that time.            became upset cussed and called me names after he was unable to find
  the CWOP phone nor was able to call out from the hotel phone.                  then realized the phone was in the lock box,          then tried to break open the lock box. He
tried using the hotel key card then he grabbed fork from the drawer. Again, I told                to stop and redirected him, but again he continued to cuss and call me names.
          took the box to his room where he had another fork and now, he was using two forks to try to break into the box. I followed him into his room and told him to
  stop and tried to take the lock box away. Again,             made a fist and pulled it back. LE told him to stop, and I walked out of the room since LE was in the room with
   him. I witnessed           take a fork and pull it across the inside of his left arm several time with the fork prongs. Then he turned the fork around and tried using the
    other end, he then voiced that he wanted an ambulance. I called 911 and they arrived around 3:30am.                   again expressed to EMS wanting to hurt himself and
                        having suicidal thoughts, he was transported to Driscoll Children’s Hospital where he was admitted for psychiatric stabilization.




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                                                                             Description
 Caseworker Jones and HST Hill were sitting with                   started making comments out loud stating he was wanting to shoot up a school whenever he gets a
   gun and stating he was wanting to go to a mental hospital. Worker Jones told Ms. Hill to make sure she is documenting everything           is saying since she was
documenting for          Worker Jones received a call from             primary worker that PD Andrea Powell stated we needed to contact the Texas Crisis Line. Worker
 Jones spoke with Emily from the Crisis line and gave her all the information she needed about          Emily stated she will give worker a call if they will be sending
  someone out to evaluate          At 5:18PM PD Powell text worker Jones and stated law enforcement took him to Hickory Trails so the crisis line can be canceled.




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                                                                                  Description
  Around 8:40pm,               asked for workers hot spot and was told no. She was yelling at CW Nordstrom.                 took CW Nordstrom laptop and walked outside, and
  put it in the trash.           then came back inside laughing. LE (on shift) Simone talked with her, and they went outside to get the laptop.              gave it back to CW
     Nordstrom. At 8:55pm,             took Temp staff Yvette Mcvey’s purse and went out of the house.                  came back 2 minutes later and was observed laughing.
            asked for the hotspot again, and was again told it was not allowed.             pulled at the laptop again, but only got the charger this time and broke it by pulling
     it apart and throwing the battery part on CW Nordstrom.                threw a large lotion bottle at CW Nordstrom. LE and Temp McVey were trying to calm
            then emptied a bottle of water on CW Nordstrom stating she wanted to kill CW Nordstrom. LE and Temp McVey took                       outside to talk with her. After a
    few minutes,            came inside and locked Temp McVey and LE out. At 9:30pm,                  put on a movie, and stayed on the couch for the remainder of the shift.
  Upon arrival at CWOP,              was stating that she was bored and frustrated. Staff offered to play games with her or take her on a walk.              did not want to do
         either of those things.          began making statements that she was going to run away.                had the CWOP phone and began calling random numbers
  repeatedly. Staff asked her to stop and she said no and continued calling random numbers.                   began pouring her drink on the arm of the couch and smashing it
into the foam.             called her paternal uncle and began talking about her mom wanting a relationship with her other kids and not her. Staff asked who                  was
    talking to and she ignored the question.             ripped up the couch while she sat on the phone. She asked to call team lead and staff let her know that they were
     working and could not help with her boredom.               said she was going to run away, and staff would have to call the police on her.            asked to talk to the
   “CWOP person” and staff let her know they would not move her to another location.                    yelled that she was bored and getting aggravated then stated that she
  was going to go do her hair and go somewhere. Staff asked where she would go and she said anywhere, she just didn’t want to be here.                      put her crocs on and
 walked out the front door.              came back in and said she was going to break staff's phones and computers.                 threw something at the wall and said she was
      about to get physical with all of the staff. She stated she was about to “put hands” on the staff.             called the team lead and walked out the front door. She
  returned and said they did not answer.               said she was about to get “pissed off” and kept destroying the couch.              began throwing all of the blankets and
  pillows around the living room saying that she was looking for a black phone. Staff asked where she got a phone from and she said it was nobody’s business.
   flipped the couch over and grabbed a broom and went to the room and started hitting something.                     returned to the living room and asked staff to search the
black cabinet for her phone. Staff again asked where she got it and said they would not be able to look for a phone that she wasn’t allowed to have.                   flipped the
       table over hitting CW Stratman and Tamara. She continued to push the table up against CW Stratman barricading her against the file cabinet. She grabbed CW
   Stratman’s backpack and went outside with it. At 1:27pm CW Stratman called the police and informed them of the assault. Toni followed                      and observed her
 taking the items out of the backpack and throwing them in the middle of the street and driveway.                    picked up the key fob for CW Stratman’s car and ran inside.
  CW Stratman picked up her items while                 ran back inside.         went out the backdoor, climbed over the fence, and ran off. At 1:27pm CW Stratman called
  the police and informed them of the update. At 2:10pm                  returned and busted out some boards of the back fence. She beat on the backdoor until staff let her
 in. CW Stratman went out front to stay away from                 and continued to wait for police to arrive.            realized the CWOP phone was shut off and snapped it in
  half CW Stratman called police again to update them that she had returned Police arrived at 2:45pm and stated that they did not have enough evidence to book her




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                                                                              Description




 On 9/28/2023 at 10:56am,           went on the back porch with           At 11:05am, FGDM Haydon went to check on the boys.           was walking in the alley
  barking. The boys said that they were not smoking marijuana.        asked FGDM to go back inside. At 11:35am,                  and      said that they were
  going up the street and would be back in 25 to 30 min. At 11:42am, FGDM Haydon emailed the CWOP team and stated she believes the youth had been smoking
 marijuana, and her “head feels really fuzzy.” FGDM Haydon was then on the phone with her supervisor about how she was feeling, and         admitted that they
                           were smoking marijuana. CWOP staff received support from DFPS leadership. Staff declined medical treatment.




          was told him he couldn’t go swimming, but he went anyway. While in the pool he pretended he couldn’t swim and was acting like he was drowning. I knew
    that he can swim, but we still helped him out of the pool. He started getting frustrated and hit the table with his hand and then pushed over a chair. He started
   screaming and trying to pick up a bench to throw it. He got upset and then stormed out of the gate from the pool to the parking lot, slamming the gate open. We
 followed him out and he remained on the sidewalk. He came back to the pool, and we were not able to close the gate because it was damaged. He then went to the
barbecue pit and started hitting it.        wanted to get on the computer, but hotel staff told him he was not allowed to use the computer due to damaging the pool
 gate. He threatened to hit me several times. He then spit in my face. Back in the room he got the disinfectant spray and was spraying it in the room and then turned
   and sprayed his face. He then got the laundry detergent and stated he was going to drink it. He poured a little on his tongue and then spit it out. He went outside
walked off the property toward the loop. He came back within 1 minute. I contacted law enforcement and they came and talked with him.                   stated he was not
                                               suicidal and since he was calm now, they did not take him to be assessed.




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                                                                              Description




  At 8:30AM            came into the room with worker to go to school. The bus did not arrive for           and the worker was not able to take her to school.
  became upset that            was in bed and not getting ready to go so that everyone could leave. At 8:55           stated he was going to get breakfast. The workers
asked          if she would like to go to the lobby of the hotel to wait for her worker who was on the way to get her.          asked why the workers followed him into
    the lobby. This upset          and she began to yell and become aggressive towards            walking toward him and becoming louder. The worker and a hotel
  employee attempted to deescalate the situation, but              swung her fist and struck        in the lower face neck area.         stood there for a few seconds
     and then walked away from              and the workers.           continued to yell, and        knocked over a display in the lobby. The worker contacted law
 enforcement due to the disagreement getting physical and hotel staff being involved. The worker then notified team lead.               caseworker arrived at about the
 same time and took            to school to separate the youth. Law enforcement arrived and advised the most they could do is write a ticket for            but since she
had been removed from the scene, they couldn’t really even do that. Hotel employees stated that they were ok and did not need any assistance.                asked to call
                                             his worker’s supervisor after the incident.        was moved to a new location.




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                                                                                Description
At 8pm         was sitting at the table talking with staff. Other youth were talking about money and           said that his mother died and we can give donations for that. At
 8:10pm,        picked up his cookies and said he was going to go to his room and kill himself. FGDM Davis asked him what was going on, and he said “nothing Miss, I’m
   joking”. FGDM Davis said he can’t joke about things like that and asked him what he needed.              said he needed nothing. FGDM Davis said she was going to have
    someone come out and talk to him to make sure he was okay.              said “don’t call anyone, I don’t need it”. At 8:12pm FGDM Davis updated Team Lead PA Sheila
    Young of the statement, and that a nearly identical statement was made on 9/27/23. PA Sheila Young advised FGDM Davis to call MCOT. MCOT call was placed at
  8:15pm. At 8:40pm, Zee with MCOT called and said she would be there in about 30 minutes. Zee Henry with MCOT arrived at 9:22pm and began an assessment with
Titus in his room at 9:26        was about to fall asleep and had the lights off.       started to become agitated when staff/MCOT asked to turn on the light so it was left
 off.      answered no to the all of the questions relating to wanting to kill himself or harm others. When MCOT asked              if he has self-harmed he said “Why would I
want to do that”. When MCOT asked              if he was going to sleep for the night, he said yes. When asked if he felt safe throughout the night he said yes. When asked if
  he felt he could talk to staff present if he was having any suicidal or homicidal thoughts he said yes. MCOT worker Zee Henry stated that she did not see a danger or
risk to       and a 24 hour follow up would be completed per protocol. MCOT worker Zee Henry reminded staff that if there are any new concerns to call MCOT or 911.
       PA Team Lead Sheila Young was updated on MCOT assessment at 9:32 (when MCOT was leaving). 15 minute bed checks were continued through the night.
   I walked around the building and noticed two spray cans on the ground and a lighter. I noticed someone sprayed painted the wall again. It now says Murder Side. I
 picked up the cans of spray paint and lighter.             walked outside and told me to give him the cans they were his. I advised him I was going to throw them away at
the local CPS office. He stated he was going to get more cans anyways. He then grabbed his binder we advised him to put it down and to give back. He told I do not give
                                    a fuck and its my binder, he then went to his room and ripped out every single page from the binder.




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                                                                                Description


Shift 8:00PM-12:00AM Workers,                   and       were sitting in the lobby.         complained that she could not stay in the room with              because the room
is filthy, and           does not clean up after herself.            complained that the dirtiness of the room is a trigger for her because she lived with her grandparents
and the home was dirty.               demanded that she be allowed to call the PD on call because she wanted to be moved from her room. She stated she wanted to be
switched to            room or to another room because she cannot stay another day in her room. She stated the room stinks, the kitchen and bathroom are filthy and
            refuses to clean up after herself.           went to          room against advisement. She returned to her room.              asked Worker Morris if she could help
her pack up in case she gets permission to move tonight. The lead, Ms. Bowen contacted worker that it would have to be approved by her caseworker’s PD and that if
was going to be considered, it would not be tonight. Ms. Bowen came to the room, with the crisis staff on the line as                  was about to walk out.           became
very upset and was yelling and stated that she needed to go to the behavioral health facility.                continued to escalate the situation by yelling. She went to her
room, slammed the door, and continued to scream. The crisis called ended due to                    not wanting to talk to them.           went to the med room against
advisement and asked the lead to call the PD to ask if she can be moved out of the room. The lead explained that there is a protocol to follow. Ms. Bowen stated that
she called the on-call PD and was advised that she had to wait to hear from assigned PD because she has to make the decision to move her.                      became upset and
began to escalate the situation by raising her voice.              demanded that she be able to speak with the PD herself.              stated that she wanted to go to
room and if she was made to go back to her own room, staff better call the police because she was going to hurt herself or hurt someone else. Ms. Bowen stated that
she would not be able to go to            room. She threatened Ms. Bowen and stated that if she was her old self, she would punch her in the face. Ms. Bowen asked
           if she was threatening her.            restated that if she was her old self, she would punch her in her face. Ms. Bowen explained that she is doing everything to
help her. Ms. Bowen stated she was going to close the door.                  began banging on the door. Worker Morris advised               they were not going to open the
door due to her threats and for us to sit outside for a while.              began to explain her abuse with her mother, being raped and her triggers. She began crying and
stated that she couldn’t take it anymore and that she is tired. She stated that the police need to be called because something bad is about to happen. Worker Morris
encouraged               to go outside to sit. The lead text and confirmed that the police had been called. Worker Morris and               sat outside and waited for the
police. The police arrived,            told the police officer that if she had to return to her room, she is going to hurt herself or hurt somebody. She stated she may not
hurt             but somebody was getting hurt tonight. When asked how she would hurt herself,                   told the officer that was none of his business and that he
would have to come to room to find out. She explained to the officer that she was already in a behavioral hospital for a suicide attempt. The officer let                know
that he could transport her and asked her to stand up so could handcuff her.                 became upset and told the officer, he would have to shoot her, tase her or put
her on the ground if he was going to put handcuffs on her. Another officer arrived.                restated that the officer was not going to put handcuffs on her, and he
would have to shoot her, tase her or put her on the ground. The officer went behind                  and put handcuffs on her and put her in the back of the police car.
           became very upset and cried. She stated that she did not want to get arrested. The officer explained that she was not in trouble but because of the threat of
harm to herself and others, they had to take her to a behavioral health facility.              begged to be let out and stated she was sorry and promised not to hurt herself
or others. Due to her admittance of self-harm and hurting others, to workers and to the officers, it was explained that what needed to happen could not be changed
now.             was transported to Dallas Behavioral and admitted. Police officers–Corporal Wooten and Officer Wolf, Police Report number DE2309046




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                                                                                  Description


    Beginning at about 4:05PM,             began having a fit over being bored and hating CWOP. This outburst lasted for 20-30 minutes and included                    riding her
scooter around the house, spraying full bottles of air freshener and hairspray, breaking the stick from a set of blinds against the fireplace, ramming her scooter into the
  wall repeatedly to create a large hole, and finally exiting the house with a large kitchen knife in hand. Staff present during this incident were PAL Colleen Steffenson,
 CVS Alondria Slater, and Grace Place Tamara Earl. LE Simone arrived at 6PM and was able to get the knife from                      possession. All staff were in the house when
             began destroying the walls.           stated she was leaving at 4:20pm, and she quickly changed clothes and was observed walking out the door with a large,
 green kitchen knife in hand. All staff were seated at the dining room table when this happened. Colleen immediately called 9-1-1 and did not pursue                      since she
 had a weapon. Colleen stepped into the backyard to make the call so as not to further escalate                  if she returned.         returned into the house while Colleen
  was on the phone, and Colleen stepped back inside to see that                  was back on the couches with her laptop. Dispatch was informed that                no longer had
    the knife in her hand and was back in the house. Colleen stated we did not need immediate intervention any longer when asked by dispatch. A Temple PD officer
 showed up about 10 minutes later. The officer came in and checked in with staff.                  was immediately agitated about LE being called and stated Alondria had lied
   about Colleen calling LE. Tamara informed the officer that              still had the knife in her room. He stated there was not anything he could do about that.
      started saying she was going to kill all of the staff, while LE was still in the house. LE did not say anything and left the house despite the clear verbal threat and
 knowledge that the youth continued to be in possession of a weapon. There was no further report taken and no report number provided by LE. Contracted LE Simone
  arrived for her shift at 6PM. She helped             with her meal prep and was able to talk her into retrieving the knife to be cleaned and used to cut chicken.
 initially told LE that she had thrown the knife away outside, but it was ultimately retrieved from her room. Once chicken was cut, LE was able to quietly turn the green
kitchen knife over to Colleen, and it was locked in the storage locker. Just before 7:40pm,                went to her room and came out in different shorts and a black sports
  bra. She grabbed her blanket and was asked if she was going to bed. She stated she was leaving and proceeded out to the backyard. Colleen followed her and asked
       why she was leaving, and           just insisted she was leaving. Colleen further tried to encourage her to stay and eat the food she had made earlier.
   ultimately left through the hole she created in the fence at 7:40pm and proceeded down the alley to the left. Team Lead Ashley Thornton was called and advised to
  report            as a runaway. Temple non-emergency was called at 7:55pm and runaway was reported. A report number was not given, and Colleen was informed a
  number would be given once LE had come to the home                    walked back in the front door at 8:18pm and Temple non-emergency was called and informed that




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                                                                                Description
 On 10/25/23 at 6:58pm, CPS Worker Lisa Miluszusky redirected                to sit down as he was charging at me and the contract worker.           darted at me and slapped
 me in the face knocking my glasses off my face (startling me to where I screamed loudly). When he slapped me, he pulled my earring out of my ear, and my glasses hit
  on the bridge of my nose causing soreness. I turned so            could not bite me or hurt me any further.         became even more volatile and was grabbing me and
started to scratch me continuously to the point I was bleeding.            continued to grab my arms and scratch me all while trying to bite me. Contract employee tried to
       assist me, and        started to attack her as well. Staff continued to try and redirect        by blowing bubbles and rubbing his head.           continued to be
      dysregulated.        began to dart towards me and the contract worker while grabbing my arms and scratching my arms again and trying to bite me. Contract
  employee was trying to redirect          while CW called 911 (at 7:15pm) to assist.           was on the sofa while I called 911 and contract employee was trying to calm
  him. He continued to dart up grabbing staff and scratching them. I called on-call supervisor Jacquelyn Jordan at 7:31pm to inform her of the incidents and that I had
   called 911 for assistance. On-call supervisor called           caseworker and caseworker advised to try a bath. CW and contract employee had tried to get him in the
  bath previously. I went and ran the water and           came in the bathroom and got in the bath. While he was in the bath Law Enforcement arrived at approximately
 7:45pm. They stated they could not do anything unless he was physically assaulting us at the time of arrival. They did not ask about filing a police report. CW thanked
                                        them and they left.          took his bath and got in the bed. No further issues were reported.
    At approximately 5:00pm,            made multiple verb          ements saying that he wanted to hurt himself and that he would “do it again” referring to a previous
      medication overdose suicide attempt. I, caseworker Vanessa Test, contacted on call supervisor Jacquelyn Jordan who advised to contact Corpus Christi Police
  Department (CCPD) to have             transported to Driscoll Children’s Hospital. I informed the contracted law enforcement officer who stated they would call it in to
   CCPD and detain           temporarily in their vehicle until CCPD arrived. CCPD was contacted to transport             and arrived to the hotel at approximately 6:00pm.
  Conservatorship protégé Zariah Dodds and I followed the CCPD officer transporting Robert to the hospital.                was assessed, a safety plan was completed by the
hospital social worker, and           was discharged. The hospital social worker stated that due to           not having a plan to hurt himself or have feelings of wanting to
 hurt himself that his statements were likely a behavioral issue and did not need to be addressed by psychiatric hospitalization. Protégé Zariah Dodds and I transported
                             back to the CWOP hotel where his assigned law enforcement contractor remained and resumed child watch at his room




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                                                                            Description
         asked to talk to her worker and Workers called and         put her on speaker phone and the call escalated as she was not able to have the workers hot spot
and no one would take her anywhere nor would she allow her to call her mother.             then got mad and hung the phone up and then tried to call her mother from
workers phone and refused to give the worker her phone back and worker was able to get it and then           became aggressive and hit worker Twyman-Blackburn as
she retrieved her phone. Worker called 9-1-1 to report that and then she grabbed the workers laptop and took it outside and slammed it on the garage door and then
  sat on it. Workers tried to deescalate the situation, but       continued to get in the face of Worker Twyman-Blackburn and           kept pushing and kicking at
workers and then worker was able to retrieve her laptop when she got up to engage her again and           pushed worker Twyman-Blackburn into the garage. Worker
 then attempted to put her laptop in her car and          then saw where she was and went and started messing with CW Twyman-Blackburn's gas tank and Workers
 Twyman-Blackburn and Jordan told her to stop, she then attempted to pull the decals off, mess with the back door, and then she tried to break into the workers car
 and Tamara Earl observed and video taped the entire ordeal and when             observed her being recorded she charged the staff. Workers called 9-1-1 again to see
  what was going on and           continued to pursue worker Twyman-Blackburn and poured water on worker Twyman-Blackburn and continued to throw water on
other staff and hit the workers with the door and threw a cup of rubberbands and beads at CW Twyman-Blackburn. LEO came and talked to staff and took               and
     advised they are detaining her and will process her and send her to Juvenile. He gave the workers Case NO: 23008179. Office James Griffith Badge #507 took




 From 4pm to 8pm when               was in the house he was yelling at the other youth–other youth appeared to become agitated–male staff in the house worked to
 keep the youth from fighting–around 8pm               started cursing at another youth and the other youth yelled back and then it was reported by male staff (Grace
    Place J) that       punched the other youth in the mouth causing it to bleed and asked FGDM Rountree to call 911–FGDM called 911 and they sent EMS and
officers to the home–Grace Place J and         gave a statement.           was cleared by EMS–            walked into the backyard and walked around to the front yard
 where LE stopped him–LE then read             his rights, put him in handcuffs and put him in the patrol car. He was arrested. At submission he remains incarcerated.




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                                                                             Description




  Upon arrival for 4 am shift,       appeared with tattoos on right arm and right hand. The tattoos looked fresh. Caseworker, Meredith Barnhill asked when
received the tattoos.        reports the tattoos to be “very recent”. Caseworker, Candie Ware asks who did the tattoo.          turns to look at     Caseworker asks if
     did the tattoo.     admits to doing the tattoo. Caseworker asks how         did this.    shows caseworker tattoo gun located in a black zipped bag under the bed.
Caseworkers talks to      about the tattoo gun and explains that      is not allowed to have this at CWOP but can put it away for       caseworker.      refuses to give
 up the tattoo gun. Caseworker looks for the tattoo gun once      is asleep. Caseworker is unable to locate the tattoo gun under the bed or near              is leaving
                                                                           this location today.




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                                                                               Description




 At 6:00pm security switched shifts and law enforcement arrived for shift. The security needed to use the restroom and was given the key to unlock the first door and
 once he unlocked it                      and       went into the laundry room after it was unlocked so security couldn’t unlock the door to use the restroom
         and        started blocking everyone out of the room trying to break into staff bathroom. They didn’t have the key to get in so while one blocked the door while
the other girls tried to get it open. Once the girls left that area the bathroom frame was broken through the lock pulling off a part of the door frame. Worker Hall then
  called supervisor Morrow back to talk with               and handed her the phone.             put her on speaker phone and then she,            and       ran off with the
 phone while talking with worker Morrow. The girls gave the phone to                and blocked worker Hall from getting to the phone and worker Morrow could be heard
 telling the girls to give the phone back as well.           caseworker then arrived and was able to get the phone back from worker Hall at 6:30pm. Worker Hall saw no
 calls had been made, but              had messaged inappropriate messages to a parent, a therapist, team lead Robinson, and Workers unit colleagues. Around 7:00pm
         popped a hole in a water bottle and         took it and started spraying it on          and the girls’ got soaps and started pouring them on the floor and pouring
more water on workers things and on the floor where it was unsafe to move around for workers and youth.                     fell and hit her head but got up and kept playing
    on the wet soapy floor.             then went and got the fire extinguisher out of the kitchen and started spraying it everywhere in the home causing everyone to
  evacuate the home and law enforcement, the fire department, and the ambulance was called.               was handcuffed, but law enforcement decided they didn’t have
                                         enough to take her in as well.             and        were arrested and taken to detention.




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                                                                                    Description
       keeps trying to grab worker’s phone. I am ignoring him.                 keeps farting in the room and thinks it is funny. CW sprayed Glade and              tried to take it from
 him. Security is holding onto the Glade.            is still trying to get the Glade spray from security.           was asked if to stop interfering personal space of the security
  guard.        kept touching the security guard so he was place in handcuffs. CW Renaud called 911. Call was placed to police and they are on their way. It was made
                         known that           bit security guard during tussle.            is arrested for assault report number will be on incident report
On 10/17/23 at approx. 5:40pm, staff took the youths downstairs to eat at the happy hour buffet. Staff had to constantly redirect                        to not play with items and to
 stop attempting to indulge in the alcohol beverages on the counter. At approx. 5:53pm                      started cursing, yelling, and running around the eating area. She had a
verbal altercation with one of the hotel guests due to them asking her to step outside with all the noise and cursing because they did not want to deal with or hear the
   profanity. Hotel staff attendee asked that             either go outside or upstairs because she was disturbing the guests.                ran to the front desk of the hotel and
grabbed the phone from behind the desk at which time the front desk attendee called 911. DFPS staff Tamshia instructed the youth to put the phone down and
     began hitting Tamisha. DFPS staff Mikel stepped in to stop                 from assaulting the other worker and             began to hit Mikel in the face and head.
   grabbed the hand sanitizer dispenser and hit worker Tamisha just above her eye. After assaulting workers,                       ran to the highway. LE arrived on the scene and
  detained her. LE took reports from both caseworkers. LE called EMS and they examined Tamisha’s injury. EMS stated that she did not need to go to the ER. Tamisha
                 was advised
      made a statement    that to
                               hego
                                  felthome.  Charges
                                       suicidal.       werewere
                                                 Shift staff   pressed
                                                                    notagainst
                                                                         able to        anddown.
                                                                                       im     she was
                                                                                                   Stafftaken to Juvenile
                                                                                                          contacted       detention
                                                                                                                    Children's Mobile center. Police
                                                                                                                                        Outreach     report
                                                                                                                                                   Team  for#23-16416
                                                                                                                                                             him to get assessed. They
arrived and evaluated         and felt he needed to go to San Antonio Behavioral to be assessed further.        was transported by LE to SABH and was officially admitted
                                                                            at 10am on 10/19/23
         did not feel well, she began talking to herself, she ran off and ran/walked the Hotels perimeters over and over with Police and Staff following. She kept trying
    to run into the street. She was picking up rocks and hitting her head. SAPD was called for ED, assessed and stated that she did not meet their criteria as she was
                                   responded to directions to drop the rocks and/or stop trying to hit herself and was not out of control.
            walked off property down the street and returned back to the hotel.            attempted to go back into the hotel room with two screws in her hand. She
  refused to throw them away. She stated if caseworker did not open the door she was going to use them, and she then picked up a big rock.              went inside the
   room with the screws and CW contacted the non emergency number as there wasn’t an on-site officer. SAPD arrived at 10pm and stated due to her not making a
threat to harm herself or others and she is stable, so they would not be able to do anything. They also did not want to escalate the situation if they went into the room
 with          They advised CW if she did start to make a threat or harm herself to contact them again. At 10:15pm the on site officer arrived.          gave the officer
                                                         one of the screws but refused to give them the other one
            took the tops off the hotel trashcans and threw them in the parking lot. She took the snacks off the shelves in the lobby and stomped on the them with her
  foot. She then started throwing all the items on the lobby counter on the floor (broken glass pumpkins). She threw the broken items at the officer on site. She also
 went outside and flipped over the outside chairs. She also made threats to harm herself and others. She was kicking the two officers on site and was put in handcuffs.
                                 At 11pm SAPD arrived and she was transported to San Antonio Behavioral. SAPD 23235430 (R.Luna #4).




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                                                                             Description
 On 10/18/2023 at 6:10pm an order placed by PA Cynthia Stewart was dropped off to hotel 2 for                        . Despite being explained numerous times,
      was incredibly frustrated by the fact that PA Cynthia did not purchase every single item that             asked for. PA informed youth that she would order the
   necessities. Youth told CW Zuniga to call PA because youth did not receive all of the times asked for. CW Zuniga reminded youth that PA had already explained that
  only necessities would be ordered and that it was past 6pm and PA more than likely would not be available. Youth began to get agitated and raise her voice while CW
  Zuniga dialed PA, PA’s phone went straight to voicemail both times. Youth demanded the on call supervisor be called immediately. On Call supervisor Shamaila Khan
 was contacted and CW Zuniga explained that youth wanted to speak with her. On Call Khan stated she was in the middle of another crisis and would call me back in 10
minutes. Youth was angry and demanded she get the supervisor on the phone immediately. After CW Zuniga asked youth to remain calm and wait a few minutes youth
   demanded we get the on call PD on the phone. CW Zuniga dialed on call PD Nicole Franco, despite PD answering the phone on the first call, youth’s behavior quickly
  escalated and began to pull off the cable box from the back of the tv and threw across the room. Youth then began to pull on more cables and attempted to yank the
tv off which is when Sheriff/Deputy Brown and Officer Pena quickly stood up and told youth to calm down and sit down. The situation had already escalated, and youth
  managed to yank the tv half off the wall. Deputy Brown yelled at youth and told youth to sit down. Youth refused to calm down and continued to reach for the tv and
when asked to calm down she stated it was too late. CW Zuniga and contractor Danyona Stafford stepped outside of the room with the door wide open as both officers
  continued to yell at youth to stop. Things quickly got out of hand as youth was eventually pinned down to the floor after attempting to hit deputy brown. CW Zuniga
  was on the phone with PD as this occurred. Youth was on the ground with a chair over her and deputy brown pinning her down with officer pena attempting to calm
 youth. Youth continued to yell and scream. Hotel guests exited their room asking what was occurring and if they needed to contact 911. CW Zuniga informed that law
    enforcement was present and to please go back in their room. While that occurred CW Zuniga turned back around to find youth and officers in the bathroom area
where the sink is located. While CW Zuniga did not witness youth punch the deputy brown, deputy brown stated he was punched in the office and youth herself stated
    several times after the incident that she was practically forced to hit deputy brown and also stated that she wished she hadn’t hit deputy brown as she already has
  pending charges and this would only make things worse. Youth eventually left the room and told officers to leave her alone. Youth began to record on her phone and
   called deputy brown obscenities. Deputy brown also responded with obscenities towards the youth. Youth stated that her rights had been violated and that deputy
 brown and officer pena better have been recording because she would be contacting her lawyer. CW Zuniga is not aware when but at some point during this incident,
  both officers had already turned on their body cameras. When youth began to exit the hotel room she punched the door for the fire extinguisher several times until
she broke the door. Youth continued to yell and contractor told youth to breathe. Youth had tears streaming down her face but continued to record and state that she
did nothing wrong. Deputy Brown went into the room to clean off his uniform that had gotten youth’s makeup on it. Youth then went into the hotel room and began to
wipe off her makeup. Deputy brown and youth began to exchange obscenities and Deputy Brown left to the medication room. Officer Pena remained in the room with
  CW Zuniga and contractor. 6pm-11pm lead worker Edwin Bryant arrived shortly after 6:30pm. By the time CW Bryant had arrived, youth had begun to state that her
 left hand hurt and that she could not move it. She then began to tell everyone in the room that she did nothing wrong and was forced to break the TV because deputy
     brown attempted to take her cup away from her and she ended up flinging onto the TV. Youth began to state that the deputy had choked her and she could not
breathe. Youth demanded that the PD be called, CW Zuniga called PD but she did not answer. Youth began to get upset again but PD was able to quickly return the call




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                                                                                 Description
 Upon arrival at 6:25pm                approached me crying and stated that Officer Chris Brown had just assaulted him just before I arrived in hotel room 210.
      stated that Officer Chris Brown threw him on the floor, choked around his neck and switched his arm and fingers. The PD on call Mrs. Franco was advised and
    requested for              to get medical attention.             reported he did not want medical attention and wanted to wait see if his hand was going to swell up
 before going to the hospital.               showed me his left hand and he said he could not move some of the fingers on his left hand.                stated he did not want
to go in a ambulance to the hospital.                reported that Officer Chris Brown used racial slurs and cursed at him. At 7pm Officer Chris Brown attempted to come in
hotel room 210 and speak to                  again and            refused to allow Officer Chris Brown to enter his room. At 7:10pm Officer Chris Brown and a Harris County
Constable left without being relieved by law enforcement officer. At 7:15pm EMS was called out to medically assess                     PD Franco was advised of the situation.
              arrived at the CyFair Medical Center Hospital Emergency room ER at 7:45pm. Harris County Sheriffs deputy Lopez reported to emergency room. Supervisor
  Derrick Callicutt arrived at 8pm.              was given Ibuprefen 400 by ER nurse. X-rays were taken of                left hand at 8:10pm. At 9pm               was still in
   the Cy Fair hospital ER waiting for the X ray results. Officer Lopez spoke to             in the ER about the incident and gave a HCSO case #2310-07159 for a Juvenile
  Disturbance. Officer Lopez stated the District Attorney office was not accepting charges. ER doctor stated the X-rays came back negative and                   did not have
  any broken bones just a bad sprain and the ER nurse put a soft brace on his left wrist and the ER doctor recommended for                   to follow up with a his primary
          doctor if his pain continued and the swelling does not go down in 24 to 48 hours. ER doctor wrote a prescription for Advil 400 mg ever 6 hours for pain.
         fell in the shower. She initially reported she was fine, however she then reported to be having blurred vision, was lethargic and said her entire body, back and
 head were hurting but she could not say where she hit herself. She was taken to the Children’s Hospital where she was assessed and a CT scan was completed, results
 were normal. Staff was informed that she had a concussion and was released with instructions to keep an eye on her to ensure she did not throw up, pass or showed
                                                                              any other symptoms
          refused to take his medication. He was upset because he was not able to make phone calls since it was past 9pm. He slammed doors and banged on windows.
    He stated he wanted to kill himself. He also went into another youths room and ate a snicker knowing that he was allergic to peanuts. EMS was called and he was
                                       transported to a hospital to be medically cleared before being admitted to a psychiatric hospital.
    At 1:20pm,           asked CW Putman for her morning medication. She was told that her meds had already been given. She continued to ask CW for them multiple
times. A peer was in the process of moving her belongings out of                room and into her own room. Temp Fitch opened the door so the peer could bring her items
  to her new room. Temp Fitch was standing in the doorway trying to figure out how to keep staff room door open.                  was on the phone talking to someone. She
   was making racial slurs. Temp Fitch asked her not to use that language.            called Temp Fitch the ‘nigger’. Temp Fitch went back to stand at the door to monitor
  peer moving her things to the other room and Temp Fitch had her left arm on the door holding it open.                said that she was going to call someone to come and
 shoot us. She walked up and said “excuse me” and Temp Fitch moved out of the way, and                   walked down the hallway to peer’s room. Temp Fitch went back and
  stood between the door with her right hand holding it open.              came back and said “move” and pushed Temp Fitch’s right arm forcefully. Temp Fitch placed her
   left arm on            shoulder, and          elbowed Temp Fitch hard in the left side. She then proceeded to walk to her room. CW Putman and Temp Fitch followed
           and she was told that Law Enforcement would be called for assault.              proceeded to get on the elevator to go down to the lobby area and told staff she
   was calling Law Enforcement on them as well. Security did not witness the events as they were in another youth’s room at the time. EMS was called due to injuries
 received by Temp Fitch. Law enforcement and EMS arrived at the same time. EMS checked vital signs. Statement was given to Law Enforcement. No arrest was made.




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 During the 12pm to 4pm shift on 11/23/23,           and         had a lighter and were setting the couch on fire. Staff were able to put out the fires with cups of water.
   They were asked for the lighter but would not give it to staff. They were redirected to other activities and no other incidents of fire setting occurred on this shift.



   DO Tiffany Schlab was informed at shift changed that           was who left without permission/runaway, had two paint ball guns and he was shooting the beads at
 everyone. When he returned,            told the workers that his smaller of the two guns was no longer working. He started pointing the gun and pulling the trigger. At
 one point, he pulled the trigger when the gun was pointed to at the security guard. Security guard could be heard saying don’t point that gun at me when shooting it.
         responded I was not pointing at you.         left with the larger paint ball gun and with additional beads. He left the broken gun on the table. ADO Schlab took
the opportunity to take that gun and put into the lock cabinet. The security guard left at 6pm and the other security guard was running late When             returned, he
  became upset that he could not find the gun. Worker refused initially to open the cabinet for him or return the gun to him.           then began trying to unscrew the
screws to get it open. When that was not working, he grabbed the bottom and bent the bottom out. ADO Schlab tried to step between him and the cabinet. He tried to
 push the worker out of his way. About this time, the Security guard arrived and asked what he was doing.            started saying loudly he wanted his gun back and no
    one can touch his property. ADO Schlab told          that there no guns allowed in the house.           stated that his worker told him he could have them and he
wanted his gun back. ADO Schlab told him to get back away from the cabinet and worker would get it for him in effort to de-escalate him and prevent him from having
    further access to knives which were locked in the cabinet he was breaking into.           was given his gun back and he put in his backpack. ADO Schlab was able




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                                                                             Description
  At 8:20PM, while staff Jennifer Alba-Dausin and Ashley Marshall were talking to            in the kitchen area of the home. Two officers (Shears badge #514 and St.
 Mary’s Badge #501) entered the home and approached                  They asked her to stand up, placed her in handcuffs, and told her she was under arrest and had a
 warrant for assault out of Waco.            started screaming and asked the reason for the arrest and what she did. The officers took her outside and placed her in a
patrol car. Staff and security stood on the driveway and could hear          crying and yelling, "What did I do?" Officer Shears walked back to the house and reported
          will be taken to Bell County Juvenile Detention Center tonight and then transported to Waco JDC tomorrow. Staff advised Officer Shears of the medications
          takes. At 8:26PM, Staff Alba-Dausin called Mallory, Shift Lead, and advised of            arrest. Mallory asked staff to remain on shift as her peer may come
        back from runaway. ***Arrest was not a result of any incidents at child watch and appears to have been a prior incident while in a kinship placement.




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                                                                               Description




  On 11/18/2023, at 415 N Penelope St, Belton. I did room checks at 12:15am.               was in the bed in the bedroom and the other youth in the home was using the
restroom. Keyauna Eley advised she heard a female’s voice coming from the back area about 12:20am. We completed a check of the rooms, but nothing was found. At
12:25, Ms. Eley said she heard the voice again. We went into the room, and I saw a red blanket moving on the floor on the mattress next to bed. I pulled on the blanket
     and found        (CPS youth from another CWOP location) under the blanket. Her feet and legs were dirty, she was wearing a t-shirt and shirts. I contacted Law
      Enforcement. While on the phone with LE,           put on a black jacket and jumped out of the window and left the property. She had on a black jacket and teal
    basketball shorts and silver slide. I contacted the team lead and inform her of the situation. Belton police called and advised they were driving around in the area
   looking for       At 2:55am Aarhus found           sneaking through the window hiding in           room at 415 Penelope House. Aarhus explained to          she had to
 return to Strafford house to which she refused. Belton PD was contacted. Office Irwin Belton PD arrive at the house and spoke with           Officer Irwin did not remove
       stating that Temple PD needed to be contacted (this is where she was reported as a runaway from). Aarhus contacted the Temple PD, they were unwilling to go
 to Penelope as it was outside their city jurisdiction. Aarhus offered to drive      back to Strafford House, due to her having a good relationship with              stated
that she would run away again. It was decided per PA Young,           could remain at the home until morning and she was able to sleep. She was moved to an unoccupied
                                      room at the other end of the home. 6:15am Aarhus then contacted NCMEC with case #2005840.




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                                                                              Description




        sat on the couch talking to a friend on speaker.           came out because she heard       =talking on the phone and talking about                    came out
    yelling, cursing and appeared furious. She grabbed Rose’s phone and threw it. She threw a DVD player at           it missed her.      started saying something and
              lunged at her. Security and LE tried to stand between the youth and tried to talk         down.            was yelling saying to keep her name out of her
  mouth. She said she would burn           room down. She threw a lemonade bottle hard into the wall. 6:30pm worker called 911 for police support. Police showed up
  shortly after.       stepped outside and            seemed to calm down inside and got some food. Police interviewed both youth and decided not to take anyone in.
Police told           if they come back out, they will take her in.      was upset and asked why           saying she was going to get “niggas” to rape her, wasn’t sexual
 assault. Police encouraged her not to instigate anything. Temple PD Case No 23009128. Police left around 7pm.            came back inside and complained about the fish
smell.        and           went back and forth with nasty comments about each other but stopped after several redirections from staff.           phone was broken. Most
                                                                      of the screen was cracked and be




          woke up at 6:35am, got dressed and filled his backpack with snacks, and then went to the kitchen and got a cup out of the refrigerator.               offered for
   another youth (       to take a drink.      took a drink and he said it is stronger.     did not take any additional drinks from          cup.       said it was wine.
        said it was whiskey.         would not allow the workers to have the drink or to smell the drink. Officer Vasquez on his way out the door at 7am, asked
to let him see the cup.         let him smell it and Officer Vasquez said it does smell like whiskey.         placed the cup back into the refrigerator. CW did empty the
                  cup down the sink and washed out the cup-it is unknown where the alcohol came from and no other alcohol was found in the home.




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                                                                             Description
       became upset because she wanted to be taken to get something to eat. There was food at the hotel to eat. She left the room and staff followed her.
 walked back in the room and locked two of the staff members out of the room. They were able to open the door a which time          hit the staff member on the
                        shoulder. Staff verbally de-escalated       and she was able to calm down and law enforcement was not called.




 On November 14, 2023, 915pm          and         went outside in the back yard. Contractor could see them from the door.         and        were on the back porch.
   920pm LE shined his light on the youth and told them to get inside. Officer French went outside and saw          with his pants down.        jumped and yelled.
       said he was taking a “piss”     was in front of him squatting down.          insists that nothing happened, and he was just peeing because he could not hold it
  to walk inside. Both boys deny anything happened and           was only using the bathroom. Staff felt nothing occurred based on how the boys reacted. Both boys
 were told to come inside. As a precaution, we moved the boys sleeping arrangements to ensure there would be no issues.           was moved to the downstairs room.
             said he messed up and         said      was looking for cigarettes. There have been no further incidents and the youth are more closely watched.




 Officer Jay Pratt responded to the parking lot of the hardware store in Belton 525 North Main Street.             was asking customers for money and a chance to use
     their cell phone to contact his mother.           responded to officer Pratt "go ahead and just shoot me.” Officer Pratt then placed           in restraints, for
             own safety. Then Officer Pratt then transported           to Canyon Creek mental health facility where he was admitted.             was released from Jail
the day prior to the this incident. The department is unsure he had been receiving his medications for his mental health issues while incarcerated. He was immediately
               given his medications as scheduled once he returned to our care. He has in the hospital for over 2 weeks to address his mental health issues.




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                                                                                  Description
On 11/26/2023 at CWOP (126 Kenley Place, San Antonio, TX 78232, Motel 6 Rm 218),                              became outraged when case worker on shift, Michael Cervantes,
refused to allow             to use a cell phone to get on the internet.            started cursing and yelling at the staff saying he is not going to be in a Motel 6 and not be
  allowed to get on the internet.            asked to call his attorney, case worker allowed             to call. He spoke to his attorney about CPS not letting him be on the
  internet.           spoke to the PD in charge (Asenath McCabe) at 4:32 stating his argument.                 told the PD, it is court ordered for the staff to be “fit” and that
  staff needs to chase him if he runs.            then ran to the storage company across the street. Case worker, Officer on duty (J. Garcia #122) and contractor stood at
  the edge of the street of the Hotel and observed               leaving.          then got more upset stating Staff is supposed to follow him and that staff was neglecting
   him since they were not following.              then asked to call his attorney. At 4:37pm,           got a hold of his attorney and called the PD on duty on a three-way
call. At that point,           was yelling and cursing at the PD stating he was not going to be staying in a Motel 6 and that he deserves more than that. The PD explained
to            that the department cannot just move him to a different CWOP site.                 became irate, hung up the phone and started to walk across the street again.
    The staff on duty observed              when           stated he need something from the room. At that point,                  sprinted to the hotel and ran into the room.
            barricaded himself in the room at 4:52pm.               demanded that he was not going to open the door unless they moved him to another site.                     also
  stated that he was going to destroy hotel property and all of the department’s property to include the case workers and contractor’s belongings. Case Worker called
the Crisis hot-line (5:10pm) to see if they were able to help with the situation. The Crisis line stated they could not do anything. San Antonio Police Department (SAPD)
was then called at 5:12pm to inform them of                barricading himself in the room. Case worker called SAPD again at 5:25pm to report that                  was destroying
   property in the room. Case worker stated we can hear him taring paperwork and the sound of things being moved around.                         also threatened to destroy the
  case worker’s personal property. SAPD arrived at approximately 5:30pm (SAPD-2023-1664791, Officer Hernandez #650). SAPD informed the case worker, they could
  not do anything because no criminal acts have occurred, and everything is considered civil. Case Worker asked if they could call San Antonio Fire Department (SAFD).
Officer stated that SAFD can decline to assist in the matter. SAFD arrived on scene at 6:05pm and stated they cannot do anything since there is no health hazards. SAFD
    left the scene at 6:16pm.            continued to tare paperwork in the room and poured water on something; Case worker was not able to identify what
 poured water on but did see the water come from underneath the door. At 7:03pm, Case worker asked                        if he could give the contractor her stuff due to having
diabetic medication that she needed to take.               agreed to throw the bag out the window. Contractor was able to get her bag and took her medication. The 8pm-
     12am shift showed up to relieve the case worker and contractor. Case workers (Michael Cervantes, Rebeca Salinas, and Melissa McKee) continued to ask for the
workers belonging but               continued to curse and say that he will not give the worker his property and threatened to destroy it. At 8:34pm, case worker (Michael
Cervantes) called SAPD to report his property stolen. Officers arrived at approximately 9pm. Worker reported,                     had the workers property and was threatening
  to damage it. Worker reported having his state laptop, personal medical documentation, and other electronics that belongs to the worker and is not property of the
 state. Officers went upstairs and talked to             asking him to return the property or he will be charged with stealing them.               agreed to return the property
    by throwing it out the window.              threw the backpack out the window but it appeared that he intended for the bag to hit the ground. Worker was standing
 beneath the window and                threw it away from the worker. The backpack partially hit the ground, but worker was able to catch the bag. Worker did experience
pain in his left knee in result of attempting to catch the bag. Officer then asked the worker to check the back for anything missing or damaged. Nothing was missing and




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                                                                                 Description
Caseworker arrived to shift at 4PM. Caseworker was advised by previous shift that                  refused to take medications.         was yelling at CW during previous shift.
 Supervisor doing site checks was at hotel when arrived as well doing checks and getting                 grocery list from her.       asked to speak with her sister on her call
 list and KDW dialed phone and placed on speaker phone. Contact was appropriate with sister.                   then asked to speak with her friend,          whom was also on
   her contact list. Started out okay, but then child          kept cussing, talking nasty and saying very inappropriate stuff on phone. Caseworker, officer and contractor
     looked at each other and agreed contact was inappropriate and Caseworker asked                   to end call and give Caseworker back her phone.          got upset and
     stormed out of room slamming door and walked to hotel lobby. Caseworker made call to                    CW, Jessica Rubio and PD, Monica Mata to make them aware if
situation at hand with            PD said for KDW to contact SAPD or MCOT if Kimora continues to escalate. While in lobby                kept saying she is going to try and get
    herself kicked out of hotel. She got very large fake plant in pot and kicked it across the floor. Hotel clerk observed and didn’t look happy and told her to stop as did
officer on shift and Caseworker.            then went into computer lab, got on computer for awhile, then got up and threw chair in computer lab and slammed door and
   walked out and KDW, officer and contractor followed her outside.                 started cussing at Caseworker and being very rude and disrespectful. Kimora got up from
 sitting down lifted marble table as to make it fall in present of officer and broke it. SAPD didn’t arrive to after 6PM. Officer, Padilla badge 1329 spoke with Caseworker
       to obtain details of what happen. Then went to speak with child and officer, B. Munoz. Then went to speak with hotel clerk. Provided police report number as
        D23260802 and offense-Criminal Mischief. Then left.              calm down and went back to room and played cards, basketball with officers and was calm rest of
          attempted to gain access to the hotel computer roo            door was locked she asked CW to open it, however, due to not being allowed to be on the computer
 the CW would not open the door.               started kicking the door. Officers and staff attempted to de-escalate her by talking to her.           took the CW’s phone and
  ran with it. She placed it in her bra. CW and officers followed her to try and talk to her. She refused to give the phone back, officers had to hand cuff her to calm her.
They went back to the room, As the caseworker was trying to open the room door                    began kicking the room door. She was verbally redirected to back away from
  the door so the CW could open the door. As CW opened the door                    lunged at CW and pushed her into the door.           was restrained by officers to keep her
   from attacking the CW. She was handcuffed. SAPD was contacted due to her physically assaulting the CW. CW did not have any pain or injuries at the time. She was
   charged with assault by contact. SAPD did not believe she needed to be emergency detained and advised that staff call them back should she assault someone else.
                          Due to         kicking in the door the computer room was no longer locking SAPD Number: SAPD23266736 Officer R Neri
            returned from run and stated he had used methamphetamines. He was having involuntary body movements which began to increase and caused                           to
 have a panic attack with shortness of breath,             also complained of excruciating jaw pain on both sides of his face. Caseworker called 911 @ around 1:50pm San
   Antonio EMT arrived around 12 minutes later and took                 vitals, his heart rate was up to 128, the EMS staff recommended that             be transported to the
                                    Methodist Children’s Hospital.           was transported by EMS to the hospital and admitted in the ER.
       began to put bar soap in her mouth in an attempt to eat it and put one of her medication pills in her nose and put disposable rubber gloves and a food in the
microwave oven to heat it up. She also indicated that she was hearing voices. The contracted security on site emergency detained her due to being a danger to herself.
                               She was taken to University Hospital to be cleared before being admitted into the a psychiatric hospital.




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                                                                                  Description




        and         were watching TV in the living room. Around 3:00p.m.           told        that his tv time would be up at 3:17p.m.            stated that his TV time would
   be up at 3:27p.m. Both boys went back and forth about the tv time.           paused the TV and stated that he was not going to give up the remote until he was ready.
  Staff requested         give the remote to staff.       stated that he was not going to give it up and nobody was going to make him do it.              then went to his room
 with the remote in his pocket and refused to turn it in. Staff asked him repeatedly to turn in the remote.             became disrespectful to staff. Shortly after, staff called
      supervisor on-call, Melissa Acevedo and asked for direction. Mrs. Acevedo advised that the TV be removed from the living room and into the staff room. Staff
    disconnected the TV and was in the process of taking the TV to the staff room, when             went into            room and took the remote from him.             became
  upset and started making death threats to                  told        that he was going to kill         in his sleep. The officer on shift was physically holding        back.
  Staff was trying to calm          down and redirecting him to his room.        started screaming racial slurs to                     charged at        and both boys began to
fight. The officer on shift and staff separated the boys.         was put in handcuffs and         was still trying to fight. Staff told      to stay in his room.       told staff
     to get out of his way.        then went to the kitchen and lifted a window. Staff told        to stop and not to climb out of the window.             cursed at staff and
  proceeded to jump out of the window.            walked away from the home and out of the sight of staff. Law Enforcement was called, and a runaway report was called
in.       returned at 6:45pm.           complained that his hand was hurting. Staff called in additional staff and transported             to urgent care first followed by the ER
due to urgent care not having access to x-ray.          got upset and left the ER when his triage was delayed due to another patient taking priority. ER staff attempted to
   get him to return, and he refused. He was transported back to the child watch location. No arrests were made. LE suggested Jason needed to be moved to another
                      location. NCMEC case number:2006707. Report ID number:78281787–Lisa (5256). Atlanta Police Department case ID: I-23-0606




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                                                                                   Description




            arrived from school around 4:45pm and was dropped off in front of the Hawthorne Suites Hotel. Yamel Montoya and I, Raquel Hernandez, along with youth,
                          went downstairs to wait for            to be dropped off. When             got off the bus          was observed to flip           off and
   responded the same way by flipping her off. We all walked up to the hotel room,                was walking in a faster pace and was quiet, even              asked what was
wrong with             Myself and Yamel advised her she has been quiet since she was picked up from school. When we arrived to the hotel both girls were being verbally
 aggressive with each other “you’re a little bitch” “you’re a little pussy” etc. They were asked to stop talking like that, but they disregarded worker and they said that’s
  how they play with each other. They were still asked to respect each other but they kept going. When both youths went inside their bedroom                         started to tell
          that she was drinking one of her drinks and asked             why she drank her drink if that drink belonged to her and she knew that.             started laughing and
            started telling her that she always eats everything, and she always eats her things too,            was just laughing while            was telling all this. During this
 time caseworkers were asking                to get out of the room and to come outside to get something to eat, to try to stop them from arguing as they were both being
    verbal with each other.            listened and she was walking out of the room to come to the kitchen.                stood outside the door and she told             “try to
touch me and you’ll see what’s going to happen to you”. When                  turned her back to walk away to come to the kitchen/living room area, I observed when
  pushed                       got upset and started telling her off and turned around and rushed into the room to attack              I ran right behind her to try to stop her
however,              got           from the neck and had            in a head lock position. Yamel ran right behind me and we both tried to separate both girls to stop them
  from hurting each other.            was held in a head lock position but was still trying to punch, she was trying to punch            so that she would let her go.
  had her from the neck and I was pulling              away from            but she wouldn’t let go. I was also trying to talk to         to please let go of           as she was
    hurting her, but           was not letting her go. Yamel and I struggled to separate them, and we were trying to pull              away. Once we were able to separate
them, we brought               outside the room and            remained in the room, when we left the room, she slammed the door behind us. Everything happened so fast
but at the moment none of the youths seemed to be hurt or had any marks or bruises that were visible. Both youths were upset and were breathing heavily but denied
      injuries and did not have any visible.           was asked if she wanted to go for a walk since she seemed to be very upset, she said no.               came out of the
 bedroom and opened the door to the hotel room and said she was leaving. She was asked to just go back to her room to cool off, but she left. This incident happened
                                        around 4:56pm.            returned to the room and both girls made amends later in the evening.




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